     Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 1 of 215

                                                                                 7A04010
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                                                                                                                               r.11    LOP

                                                                                                                    COURT CF
                                                                                                                             CRIMINAL
 1                                                           REPORTERS                 RECORD                                                    PPEAL
                                                                                                                            .R..

 2                                                 VOLUME          44       OF    44     VOLUMES                                       X10

 3                                   TRIAL          COURT CAUSE                   NO.       07-CR-885-B               LQuise
                                                                                                                               Pearson           erl
 4       -   -   -    -    -    -    -    -    -    -    -    -    -    x
         STATE       OF TEXAS                                                IN       THE    DISTRICT             COURT
 5
         VS                                                                  138th          JUDICIAL DISTRICT
 6

         MELISSA ELIZABETH LUCIO                                            CAMERON COUNTY                        TEXAS
 7       -   -   -    -    -    -    -    -    -    -    -    -    -    x

 8                   I     ADELAIDO                FLORES              JR.        Official Court Reporter                          in

 9       and     for the             430th          Judicial District Court                                  of    Hidalgo

10       County State                     of       Texas           do       hereby certify that                      the

11       foregoing exhibits                             constitute                a    true       and    complete

12       duplicate              of       the       original exhibits excluding physical

13       evidence               offered             into          evidence             during the             jury trial               in


14       the     above-entitled                         and       numbered cause                   as    set       out     herein

15       before           the       Honorable Arturo                        C.        Nelson        Judge of the               138th

16       District              Court          of Cameron                County State                    of    Texas         and    a


17       jury trial                 beginning the                      30th       day       of    June

18       2008         through July 10                             2008.

19                    I    further certify that                               the       total       cost          for the

20       preparation                 of       this       Reporters Record                          is    $    5-3   goff




21               will          be    paid by Cameron County                                      Texas.       333    /         JO
22                   WITNESS MY OFFICIAL HAND                                     on    this       the       10th    day     of

23       July         2009.

24

25




                                        Adelaido Flores Jr.
                                     Certified Shorthand Reporter                                             ORIGINAL
     Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 2 of 215




                                                                                                                          2




 1                                                           REPORTERS            RECORD

 2                                                  VOLUME         44      OF   44    VOLUMES

 3                                 TRIAL             COURT CAUSE                NO.     07-CR-885-B

 4       -    -   -   -   -   -    -    -       -   -    -    -    -   x
         STATE        OF TEXAS                                              IN    THE      DISTRICT   COURT
 5

         VS                                                                 138th JUDICIAL DISTRICT
 6

         MELISSA ELIZABETH LUCIO                                            CAMERON COUNTY            TEXAS
 7       -    -   -   -   -   -    -    -       -   -    -    -    -   x

 8

              JURY TRIAL                    -       DEFENDANTS EXHIBITS 19-23 BILL OF
 9       PARTICULARS NO.                        2    DX-24     DEFENDANTS EXHIBITS 25                                26


10

11                    From the          30th            day       of   June          2008    till the     7th   of


12       July 2008                 the          following States                      Exhibits were        offered    or

13       admitted before the                             Honorable Arturo                   C.   Nelson    Judge

14       Presiding                and       a       petit jury held                   in    Brownsville         Cameron

15       County Texas.
16                    Proceedings                   reported by computerized stenotype

17       machine.

18


19

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                                      Adelaido Flores Jr.
                                   Certified Shorthand Reporter
     Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 3 of 215




                                                                                   3




 1                                        A   P   P   E   A R A N     C   E   S


 2            APPEARING        FOR THE            STATE

 3              HON.    ALFREDO PADILLA                    JR.
                State    Bar    No.       15404600
 4                HON.       JOSEPH KRIPPEL
                State    Bar    No.       24007515
 5                HON.       MARIA    DE    FORD
                State Bar No. 24043626
 6              Assistants to the Criminal District Attorney
                Cameron County Courthouse
 7              974  E. Harrison Street
                Brownsville   Texas  78520
 8              Telephone     956 544-0849
                Fax          956     544-0869             Fax
 9


10       APPEARING      FOR THE       DEFENDANT
11              HON.    PETE    GILMAN
                State    Bar    No.       07952500
12              6933    N.    Expressway
                Olmito Texas   78575
13              Telephone    956 350-6954
                Fax   956 350-8056
14


15       APPEARING      FOR THE       DEFENDANT

16              HON.    ADOLFO       E.       CORDOVA           JR.
                State Bar No.  00787286
17              Law Office of Adolfo E.                         Cordova       Jr
                711  North Sam Houston
18              San Benito Texas     78586
                Telephone             956         399-1299
19              Fax   956            399-4484

20


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                                Adelaido Flores Jr.
                             Certified Shorthand Reporter
     Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 4 of 215




                                                                                4




 1                                 INDEX OF EXHIBITS

 2       DEFENDANTS EXHIBITS

 3       NO.   DESCRIPTION                   OFFERED      RECEIVED     VOL

 4       19     Incid.   Illness   Report     168          169           35
         20    Monthly Logs/P.4               168          169           35
 5       21    3/28/06 Home Visit             168          169           35
         22    Marias Behavior Letter         174          174           35
 6       23    Medical Records/Mariah         176          176           35
         24       Pinkermans CV               196          196           35
 7                                 INDEX OF EXHIBITS

 8       DEFENDANTS EXHIBITS

 9       NO.   DESCRIPTION                   OFFERED      RECEIVED     VOL

10       25    CPS    Drug Tests               78           78           37
         26    CPS    Case History             78           78           37
11                -   BILL OF PARTICULARS    NO.  2.


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                            Adelaido Flores Jr.
                         Certified Shorthand Reporter
                                    Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 5 of 215


                                                                                                                                                                                                                                                                        DEFENj
                                                                                                                                                                                                                                                                          EX
                                                                                                                                                                                                                                                                                                                T                1



    T   .




                      Texas               Dept          of
                                                              Family                                                                                          INCIDENT/ILLNESS                                                  REPORT                                                                                                     Form   7239
                      and         Protective                  Services                                                                                                                                                                                                                                                                 March      2004


                                                                                                                                         Fill     in   all   appropriate           areas.      Use        additional                 sheets    as   necessary.




                                                                  -mils
                     Childs               Name                                                                                                                                                             Date            of   Birth            Licensing          notified          If    required              QYes                No



                                                                                                                                                          a       1
                                                                                                                                                                      ez                                  q-De                                   Person        s   name
                     ChildS                        d ass                                                                                                                                                   Date            of   Incident/Illness                         Time        of    Ina    ent/Illness



                                                                                      BO X                                      ll                                                                                                                                               -         Loam            DPm
                     Place               of    Incident



                               .                                                  U                 ss                      ROO jet
                           regiver                 in   Chrge                of       Child                                                                  Op       tion    Name                                                            Operation            ID                         Time       Parent            otifiied




                     Par
                          B -63
                                      tsNa
                                                                                                                                                                      Cq     J1c1G c k                f            N
                                                                                                                                                                                                           Parents Telephone
                                                                                                                                                                                                                                 t    r       Number


                                                                                                                                                                                                                                                                                              Date       Parent
                                                                                                                                                                                                                                                                                                                      am

                                                                                                                                                                                                                                                                                                                      Notified
                                                                                                                                                                                                                                                                                                                                D     o rn




                                              i          onS u                                          C          cl.s fir                                  O                                              5q- a                               O90                                                                    -oaf
                     Did      the         child         see       his/her              doctor                          Was           First       Aid     Provided                    Yes          No                             Was medical                              Was EMS called                              QYes             No

                                                                                                                                                                                   0n
                                                                                                                                                                                              3

                                                                                                                                                                                                                                                                                                                      Dam Qp m
                                                                                                                                                                                                                       /

                     QYes                 QNo                                                                          What was                  done                                             i ehe-0
                                                                                                                                                                                                                                 attention       required
                                                                                                                                                                                                                                                                          Time ca          lled




                     If   so      fill        out information                         below                                                                   d -WI                         le S S                                   Y..        k N.                      Time responded                                Dam Dpm
                              d   s       Doct                                                                                                           Doctors Address                                                                                Doctors Phone

                                    Z
                                    f               /Js           i    f     /                c     tM        /        i
                                                                                                                                                             J             J                      -       C117     eq
                 Doctors                      Diagnosis                 or       Instructions
                                                                                                                                                                                                                                                        Date/Time Consulted

                                                                                                                                                                                                                                                                        Dam Qpm

                A. Details                               of Incident                          That Caused Injury or Placed                                                             Child          at    Risk
                Describe                       Injury        or       risk       In   whit          child                       placed                                                                     C               M                                                                       /




                                                                                                                   7
                                                                                                                                                                                                               I                                                                                                       1
                                                                                                                                                                                                                   1




                Where                    and how              did the                Incldentlinjury
                                                                                                                       occur

                                    J     j                  i-                               L   ac                        I
                                                                                                                                     n                       an                                                                       I            ti A

                Staff          who             with          ssedq               a    incident/injury.




                Other               staff          who were                  present           at       the       ti   Me       of   t          incident/injury.




                B. Details                              of     On-set of Illness While                                                           in     Care
                Type           of         Illness                                                                                                                                                                                                             Does      the   Illness         require exclusion                 from care

                                                                                                                                                                                                                                                              QYes        QNo

                If        communicable                            other              parents            notified                     QYes              QNo                                                                                                    Health      Dept.           notified                Yes        f.JNo

                Method                    used
                                                                                                                                                                                                                                                              Date

                Temperature                             of   Child                         Medication                      given




                                    that           the       above           information                 is       a    true      and         accurate             account      of    the                                    that      occurred concerning                 this       child.
            I
                     verify                                                                                                                                                                incident/injury




            Signature                         of    Director/Person                           in   Charge                                                                                                      Date Signed




                                                                                                                                                                                                                                                                        concerning                                    have     received
            I
                 verify             that           the director/persgq                             in    charge             appropriately                     relayed        the    information           concerning                  the   incidentfinjury                                   my       child.     I
                                                                                                                                                                                                                                                                                                                                              a

            copy              is                   report.




r
    J                                                                                                                                                                                                          Date             Signed
Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 6 of 215




                                                                                                      MONTHLY LOGS                                           PAGE FOUR
  INCIDENTS
           For serious     incidents        such as runaway                         physical restraint             hospitalization             suicidal           ideation

                   or.attempts           sexual perpetration                        law enforcement                involvement            or allegations of abuse
  gestures

  or neglect         contact    the Burke           Foundation immediately.                               Serious     incidents        described            above      may

 require       a separate incident              form.         Burke Foundation personnel                              will   advise.

 Case Manager                                                                       Phone
 Charles        Campise        Work       512 858-4258                          /cell    461-2935         /   home     847-5083          /Rose          cell 461- 4803

 Karyn Rogers Work                      512 858-4258 /                      cell    658-0169          /   home      264-7290



 NOTABLE BEHAVIORS                                   These are problematic                            behaviors       that   are typically          NOT           considered

 serious incidents

 A.        Substance      Abuse                              B.       Property           Destruction                               Self inflicted            injuury

 D.        Enuresis                                          E.       Terroristic            threat                                Public      incident

 G.    Encopresis/Feces                 Smearing         H.           Provoking              peers                            1.       Unprovoked             aggression

 J.    Verbal      threats                                   K.       Sexually           inappropriate                       L.        Animal abuse

 M.        School Problems                               N.           School bus problems                                    0.        Theft   and/or         Dishonesty

           Breaking House Rules                                       Hallucinatin                                           K.        Missed medication                 dose

 S.    Bizarre         behavior                          T            One on One               Supervision                   U.        Assaulted         by Peer



 A    particular        Notable      behavior       that          occurs         on more than one day can be described                                  once and just

note the dates on which-the                     behavior              occurred.               A   behavior     that    occurs      each day may be                    listed   as

daily




                                                                                             r yes
                           Gx-rl -           5 he                     r         g
                                                                                    v    i
                                                                                                               a   S ie      So Per U                       S ck-          due
Description




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      vi    Thy.             II-o       UtGti




Notable        behavior      letter     5            1   .             is   fYoJ
                                                                                        It   lC/r14
                                                                                                Dates


Description                         Ytet-    -i          Li        h em             5    he           h -t/e          lCtTr i                       Wl V                  he
ALA            k                    e   ad                        -
                                                                       eloay                   o-ef 5 k               e            C
                                                                                                                                        ryc n-               b          rn v    6   ft


sGrt           YvI              W           f-tit            5        hz            23         Q -d



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                                                                                                                                                                         clQ
Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 7 of 215




DATE         03/28/2006                                                                     LENGTH OF                VISIT        1   HOUR
CHILD           Mariah           Alvarez                                      FAMIILYRamon               ez     Alifonsa          Castillo

AGENCY REPRESENTATIv                                   Ti.-    Dora. Ca.ckley




Content         J   observed           Ma.ria.h    as well dresses          and she appeared         healthy.           Mal-la-11       had

awakened            from her nap and was                      happy     to see the caseworker and me. As per foster

mother      Maria.h             is   gaining      strength in her leg- and             is   attempting     to    walk on her                on.

As   per foster mother                   the head start school             called lien at      1030 on        the morning               of March

23   to   notify her        that.      Mariah      fell   and    hit    her head.   She was playing              or    a    toy   t.ha.t.   that   small

stairs    and    lost     her balance.            As   per     foster    mother     she took     Maria.h        to    the doctor            and x-rays

were done.          Dr.    J.    Castaneda.        stated      that.    Mariah   was    fine   and prescribed               Tylenol for
children.




                                                                                                                     Date




                                                                                                                      Ql.2ri7
                    Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 8 of 215
       Childs Name                   Nf\rio      k.       A lu                  MontlVYear                 -                                                                                           e           IS
                                                                        re-Z.                                  F1   rc-           oo     Foster                                            tuzU            f
                                                                                                                                                IHone                                                                   1



    Please          list   any change            in       medic          Lions or doctor visits                     child      attended3 /L 1b6 /311.4                                                             Y
              3l      W 01j-d 3                       /   -.L0
                                                                                                                                                                                               113         3- 11




    NOTABLE BEHAVIOR LETTER                                                             -       _
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                                                                                                                                                                      L    R   G


       Details       of Incident
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                                                 CADo
   Your Response                 to      incident
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   Childs Response
                                             I




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  NOTABLE BEHAVIOR LETTER                                                                                                            DATES


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                      h.                 c
  Your Response                 to    Incident



1Detailsoflricident
 Childs Response
                                         S                                          o   o   c
                                                                        G                                bgt    l
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 NOTABLE BEHAVIOR LETTER                                                                                                            DATES

 Details       of Incident
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 Your Response              to       Incide
    k e- V.     I
                                          1.                             1- -a                                  k    CyUj      To     L0 0-t                Ic


 Childs Response
                                     S    h L _Tr           t                 tv        w cn-                  b     c
                                                                                                                                      Gl   e vJ                       v vS                                 45           T




NOTABLE BEHAVIOR LETTER                                                                                                            DATES

Details       of Incident



                                                                                                                                                      DEFENDANTS
Your Response              to   Incident                                                                                                                         EXHIBIT
                                                                                                                                                                 _2
Childs Response
            Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 9 of 215



   NOTABLE BEHAVIOR LETTER                                   L                                    DATES 0-2e

   Details   of incident           I   or    ic-   i   1   1L6 .            h-tle             -
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   Your Response taciden
                                                                    tom     key                    W-1      L      l      Yl   e e/            o    lc-tr e-T

   Childs Response
                                                                                       1 1   10    X-   I




  NOTABLE BEHAVIOR LETTER                                                                         DATES

  Details    of Incident




  Your Response           to    Incident



  Childs Response




 NOTABLE BEHAVIOR LETTER                                                                      DATES

 Details    of Incident




 Your Response        to       Incident



 Childs Response




NOTABLE BEHAVIOR LETTER                                                                      DATES

 Details   of Incident




Your Response        to    Incident



Childs Response




Please send    all   documentation            from Doctor      visits report cards           education          information-       ARD             IEP.

Medication     Logs       must be handwritten              signed   ancjAfiled     or faxed        to   our     office.




Foster Parent     Signature                Date
    Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 10 of 215




                                    MEDIC.AL/D.ENTAT                      TREATMENT           FORM

       Medical          1..          Annual                               Dental                     Psychiatric

       Treatment                     Exam                                 Treatment                  Monitoring




       Childs     Name        Aco- G           /                VC   -1   P2
      Date 3-     Z 3--            Time                     4    -        a.m   /                  one
                                                                                    p.m   circle



      Examiner


      Address


      City/State/Zip                6      1       C.   S        //       1

      Phone                        c7              S YC

      Reason    for   Visit



                                                                                      Yi




     Dia.guosis   and Treatment




     Medication       Prescribed




    Recommendation            and Follow   up




    Examiners Signature                                                                                  Date


              0r_         Cs_
i   Printed   Name
              Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 11 of 215
                                                                                        y-l_                              5                                L   GC




     Texas        Dept    of   Family
                                                                                    Attachment               B           DEFENDANTS                                        Form    2085-B
     and     Protective        Services                                                                                                                                        Mar 2006
                                                                                                                                 EXHIBIT                                           Page      1




                                                          DESIGNATION OF MEDICAL C
                                                                FOR NON-DFPS EMPLO
I



     SECTION                    1 MEDICAL CONSENTER

     The Texas Department                             of Family       and     Protective        Services          DFPS              managing               conservator        of


     Childs       Name                                                                              Medicaid      or Client   No.

     Mariah         Alvarez                                                                         524754208
     Date    of   Birth                                   County                                    Court No.                                              Cause No.
     09/06/04                                             Cameron                                   107                                                    2004-09-67-NA
     Name      of Judge                                                                             Phone     Number     of   Court
     Ricardo         Flores




     hereby designates                         Vicente             Eva Donez              the medical             consenter                to       consent     to the medical

    care          including           physical        dental       behavioral/psychological                   and     allied        health          care    e.g. physical




    non-DFPS
    therapy occupational                           therapy speech             therapy          dietetic      services          etc.       for this child.       With this
    designation                   a     2085-A       previously       issued for        this   child    is   hereby revoked.


    Issue           Form 2085-B                 only    when       the medical consenter                or back-up             medical consenter are
                    employees                e.g.     live-in      caregiver
                                                                        emergency                 professional employee. A
                                                                                                       shelter or         CPA
    combination of                      Forms 2085-B and         C may be used. Complete Form 2085-B as follows
                    Enter the               name     of the medical consenter in Section 1. Both parents may be designated                                                              in

                    Section             1   e.g.   birth    parents kinship caregivers foster parents pre-consummated adoptive
                    parents cottage                  parents    in a basic childcare facility or home and community-based                                                     HCS
                    support             family caregivers.
                    Enter the               name     of the back       up medical consenter                  in   Section           2.    Both parents              may be
                    designated               in Section       2 e.g.        relatives     alternate          cottage      parents              in   a basic childcare
                    facility.




    If   the medical consenter                        and/or       back     up medical         consenter          are affiliated with                  a   residential     provider
    e.g.          CPA           emergency            shelter basic          childcare      facility    or    home and community based                                  services

    HCS provider                    a representative                  of the residential provider                  must sign the form.


    This      medical             consenter          and back         up medical        consenter            must cooperate                    with   DFPS          as stated
    below.          All        references       in   this   document          to medical        consenters            also apply to back                     up medical
    consenters.                  Failure      to cooperate          with    DFPS may            be a basis          for revoking               the designation.


    1.      Preventive                  Medical Care.              When     the medical          consenter          consents              to preventive             medical        care

            provided             by a licensed health                care    provider      the medical             consenter              is   not required            to discuss

            the consent                 for medical       care      with    the childs caseworker                  or the caseworkers                        supervisor           but   is


            required            to include         the information on the               Summary           of the Childs                  Medical       Care.




         check-ups.
            Preventive

         American


                   Well
                         The
                                      medical

                                  Academy
                                  Periodicity

                                child

                   Sensory screening
                                                   care     is   defined     in


                                                     of Pediatrics Periodicity

                                                      Table

                                            examinations
                                                                 includes
                                                                                  the Medicaid         Procedure
                                                                                           Schedule or Texas Health


                                                                 by the health care provider
                                                        e.g. vision           hearing
                                                                                                                              Manual            Section        40.1

                                                                                                                                                    Steps medical
                                                                                                                                                                        as the
         Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 12 of 215


 Texas    Dept      of   Family
                                                                                    Attachment           B                                                        Form 2085-B
 and   Protective        Services                                                                                                                                    Mar 2006
                                                                                                                                                                          Page 2
                                                       DESIGNATION OF MEDICAL CONSENTER
                                                             FOR NON-DFPS EMPLOYEE

              Developmental/behavioral                             assessment
              Immunizations
              Laboratory               testing      for screening              purposes e.g. blood work                     urinalysis          TB   testing        STD
              screening               pelvic       exam
              Anticipatory              guidance             and
              Dental          check         ups.


         The medical                consenter            make sure the child receives
                                                       should                                                        an annual           medical          exam due         at

         least      once       every        13   months and they are one year of age
                                                                         if                                           or older          a dental      exam       that     is

       due every     months and whatever follow up treatment is prescribed by the health care
                              7

         provider. The medical consenter should use the screenings  and services offered by the Texas
         Health Steps Program when possible.   The medical consenter will discuss the plans to obtain
       these          screenings            and services with the childs                         DFPS     caseworker         during the development                       and
       review            of the childs           plan of service.              The medical            consenter      must provide copies                   of the

       screenings                   exams        or testing        to the childs           DFPS       caseworker.


2.     Major.            Medical Care.              When       the medical             consenter         consents      to   major medical             care      provided
       by a licensed health care provider                                     the medical         consenter       must consult           with   the childs          DFPS
       caseworker or the DFPS caseworkers                                           supervisor         before consenting.               Major     medical        care
       includes



             any         surgical       procedure
            any treatment                   that   the childs physician                   considers dangerous                or

            any other medical                      treatment         that      may     be threatening          to the childs        life   or long-term            health.



3.     Emergency                    Care.        The   medical       consenter            may      consent     to   emergency medical care by a
       licensed health                 care      provider       without            informing the childs           DFPS   caseworker or the DFPS
       caseworkers                   supervisor         if   there    is      not enough          time to contact      them        in   advance.          The    medical

       consenter             must      notify the childs             DFPS            caseworker          the caseworkers                supervisor          or the

       emergency                  on-call    caseworker             through          the abuse hotline of the emergency                          care immediately
       following           the provision            of emergency                   care   but.   no   later than    the next business                day       after the

       initial      treatment.



       Note The               medical         consenter            may     not be required to consent                  to medical          care      in   an

       emergency.                   Emergency           is   defined          in   Family    Code      266.009a             as a   situation         in   which


            it   is      immediately             necessary         to provide          medical care          to the foster child           to   prevent the
            imminent                probability        of death or substantial bodily                     harm      to the child        or others          including
            circumstances                   in   which
                      1       the child       is   overtly     or continually             threatening        or attempting          to    commit suicide or
                            cause serious bodily harm to the                              child    or others or

                     2       the child is exhibiting the sudden                             onset     of a medical condition               manifesting           itself   by
                            acute      symptoms              of sufficient          severity including            severe pain           such     that      the absence

                            of immediate medical attention                            could       reasonably        be expected           to result        in placing          the
         Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 13 of 215



 Texas      Dept     of   Family
                                                                             Attachment             B                                                       Form
                                                                                                                                                              2085-Mar
 and    Protective        Services                                                                                                                                  200

                                                                                                                                                                   Page

                                                    DESIGNATION OF MEDICAL CONSENTER
                                                          FOR NON-DFPS EMPLOYEE

                                 childs health        in    serious jeopardy          serious      impairment           of bodily functions             or serious

                                 dysfunction        of any bodily       organ or part.


               If    the     physician          provides     medical       care without          consent      an emergency Texas Family
                                                                                                             in

               Code              266.009b           requires the physician             to notify       the medical consenter no later than the
               second              business       day    after the medical        care      is   provided.


 4.     Psychotropic                     Medications         and Schedule            II-V    Drugs.         The    medical         consenter         may    consent
        to the administration of psychotropic                              medications           and/or    Schedule          1I-V drugs       controlled
        substances                     when    prescribed      by a licensed health care                  provider.         However          the medical

        consenter                must       notify the childs        caseworker        or the caseworkers                   supervisor        by close of
        business                 on the next business           day.     This notification          must be        in   writing by email or other
       written            communication.


 5.    Notification                    of Significant        Medical Conditions.                 The    residential         provider       and/or     medical

       consenter                 must immediately             notify the childs        DFPS        caseworker             or the    DFPS       caseworkers
       supervisor                 of   any    significant    medical       conditions.       DFPS         must    notify     a childs parents whose
       rights         have         not been      terminated.



       Examples                  of a serious       medical     condition      include       injuries or illnesses that

              Are         life    threatening        or

              Have           potentially        serious      long-term      health    consequences                 including        hospitalization         for

              surgery or care                  other than      minor emergency.



6.     Drug-testing.                    The     medical      consenter       must consult the childs caseworker                             or the caseworkers

       supervisor                before       consenting      to drug-testing.



7.     HIV-Testing.                    The     medical      consenter      must consult with the childs caseworker                                 or the
       caseworkers                     supervisor       to obtain     approval       from the      DFPS       program         director       before consenting

       to   any       test       designed        to detect     the    human immunodeficiency                      virus     HIV      that    causes     acquired
       immune              deficiency          syndrome       AIDS.         Exception             Children       who ask       to   be tested         have the

       right to           be tested without             the designees consent                    however      the child        must be offered
       information and                      counseling.      The   medical     consenter          must also ensure that                    any duly approved
       HIV-testing                performed on the            child    conforms       to the      policies    specified        in   40 Texas
      Administrative                    Code     TAC 700.1401-700.1406                           Subchapter             N   AIDS     Policies       for Children          in

       DFPS           Conservatorship.



8.    Participation                    in   Medical Appointment.               The designee must                   participate        in    each

      appointment                    of the child    with the provider           of medical        care as follows              unless otherwise

      required             by the health care               provider


             Preventive                Care     as defined         under   1     above.          The      medical       consenter          or back  up medical
             consenter                 may    participate     by providing       written         consent     to the residential              provider or another

             person              to take     the child     for the    appointment unless the health care providers                                   requires the
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 Texas    Dept      of   Family
                                                                                Attachment             B                                                          Form   2085-B
 and   Protective        Services                                                                                                                                      Mar 2006
                                                                                                                                                                         Page     4

                                                   DESIGNATION OF MEDICAL CONSENTER
                                                         FOR NON-DFPS EMPLOYEE

              consenters                                                       or by phone.            The     medical         consenter        or back
                                          participation       in   person                                                                                       up medical
              consenter               provides       this   consent       by    issuing    Form 2085-D                to the person            taking        the child    to

              the appointment.



              Ongoing Behavioral Health                            Therapy and          Allied    Health        Services.             The    medical         consenter         or
              back up medical consenter                            must approve the behavioral                        or allied       health    care       plan and
              monitor             the progress          of the child.          The   medical      consenter            is   not required to attend every

              appointment but should                        participate        when     requested             by the    therapist.           These
             therapy/services                    include dietary          services        occupational            physical            speech      or other therapy.


             Other Medical                   Care.      The    medical         consenter        or back        up medical            consenter        must attend the
             appointment or                   participate          by phone as         specified        by the        health        care    provider.         This medical

             care          includes        medical      appointments             for

                         Physical        health
                         Dental       treatment       e.g.     fillings     crowns         and
                         Review        of the progress             of children       prescribed        psychotropic                 medications       as required
                         every      one    to three     months        DFPS       policy Service               Level    Indicators Licensing                   Minimum
                         Standards         for Child-Placing            Agencies and             Residential          Child Care Contract                    Standards.


9.     Summary of                    Childs       Medical and Mental Health                       Care.         The     medical         consenter must
       complete the Summaryof Childs Medical Care form and provide                                                             it   to the   caseworker           before
       each court hearing as requested by the caseworker. The medical                                                               consenter     includes         a

       summary of all medical care provided to the child including preventive care major                                                                      medical

       care emergency care and medical care for common childhood      illnesses and minor                                                                      injuries

       such as ear                  infections    or a minor laceration.



10.    Acknowledgement.                           The     medical      consenter       acknowledges having received training on
       Informed            Consent           by signing the Informed                 Consent training handout or when available
       completing               the mandatory             online training for medical                  consenters.             The     medical     consenter             also

       agrees            to provide         a copy of this Designation                 of Medical          Consenter For                Non-DFPS              Employees
       form to           all   of the childs health care                providers.



11.    Mandatory                  Medicaid        Service.          The   medical       consenter             must seek medical                care     from a
       Medicaid            provider          unless the cost of medical                   care    is   covered         by


                     a    free      health    clinic

                     the parents health                 insurance or
                     the caregiver            directly.




The      medical           consenter          may      obtain information about                  the childs           Medicaid         benefits       by     calling

Texas Health                   Steps childrens Medicaid                     program        at    1-877-847-8377.                     This information           may
include       the types services                  available         to the child       through         this   program          or assistance            in   locating     a

doctor       nurse             dentist     or other specialist            in   the program.
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 Texas                of Family
           Dept
                                                                                                   Attachment            B                                                           Form 2085-B
 and     Protective     Services                                                                                                                                                        Mar 2006
                                                                                                                                                                                          Page 5
                                                           DESIGNATION OF MEDICAL CONSENTER
                                                                 FOR NON-DFPS EMPLOYEE

 If    a pharmacy                 refuses to accept                        Form 1027A                      Medical     Eligibility     Verification          the medical             consenter
 should           request          that     the pharmacy                         contact           the Vendor          Drug Help Desk.                The pharmacy              should     be
 aware          of the       phone          number              for the help desk.



 12. Records.                     The-medical- consenter---is                                   authorized-to -access-receive                        and review         all   the childs
         medical           records.             Furthermore the medical                                     consenter        may free         obtain       copies    or authorize          the
         release of the childs medical                                      records               to the extent        necessary            to obtain      services      for the child.



 SECTION                 2 BACK UP MEDICAL CONSENTER

 Complete                 the following               Section              only       if   the back           up medical        consenter            is   a non-DFPS          employee.
 DFPS          hereby designates                                                                                                                                     as       back
 upmedical care                    for this child.               The back                   up medical              consenter    must also cooperate                   with      DFPS      in

the      manner            described             in    Section              1.




SECTION                  3 SIGNATURES



                            Signature -Medical Consenter                     Section       1
                                                                                                                                                                    Telephone    Number




                                                Date
                                                                                                                                     Date                           Telephone    Number




      Signature       - Representative      of.Res               l   Provider        for   Back    Up     Medical                    Date                           Telephone    Number
                  Consenter       Section   2   If affiliated        4th   residential         provider



                              th
                                                                                                                                     Date                           Telephone    Number




                                                                                                                                     Date                           Telephone    Number




Note to           DFPS            staff         Forms 2085                       B   C     and      D     are the only authorizations for medical                             care that      the

childs caseworker                      and supervisor                            may       sign without             consulting    the        DFPS         regional attorney.


Note to Health Care Providers                                               If   you have any medical                        concerns         regarding        this child        please
contact           the    DFPS caseworker or supervisor see contact information                                                                  in    the signature           line   above
or the judge              see contact information in the heading on Page 1. The                                                                 health       care provider may
also contact the judge                                is   he or she has any concerns                                     about        the     decisions         of the medical

consenter.
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     Texas     Dept       of   Family                                                 PLACEMENT AUTHORIZATION                                                                                                                                  Form 2085F
     and    Protective          Services                                                                                                                                                                                                             Sept        201
                                                                                    FOSTER CARE/RESIDENTIAL CARE
     The     Texas Department                    of Family           and Protective            Services               DFPS           managing             conservator              of

     Childs         Name                                                                                                                                               Client No.                                            Medicaid        No.

     Mariah Alvarez                                                                                                                                                    524754208                                             524754208
     Date of        Birth                                    County                                                                                                    Court      No.                                        Cause No.
     09/06/04                                                Cameron                                                                                                   107th                                                 2004-09-67-NA


     hereby authorizes                  Vicente               Eva     Donez         to serve        as    this    childs        caregiver          under         the following            terms and conditions


     1.      Daily        care.        The     caregiver          must provide              the childs            daily       care        protection            control        and reasonable                    discipline.         The      caregiver           mi

             comply            with  any applicable   court orders and must provide                                                 care     for    the        child which              conforms          to     all
                                                                                                                                                                                                                        applicable           DFPS     rules            a
             standards             and any specific instructions from DFPS.


 Note            The childs             placement             with     the    caregiver        is   based             on the caregivers                  compliance               with the requirements                        set   forth    in    the     contr

             with      DFPS.          DFPS       at    its    sole     discretion       may remove                    the child from the caregiver                           at   any time.


 2.          Education.                The     caregiver          must       enroll    the     child       in    public        school       and     /    or other            educational         programs as                     directed          by the    chili


             caseworker                         caseworkers                                     The caregiver
                                      or the                               supervisor.                                         may        sign     any documents                   needed        to enroll the child                  in   a school         or oth

             educational              program          to    implement DFPSs                  decisions               about      the childs             education.                The    caregiver             may      also     receive       and review
            the childs           educational            records.



 3.         Travel.            The     caregiver            may     provide        routine     transportation                  for the child             including             transportation             for medical            and dental          care.         TI

            caregiver            may     also     provide           or arrange         for    the        child    to travel within                 the     state        of   Texas        and to remain away                         from     the    caregiver

            facility      for as long          as 72 consecutive                   hours.



            The caregiver                must secure              DFPSs           prior approval            for       the child to take             any        trip    lasting.    more        than       72 hours.            And    the caregiver               mu
            secure           both     DFPSs        and the courts                   prior   approval             for the child to travel outside                               Texas.         Whenever                 possible       the     caregiver           mu
           give        the      childs       caseworker              or    the     caseworkers                  supervisor           at    least         10 days             advance           notice       of         any    trip   that    requires            DFP
           approval.


4.         Photographs                   and videotapes.     The caregiver may take photographs    and record videotapes  of the child for the childs and                                                                                                              if



           caregivers               personal    use and for purposes     of identification. The caregiver  however    must not release any photographs
           videotapes               of the child for public use without DFPSs priorwritten permission.



5.         Medical Care.                   You    have         been        provided         with     current           information           as     to    who has              authorization           to      consent         to    medical dental                an

           psychological               care.      If   this    information            changes             DFPS         will    contact       you.         If
                                                                                                                                                               you have any questions                            at    any time please              contact            th

           caseworker               named       below.



6.         Confidentiality.                    Under         penalty         of    law the caregiver                    must        not release                information          about       the       child to           anyone        without         the    pric

           authorization              of the childs           caseworker              or the    caseworkers                   supervisor            except            as specified            below


           a        The caregiver              may          provide       information        about         the child to the childs                       school         and other DFPS                -   authorized            educational          programs
                    to    doctors        dentists            and other        medical        providers                and to counselors                  and therapists                 to the extent             that the information                is    needei

                    for      the childs        education          or   medical dental                or psychological                   treatment.



           b        The        caregiver       must give DFPS                     unrestricted           access        to information              about         the     child     at   all   times.



7.         Contact             with      the    Family.              The     caregiver         must         permit            the    child    and         the         childs      family       as     well        as     other       individuals           who         are

                                                                                                                                                                                  mail and                     under         the terms        and condition
           significant to the child                     to    maintain        contact        through            direct visitation            telephone                 calls                       gifts

           specified           by DFPS and the court.


8.         School            Programs            and          Extracurricular               Activities.                 The         caregiver           may           authorize         the    child        to        participate       in    routine        school

                                                                                                                                                                                                                                                     inform            the
           programs and extracurricular                               activities      that     do not involve                  an unusual                risk    of     injury     to the       child.         The       caregiver           must
           childs caseworker of all such                             activities.




If   this      is   not a DFPS foster                       home       placement            respond              to    questions            9 and 10
9.         Reason            for    Placement.               Briefly discuss           the reason               for   the childs           out-of-home                placement           below.



           This     is   a   subsequent           placement.               Child      was    initially      removed             due to drug use and neglectful                                 supervision.
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    Texas         Dept
             Protective
                           of   Family
                                 Services
                                                                            PLACEMENT AUTHORIZATION                                                                                            Form 2081
    and                                                                                                                                                                                             Sept   21

                                                                          FOSTER CARE/RESIDENTIAL CARE
    10.        Time            in Care.     How   long   is   the child expected       to    be    in   care 6 months



                                                                                 lr
                                                  Signature                                                                                        Date                     Telephone    No.




                                                                                                                                     t-1   1I                           Uri-V D 7
                                                                                                                                                   Date                     Telephone    No.




                                                                                                                                                    A6              CSh -Ltll-r
                                                                                                                                                    ate                     Telephone    No.



    Importa.pt            Forfn    A the 2085      series     are the   only   caregiver   authorizations         that    the childs caseworker           and the caseworkers   supervisor   may   sign.   If



    either    o    tt   erii    ha6 signed   any other caregiver authorization             that   authorization          is   null   and   void.




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 FOSTER PARENT MONTHLY PAPERWORK

 MONTH                  47       YEAR     3    rOL

 CHILD              y

 DOB q    o   LOC Pa       POS DATES
 FOSTER HOME 0 __j.__    o   CASE MANAGER    Q1zi                                 o1
 CPS CASEWORKER VISIT/CONTACT DATES     a  vLt                        l



 MEDICAL DOMAIN
 DATE OF LAST PHYSICAL                 PHYSICIAN
 COPY TURNED IN TO CASE MANAGER
 FOLLOW UP REQUESTED OR REQUIRED



 DATE OF LAST DENTAL          U -                               DENTIST
 COPYTURNED IN TO CASE MANAGER
 FOLLOW UP REQUESTED OR REQUIRED




DATE OF LAST EYE EXAM         n_                                OPTOMOTRIST
COPYTURNED IN TO CASE MANAGER
FOLLOW UP REQUESTED OR REQUIRED

DATE OF LAST TB TEST

MISC.   EXAM                                                  DOCTOR
COPY TURNED IN TO CASE MANAGER
FOLLOW UP REQUESTED OR REQUIRED




DATE OF LAST PSYCHOLOGICAL
DIAGNOSIS    Axis       I   and II




DATE OF LAST PSYCHIATRIC                 REVIEW                    PSYCHIATRIST
MEDICATIONS             List   name of   med mg.     and for what purpose.




ANY CHANGE     IN    MEDICATIONS              THIS   MONTH

WAS THE CPS CASEWORKER NOTIFIED PRIOR TO CHANGE
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                                           MONTHLY LOGS            PAGE   TWO
 BEHAVIORAL DOMAIN
 BEHAVIORAL GOALS




 BRIEFLY DESCRIBE   PROGRESSION OR REGRESSION    IN   BEHAVIORAL   GOAL AREA




EDUCATIONAL DOMAIN
EDUCATIONAL GOALS




BRIEFLY DESCRIBE PROGRESSION    OR REGRESSION   IN   EDUCATIONAL   GOAL
AREA
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                                                                      MONTHLY LOGS                    PAGE THREE
      EMOTIONAL DOMAIN
      EMOTIONAL NEEDS AND GOALS




  Number of Therapy            Sessions this   month
  BRIEFLY DESCRIBE PROGRESSION OR REGRESSION IN                                      EMOTIONAL GOAL AREA




 SOCIAL/        RECREATIONAL DOMAIN
 Describe   the    recreational       pursuits in which the   child currently   participates
 1.                                        -



                                                               3.

 2.                                                            4.

 BRIEFLY DESCRIBE PROGRESSION                          OR REGRESSION            IN   SOCIAL/RECREATIONAL
 GOAL AREA




FAMILY DOMAIN
VISIT DATES BY RELATIVES                        jv \   c

Include   dates names of visitors duration of visits supervised                 or unsupervised   outcome.
APPROX.     NUMBER OF FAMILY PHONE CONTACTS

Include   who     initiated   calls   and outcome   if significant.
COMMENT ON SIGNIFICANT FAMILY ISSUES                                    N       c

CONTACT RESTRICTION WITH
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                                                                            MONTHLY LOGS                                    PAGE FOUR
 INCIDENTS
       For serious incidents such as runaway                 physical restraint hospitalization                   suicidal    ideation

 gestures     or attempts           sexual perpetration      law enforcement involvement                     or allegations        of abuse

 or neglect      contact     the Burke    Foundation immediately.               Serious     incidents described          above     may
 require a separate          incident form.    Burke Foundation             personnel       will   advise.


 Case Manager                                                Phone
 Charles    Campise Work      512 858-4258               /cell   461-2935       /   home     847-5083        /   Rose   cell 461- 4803

 Karyn Rogers          Work 512 858-4258 /            cell   658-0169       /   home      264-7290



 NOTABLE BEHAVIORS                          These are problematic           behaviors       that   are typically        NOT   considered

 serious incidents

 A.    Substance     Abuse                    B.   Property      Destruction                       C.    Self inflicted      injury

 D.    Enuresis                               E.   Terroristic     threat                           F.   Public    incident

 G.    Encopresis/Feces         Smearing      H.   Provoking       peers                            I    Unprovoked          aggression

 J.    Verbal    threats                      K.   Sexually      inappropriate                     L.    Animal      abuse

 M.    School Problems                        N.   School bus problems                             0.    Theft     and/or    Dishonesty

P.     Breaking House Rules                   0.   Hallucinating                                    R    Missed medication            dose
 S.    Bizarre    behavior                    T.   One on One        Supervision                    U    Assaulted       by Peer



 A particular      Notable behavior        that occurs     on more than one day can be                   described      once and      just

note    the dates on which the behavior            occurred.       A behavior        that    occurs      each day       may   be   listed    as

daily.


Notable behavior           letter                                     Dates


Description




Notable     behavior       letter                                    Dates


Description
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                                          MONTHLY LOGS         PAGE FIVE

 Notable behavior     letter             Dates


 Description




 Notable behavior    letter              Dates


 Description




Notable behavior    letter              Dates


Description




Notable behavior    letter              Dates



Description
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                                                     MONTHLY LOGS       PAGE SIX
     Notable behavior     letter             Dates


     Description




     Notable behavior     letter            Dates


     Description




    Notable behavior     letter             Dates


    Description




    Notable   behavior   letter             Dates



    Description




t
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                                                 MONTHLY LOGS     PAGE SEVEN
 Notable behavior     letter             Dates


 Description




 Notable behavior     letter             Dates



 Description




Notable   behavior   letter              Dates


Description




Notable   behavior   letter




Dates-Description
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 FOSTER PARENT MONTHLY PAPERWORK

 MONTH gyp      b    %       YEAR ZOU 4
 CHILD   Ma.r ia h   i4var7
 DOBO91ovi LOC             POS DATES
 FOSTER HOME CAni. to         CASE MANAGER Eliulbfft                  Rodr   is   uez
 CPS CASEWORKER VISIT/CONTACT DATES
 MEDICAL DOMAIN
 DATE OF LAST PHYSICAL 10 -7- D         PHYSICIAN.               L    AsTu-

 COPY TURNED IN TO CASE MANAGER     v lo4
 FOLLOW UP REQUESTED OR REQUIRED c        a




DATE OF LAST DENTAL     N/f                       DENTIST
COPY TURNED IN TO CASE MANAGER
FOLLOW UP REQUESTED OR REQUIRED




DATE OF LAST EYE EXAM                             OPTOMOTRIST
COPYTURNED IN TO CASE MANAGER
FOLLOW UP REQUESTED OR REQUIRED

DATE OF LAST TB TEST

MISC.   EXAM                                    DOCTOR
COPYTURNED IN TO CASE MANAGER
FOLLOW UP REQUESTED OR REQUIRED




DATE OF LAST PSYCHOLOGICAL
DIAGNOSIS    Axis    I   and II




DATE OF LAST PSYCHIATRIC REVIEW                        PSYCHIATRIST
MEDICATIONS List name of med mg. and       for what   purpose.




ANY CHANGE     IN    MEDICATIONS THIS MONTH

WAS THE CPS CASEWORKER            NOTIFIED PRIOR TO     CHANGE
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                                                 MONTHLY LOGS             PAGE   TWO
BEHAVIORAL DOMAIN
BEHAVIORAL GOALS


        A     w    ho   1Qr    and   eiue.




BRIEFLY DESCRIBE PROGRESSION OR REGRESSION IN BEHAVIORAL                  GOAL AREA




EDUCATIONAL DOMAIN
EDUCATIONAL GOALS
       8ino   li   htr   LtAAi-h     also    8inays   -h    hy




BRIEFLY DESCRIBE PROGRESSION         OR REGRESSION     IN   EDUCATIONAL   GOAL
AREA
    WIWL      alGLtat   mo    --At   -AC




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                                                                                     MONTHLY LOGS                         PAGE THREE
       EMOTIONAL DOMAIN
      .EMOTIONA NEEDS AND GOALS

                     Show          1l        Love         and      care.        -f         -to     mAkt                ru   f




       Number of Therapy          Sessions    this   month
       BRIEFLY DESCRIBE PROGRESSION                               OR REGRESSION IN EMOTIONAL GOAL AREA


                         aC.u        .Geki                 ctLde        ancP          ed                    Jeu




      SOCIAL/.RECREATIONAL                      DOMAIN
     Describe the recreational pursuits              in   which the    child      currently      participates

      I.   Lws1-ti      Sim--h             wx                              3.

     2.                                                                    4.

     BRIEFLY DESCRIBE PROGRESSION OR REGRESSION IN SOCIAL/RECREATIONAL
     GOAL AREA




     FAMILY DOMAIN
         DATES BY RELATIVES
     VISIT                                                5 rtj    a-t                10   4k               I.   of

     Include   dates    names of visitors duration of vats                      supervised       or unsupervised      outcome.
     APPROX.         NUMBER OF FAMILY PHONE CONTACTS                                              pj   1.   h

     Include   who    initiated   calls   and outcome       if    significant.

     COMMENT ON SIGNIFICANT FAMILY ISSUES


     CONTACT RESTRICTION                    WITH
tr
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                                                                                    MONTHLY LOGS                                    PAGE FOUR
 INCIDENTS
                                                                                                                          suicidal
       For serious     incidents       such   as   runaway          physical restraint         hospitalization                         ideation

                or attempts          sexual   perpetration           law enforcement           involvement           or allegations       of abuse
 gestures

 or neglect      contact     the Burke Foundation                immediately.           Serious     incidents described          above     may

 require    a separate       incident form.          Burke Foundation personnel                     will   advise.


 Case Manager                                                        Phone
 Charles Campise Work 512 858-4258                               /cell   461-2935       /   home     847-5083        /   Rose   cell    461- 4803

 Karyn Rogers Work 512 858-4258 /                           cell     658-0169       /   home      264-7290



 NOTABLE BEHAVIORS                             These are problematic                behaviors       that   are typically        NOT     considered

 serious incidents

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 D.    Enuresis                                    E.    Terroristic       threat                           F.   Public    incident

 G.    Encopresis/Feces             Smearing       H.    Provoking        peers                             I.   Unprovoked            aggression

J.     Verbal    threats                           K.    Sexually        inappropriate                      L.   Animal abuse

M.     School Problems                             N.     School bus problems                               O.   Theft     and/or      Dishonesty
P.     Breaking House Rules                        0.     Hallucinating                                     R.   Missed medication              dose

 S.    Bizarre    behavior                         T.    One on One          Supervision                    U.   Assaulted       by Peer


 A particular      Notable behavior           that      occurs     on more      than one day can be described                   once and        just

note    the dates on which the behavior                  occurred.         A   behavior      that    occurs      each day may be          listed       as

daily.


Notable behavior           letter                                              Dates


Description




Notable behavior           letter                                              Date



Description
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                                          MONTHLY LOGS        PAGE FIVE

 Notable behavior    letter             Dates


 Description




 Notable behavior    letter             Dates


 Description




Notable behavior    letter              Dates


Description




Notable behavior    letter             Dates


Description
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                                                 MONTB LY LOGS     PAGE     SIX

 Notable      behavior    letter        Dates


 Description




 Notable      behavior    letter        Dates


 Description




Notable behavior         letter         Dates


Description




Notable behavior         letter        Dates



Description
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                                                       MONTHLY LOGS    PAGE SEVEN
       Notable behavior    letter              Dates


       Description




       Notable behavior    letter             Dates


      Description




      Notable behavior    letter              Dates


      Description




      Notable behavior.   letter              Date

      Description




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   FOSTER PARENT MONTHLY PAPERWORK

   MONTHSfo          -    YEAR     o
   CHILD   A.      P1 vc.rezf
  DUB     o    LOC           POS DATES 9            14
  FOSTER H MEP       77//rzS   CASE MANAGER 5fi     b MTh               rt
  CPS CASEWORKER VISIT/CONTACT DATES
  MEDICAL DOMAIN
  DATE OF LAST PHYSICAL /o /- /01         PHYSICIAN
  COPYTURNED   IN TO CASE MANAGER   Lb o
  FOLLOW UP REQUESTED OR REQUIRED       e  ea r 6

  DATE OF LAST DENTAL     to PC                       DENTIST
  COPY TURNED IN TO CASE MANAGER
  FOLLOW UP REQUESTED OR REQUIRED




  DATE OF LAST EYE EXAM    N to-                      OPTOMOTRIST
  COPYTURNED IN TO CASE MANAGER
  FOLLOW UP REQUESTED OR REQUIRED

 .DAT OF LAST TB TEST           k IA

 MISC.   EXAM                                       DOCTOR
 COPY TURNED IN TO CASE MANAGER
 FOLLOW UP REQUESTED OR REQUIRED




 DATE OF LAST PSYCHOLOGICAL
 DIAGNOSIS Axis I and II



 DATE OF LAST PSYCHIATRIC REVIEW                        PSYCHIATRIST
 MEDICATIONS      List   name of med mg. and for what purpose.




 ANY CHANGE IN MEDICATIONS             THIS   MONTH

 WAS THE CPS CASEWORKER NOTIFIED PRIOR TO CHANGE_                   _
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                                                              MONTHLY LOGS               PAGE   TWO
BEHAVIORAL DOMAIN
BEHAVIORAL GOALS
       I-kp    Mcixtct   h     ft     c.omluYtibI




BRIEFLY DESCRIBE PROGRESSION                     OR REGRESSION      IN   BEHAVIORAL      GOAL AREA

        SJAC    c        I-L   hcw.     as   rrteu
                                                              ittt4ns    A   hI      U   d   -tvo




EDUCATIONAL DOMAIN
EDUCATIONAL GOALS

    f    TO    110A      NIAAJO-h      1AftaJx       d




BRIEFLY DESCRIBE PROGRESSION                     OR REGRESSION     IN    EDUCATIONAL GOAL
AREA
    wt         ytm tnd          sir
                                        -
                                             Ma ih       /g    wat      43   plo-o
                                                                                     w       hcf
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                                                                                                MONTHLY LOGS                           PAGE THREE
      EMOTIONAL DOMAIN
      EMOTIONAL NEEDS AND GOALS

           NyW             hL               d    Cbm1 iA               l
                                                                               _.




  Number of Therapy              Sessions         this   month
  BRIEFLY DESCRIBE PROGRESSION                                         OR REGRESSION                         IN   EMOTIONAL GOAL AREA

           y4khah                     i   Sni       2     move             c         d      lat      hs      mw-She              mms        njp   r




 SOCIAL/          RECREATIONAL DOMAIN
 Describe the recreational pursuits                      in   which the             child   currently     participates
             is    vC6t4        -Ii   v                                               3.    w     p   tart        .   14   his
 2.   . S
       r       -h      I          4.

BRIEFLY DESCRIBE PROGRESSION OR REGRESSION                                                                   IN   SOCIAL/RECREATIONAL
 GOAL AREA




FAMILY DOMAIN
VISIT DATES BY RELATIVES W/                                        1LSdLLAc                 7                              v S-Cc al    m1v1
                                                               6                                ho
Include     dates names of visitors duration of visit supervised                                          or unsupervised        outcome.
APPROX.       NUMBER OF FAMILY PHONE CONTACTS                                                             01

Include    who    initiated     calls     and outcome              if significant.

COMMENT ON SIGNIFICANT FAMILY ISSUESi


CONTACT RESTRICTION                             WITH..        13   1_
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                                                                             MONTHLY LOGS                                   PAGE FOUR
 INCIDENTS
       For serious incidents such as runaway                  physical restraint        hospitalization            suicidal     ideation

 gestures       or attempts         sexual perpetration        law enforcement involvement                   or allegations        of abuse

 or neglect      contact    the Burke Foundation          immediately.           Serious     incidents described          above may

 require a separate         incident form.      Burke Foundation             personnel       will.advise.


 Case Manager                                                  Phone
 Charles      Campise Work          512 858-4258         /cell    461-2935       /   home     847-5083       /   Rose    cell 461- 4803

 Karyn     Rogers Work            512 858-4258 /       cell   658-0169       /   home      264-7290



 NOTABLE BEHAVIORS                           These are problematic           behaviors       that   are typically       NOT     considered

 serious incidents

 A.    Substance     Abuse                     B.   Property      Destruction                       C.   Self inflicted       injury

 D.    Enuresis                                E.   Terroristic     threat                          F.   Public     incident

 G.    Encopresis/Feces           Smearing     H.   Provoking      peers                            I    Unprovoked           a gg e
                                                                                                                              aggression

 J.    Verbal threats                          K.   Sexually      inappropriate                     L.      Animal      abuse

M.     School Problems                        N.    School bus problems                             O.   Theft     and/or     Dishonesty

P.     Breaking     House      Rules          0.    Hallucinating                                   R.   Missed medication             dose

 S.    Bizarre    behavior                    T.    One on One        Supervision                   U.   Assaulted        by Peer



 A particular      Notable behavior        that occurs     on more than one day can be                   described       once and      just

note    the   dates on which        the behavior    occurred.       A   behavior      that    occurs     each day may be           listed     as

daily.


Notable       behavior     letter



Dates-Description




Notable       behavior   letter                                         Dates


Description
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 FOSTER PARENT                  MONTHLY PAPERWORK

 MONTH       a                       YEAR                 __
 CHILD   M   PP   c   l   cc         f   I
                                             Va t   eZ
 DOB g- 6-af LOC           POS DATES
 FOSTER HOME      5   rS     CASE MANAGER
                               C.            1




 CPS CASEWORKER VISIT/CONTACT DATES        o    /a                                       /          I   /z/os
                                                                                                             __
 MEDICAL  DOMAIN                                                                                                   _
 DATE OF LAST PHYSICAL b l LD -          PHYSICIAN
 COPY TURNED INTO  CASE MANAGER      6 y
 FOLLOW UP REQUESTED OR REQUIRED c                                             y

 DATE OF LAST DENTAL                                                           DENTIST       _0 4
 COPY TURNED IN TO CASE MANAGER
 FOLLOW UP REQUESTED OR REQUIRED



 DATE OF LAST EYE EXAM                                                     OPTOMOTRIST                  fS    fL

 COPY TURNED INTO CASE MANAGER
 FOLLOW UP REQUESTED OR REQUIRED

 DATE OF LAST TB TEST                            N
IN-MISC.
      EXAM                                                      0   c    DOCTOR              0 LA
COPY TURNED IN TO CASE MANAGER
FOLLOW UP REQUESTED OR REQUIRED



DATE OF LAST
PSYCHOLOGICAL-DIAGNOSIS
           Axis I and II




DATE OF LAST PSYCHIATRIC REVIEW
PSYCHIATRIST-MEDICATIONS
           med             List     name of              mg. and    for what   purpose.




ANY CHANGE        IN       MEDICATIONS                   THIS   MONTH             f ft




WAS THE CPS CASEWORKER                              NOTIFIED PRIOR TO            CHANGE
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                                           MONTHLY LOGS              PAGE   TWO
 BEHAVIORAL DOMAIN
 BEHAVIORAL GOALS




 BRIEFLY DESCRIBE PROGRESSION OR REGRESSION IN BEHAVIORAL            GOAL AREA




EDUCATIONAL DOMAIN
EDUCATIONAL GOALS

       e   rit        31    fm   ZB   Ka


BRIEFLY DESCRIBE PROGRESSION     OR REGRESSION   IN   EDUCATIONAL     GOAL
AREA
                                                       JAI-e
       e                t                  c      on           w   PLSvj
                                                               e
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                                                                                        MONTHLY LOGS                   PAGE THREE
      EMOTIONAL DOMAIN
      EMOTIONAL NEEDS AND GOALS




      Number of Therapy         Sessions   this    month
      BRIEFLY DESCRIBE PROGRESSION                           OR REGRESSION                       IN    EMOTIONAL      GOAL AREA




 SOCIAL/           RECREATIONAL DOMAIN
 Describe the recreational pursuits

                                                                                          t1t
                                                  in   which the   child            currently   participates
 I-
      .fi          S   /14A                  S                                                               e.
 2.     I   IS         h        1--f              l
                                                                        3._p
                                                                        4

 BRIEFLY DESCRIBE PROGRESSION OR REGRESSION                                                     IN     SOCIALIRECREATIONAL
 GOAL AREA




FAMILY DOMAIN                                                      rn       I   c

VISIT DATES BY RELATIVES
Include      dates names of visitors duration of             visits                 p   rvise   or u   supervised   utcome.   Ct led
APPROX.          NUMBER OF FAMILY PHONE CONTACTS                                                         -



Include      who   initiated   calls   and outcome       if significant.
COMMENT ON SIGNIFICANT FAMILY                                ISSUES.                     ti




CONTACT RESTRICTION                      WITH.
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                                                                                MONTHLY LOGS                                  PAGE FOUR
  INCIDENTS
       For serious     incidents       such as runaway             physical restraint      hospitalization           suicidal     ideation

  gestures      or attempts          sexual perpetration           law enforcement         involvement           or allegations      of abuse

  or neglect contact          the Burke Foundation            immediately.          Serious     incidents    described     above may

  require a separate         incident    form.        Burke Foundation personnel                will   advise.


  Case Manager                                                     Phone
        Campise Work 512 858-4258
  Charles                                                    /cell    461-2935      /   home     847-5083        /Rose    cell 461- 4803

 Karyn Rogers Work 512 858-4258 /                           cell   658-0169     /   home      264-7290



 NOTABLE BEHAVIORS                             These are problematic            behaviors       that   are typically     NOT      considered

 serious incidents

 A.    Substance     Abuse                       B. Property          Destruction                      C.   Self inflicted      injury

 D     Enuresis                                  E.     Terroristic    threat                          F.   Public     incident

 G.    Encopresis/Feces             Smearing     H.     Provoking      peers                           I.   Unprovoked          aggression

 J.    Verbal    threats                         K.     Sexually      inappropriate                    L.   Animal       abuse

 M.     School Problems                          N.     School bus problems                            O.   Theft    and/or     Dishonesty
 P.    Breaking House Rules                      O.     Hallucinating                                  R    Missed medication            dose
 S.    Bizarre    behavior                       T.     One on One        Supervision                  U.   Assaulted      by Peer


  A particular     Notable behavior         that occurs        on more. than one day can be described                     once and just

 note the dates on which the behavior                   occurred.       A   behavior     that    occurs     each day may be         listed   as

 daily


Notable behavior           letter                                           Dates

Description




Notable     behavior       letter                                           Dates


Description
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 FOSTER PARENT MONTHLY PAPERWORK

 MONTH    Q --b
         U6
                       YEAR        7o   p
 CHILD         iG-        UVeZ                       01




 DOB l - o -L-t      off C_ POS DATES
 FOSTER HOME -5         m     CASE MA AGER
 CPS CASEWORKER   VISIT/CONTACT  DATES 4
 MEDICAL DOMAIN
 DATE OF LAST PHYSICAL / D     a   L      PHYSICIAN                  .    5 la   A   e   c@   c
 COPY TURNED IN TO CASE MANAGER       OLP

 FOLLOW UP REQUESTED OR REQUIRED




 DATE OF LAST DENTAL        1s f R                        DENTIST
 COPY TURNED IN TO CASE MANAGER
 FOLLOW UP REQUESTED OR REQUIRED



DATE OF LAST EYE EXAM     A-                         OPTOMOTRIST
COPYTURNED INTO CASE MANAGER
FOLLOW UP REQUESTED OR REQUIRED

DATE OF LAST TB TEST       0
f-MISC.
                               /




      EXAM                                          DOCTOR
COPY TURNED IN TO CASE MANAGER
FOLLOW UP REQUESTED OR REQUIRED




DATE OF LAST PSYCHOLOGICAL
DIAGNOSIS Axis I and II



DATE OF LAST PSYCHIATRIC REVIEW                            PSYCHIATRIST
MEDICATIONS List name of med mg. and         fo   what    purpose.




ANY CHANGE    IN   MEDICATIONS      THIS   MONTH     Ja
WAS THE CPS CASEWORKER NOTIFIED PRIOR TO CHANGE
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                                                     MONTHLY LOGS       PAGE   TWO
 BEHAVIORAL DOMAIN
 BEHAVIORAL GOALS
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           i    t      et   vL5




 BRIEFLY DESCRIBE PROGRESSION     OR REGRESSION IN BEHAVIORAL GOAL AREA
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                                           Inn       rO   l   VAS
                                                 p
                                                                    L




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EDUCATIONAL DOMAIN
EDUCATIONALGOALS




BRIEFLY DESCRIBE PROGRESSION      OR REGRESSION IN EDUCATIONAL GOAL
AREA
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                                                                          MONTHLY LOGS             -



                                                                                                           PAGE THREE
      EMOTIONAL DOMAIN
      EMOTIONAL NEEDS AND GOALS




  Number of Therapy          Sessions    this   month
  BRIEFLY DESCRIBE PROGRESSION                          OR REGRESSION IN EMOTIONAL GOAL AREA




 SOCIAL/        RECREATIONAL DOMAIN
 Describe   the recreational        pursuits in which the child         currently   participates

 1.                                                              3.


 2.                                                              4.

BRIEFLY DESCRIBE                PROGRESSION OR REGRESSION                           IN   SOCIAL/RECREATIONAL
GOAL AREA




FAMILY DOMAIN
VISIT DATES BY RELATIVES
Include   dates names of visitors duration of           visits        supervised    or unsupervised    outcome.
APPROX.     NUMBER OF FAMILY PHONE CONTACTS

Include   who   initiated   calls   and outcome    if significant.

COMMENT ON SIGNIFICANT FAMILY ISSUES


CONTACT RESTRICTION                   WITH
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                                                                                   MONTHLY LOGS                                  PAGE FOUR
  JNCIDENTS
        For serious    incidents      such as runaway              physical restraint hospitalization                   suicidal     ideation

  gestures       or_attempts         sexual   perpetration          law enforcement involvement                   or allegations of abuse

  or neglect      contact    the Burke        Foundation immediately.                  Serious     incidents    described     above may

  require a separate         incident form.           Burke Foundation             personnel       will advise.

  Case Manager                                                      Phone
  Charles     Campise Work    512              858-4258         /cell   461-2935       /   home     847-5083      /Rose      cell 461- 4803

 Karyn Rogers          Work 512 858-4258                  / cell   658-0169        /   home      264-7290



 NOTABLE BEHAVIORS                             These are problematic               behaviors       that   are typically     NOT      considered

 serious incidents
 A.     Substance     Abuse                       B.     Property       Destruction                       C.   Self inflicted      injury

 D      Enuresis                                  E.    Terroristic       threat                          F.   Public     incident

 G.     Encopresis/Feces            Smearing      H.    Provoking        peers                            I.   Unprovoked          aggression

 J.     Verbal   threats                          K.     Sexually       inappropriate                     L.   Animal abuse

 M.     School Problems                          N.      School bus problems                              O.   Theft    and/or     Dishonesty
 P.     Breaking House Rules                     0.      Hallucinating                                    R.   Missed medication            dose

 S.     Bizarre behavior                         T.      One on One         Supervision                   U.   Assaulted      by Peer


 A particular       Notable behavior           that    occurs    on more than one day can be described                       once and just
 note    the dates on which the behavior                 occurred.        A behavior        that    occurs     each    day may be      listed   as

 daft   y

Notable behavior           letter                                            Dates

Description




Notable behavior           letter                                           Dates


Description
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  DATE      02/24/2005                                                      LENGTH OF        VISIT    1   HOUR
  CHILD        Mariah Alvarez                                      FAMILYRamon             Alifonsa   Castillo

  AGENCY REPRESENTATIVE                            Dora Cackley




  Content      I   observed Mariah      as well        dressed   and healthy. As per foster mother Mariah

  was   sick with the flu last week.             Dr.   Sameer stated she has an upper lung          infection    and


  anti-inflammatory
  prescribed       an antibiotic

                      medication
                                     Cefzil   125      mil.   1/2teaspoon   2 times a day and an
                                      Prednisolone 4 cc dropper 3 times a day for 5 days for

  inflammation and breathing            machine          every   four hours.   As   per foster   mother   she   is   much
  better and she      is thriving.    She   is   gaining      weight




                                                                                            Date
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                e-D
         R PARENT MONTHLY PAPERWORK

  MONI        4r           YEAR
  CHIL                              e v
  DOB    BLOC               CASE
                                        POS DATE 4319/a
  FOST R HOME   awe              MANAGER
  CPS C SEWORKER VISIT/CONTACT DATES 9
  MEDI AL DOMAIN
  DATE F LAST PHYSICAL         /   0   --
                                            -7 -   0 -4              PHYSICIAN ..o5e   1
                                                                                           o is   4
  COPY              TO CASE MANAGER
                   IN
  FOLL   W   UP REQUESTED OR REQUIRED                                 Je-aC




 DATE kJF LAST DENTAL          ft            I                   DENTIST
 COPY        D IN TO CASE MANAGER
 FOLL W UP REQUESTED OR REQUIRED




 DATE JOF LAST EYE EXAM      Pc                                  OPTOMOTRIST
 COPY URNED IN TO CASE MANAGER
 FOLL W UP REQUESTED OR REQUIRED

 DATE OF LAST TB TEST

 MISC    EXAM                                                  DOCTOR
 COPYTURNED      IN TO CASE MANAGER
 FOLL    W   UP REQUESTED OR REQUIRED




 DATE OF LAST PSYCHOLOGICAL                        3
 DIAGNOSIS     Axis I and II




DATE OF LAST PSYCHIATRIC REVIEW__                                k    PSYCHIATRIST
MED ATIONS List name of med mg. and                       for what   purpose.




ANY CHANGE      IN   MEDICATIONS            THIS    MONTH

WAS THE CPS CASEWORKER             NOTIFIED PRIOR TO                   CHANGE
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                                                               MONTHLY LOGS              PAGE TWO
  BEHAVIORAL DOMAIN
  BEHAVIORAL         GOALS
  Stb      / i -z   e 5 h A-K er n
        nce



  BRIEFLY DESCRIBE PROGRESSION                OR REGRESSION            IN   BEHAVIORAL   GOAL AREA




 EDUCATIONAL DOMAIN
 EDUCATIONAL GOALS
    OA-   AA.   -ID             1

                                            uo e        rea                 av




 BRIEFLY DESCRIBE PROGRESSION OR REGRESSION                        IN   EDUCATIONAL GOAL
AREA
    5           kb-V4flh   i.   vac   t1I   -v\    t.    a-1     ffo        In
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                                                                                     MONTHLY LOGS                  PAGE THREE
q
      EMOTIONAL DOMAIN
      EMOTIONAL NEEDS AND GOALS
                   v       15



                   L   V



      Number of Therapy            Sessions     this   month
      BRIEFLY DESCRIBE PROGRESSION                                OR REGRESSION                EMOTIONAL GOAL AREA
                                                                                              IN

          49Jz         rii ti14            S     1     i   7 ro   /P         41t            b-./        Cto bt /et




     SOCIAIJ           RECREATIONAL DOMAIN                                    3 1A
     Describe     the recreational         pursuits in which the child           currently   participates

     1.                                                                  3.

     2.                                                                  4.

    BRIEFLY DESCRIBE PROGRESSION OR REGRESSION IN SOCIAL/RECREATIONAL
    GOAL AREA




                                                                    L
                                                              Vw
    FAMILY DOMAMe          I1.n IA P
                                                                             O

    VISIT DATES BY RELATIVES t V                                                 J   -e-/           y          o
    Include      dates     names of visitors duration          of   visits    supervised     or unsupervised   outcome.

    APPROX.        NUMBER OF FAMILY PHONE CONTACTS

    Include      who   initiated   calls   and outcome       if significant.

    COMMENT ON SIGNIFICANT FAMILY ISSUES


    CONTACT RESTRICTION                        WITH
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                                                                            MONTHLY LOGS                                    PAGE FOUR
 INCIDENTS
      For serious incidents such as runaway                   physical restraint hospitalization                  suicidal      ideation

               or attempts         sexual perpetration         law enforcement involvement                   or allegations        of abuse
 gestures

                contact     the Burke Foundation            immediately.         Serious    incidents described           above may
 or neglect

                           incident form.         Burke Foundation                          will   advise.
 require a separate                                                          personnel

 Case Manager                                                 Phone
 Charles    Campise Work    512 858-4258                 /cell    461-2935       /   home    847-5083        /   Rose    cell 461- 4803

 Karyn Rogers        Work 512 858-4258 /               cell   658-0169       /   home      264-7290



 NOTABLE BEHAVIORS                         These are problematic             behaviors      that   are typically        NOT     considered

 serious incidents

 A.   Substance      Abuse                    B.    Property      Destruction                      C.    Self inflicted      injury

 D.   Enuresis                                E.    Terroristic     threat                          F.   Public     incident

 G.   Encopresis/Feces          Smearing     H.     Provoking       peers                           I.   Unprovoked           aggression

 J.   Verbal    threats                       K.    Sexually      inappropriate                    L.    Animal         abuse

M.    School Problems                        N.      School bus problems                           O.    Theft     and/or    Dishonesty

P.    Breaking House Rules                   O.      Hallucinating                                  R.   Missed medication            dose

 S.   Bizarre     behavior                   T.     One on One        Supervision                   U.   Assaulted        by Peer



 A particular      Notable behavior        that    occurs    on more than one day can be described                       once and just

note the dates on which the behavior                occurred.       A behavior        that occurs        each day may be           listed   as

daily.


Notable behavior          letter                                       Dates


Description




Notable behavior       letter                                          Date



Description
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      DATE        03/29/2005                                                     LENGTH OF       VISIT     1   HOUR
       CHILD       Mariah     Alvarez                                   FAMILYRamon             Alifonsa   Castillo

      AGENCY REPRESENTATIVE                          Dora Cackley




      Content      I   observed Mariah         as well   dressed   and healthy. Mariah was on a blanket              on   the

      floor.    She was trying to push herself up with her arms. As per foster mother Mariah                              is


      gaining     strength.    She sleeps and eats well and             is   thriving and gaining   weight.    As   per

      foster    mother ECI       will    begin occupational        therapy     with   Mariah.   As per   foster   mother
      Mariah     takes    Accuhist       PDX    30 milligrams      /2   dropper three times each day for          allergies

      and Tylenol        for teething.




11




                                                                                                    3 9--d
                                                                                                 Date
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  DATE       03/21/2005                                                LENGTH OF VISIT                  1   HOUR
  CHILD       Mariah Alvarez                                    FAM LYRamon                  Alifonsa   Castillo

  AGENCY REPRESENTATIVE                             Dora Cackley




  Content     I   observed Mariah           as well dressed    and healthy. As per         foster   mother    Mariah

  sleeps and      eats   well.   She   is   thriving and gaining   weight.     As per      foster   mother    ECI   will

  come     next   week     to evaluate      Mariahs always      favoring     her   left   side of her body.    As   per
  foster   mother        Mariah takes       Accuhist     PDX   30 milligrams       /z   dropper three times each day
  for allergies    and Tylenol for           teething.




                                                                                              Date
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 FOSTER PARENT MONTHLY PAPERWORK

 MONTH    P       I   rl   J        YEAR LO OS
 CHILD   VA-rICA-h                Wc-rel.

 DOB /D o o   LOC
              -
                    S      POS DATES    t.C-



 FOSTER HOME              Ag 1ASE MANAGERMo-ri -  vtS                                            S

 Ja-MEDICAL
                                            i                                       1-t pt


 CPS CASEWORKER VISIT/CONTACT DATES9
          DOMAIN                                                                                          _
 DATE OF LAST PHYSICAL / p -7- b       PHYSICIAN 05e                                 y   t   S   AS   a   YIP   o

 COPY TURNED IN TO CASE MANAGER
 FOLLOW UP REQUESTED OR REQUIREDV    t.L %0ar




 DATE OF LAST DENTAL          1 ft              L                   DENTIST
 COPY TURNED IN TO CASE MANAGER
 FOLLOW UP REQUESTED OR REQUIRED



DATE OF LAST EYE EXAM                                           OPTOMOTRIST
COPY TURNED INTO CASE MANAG
FOLLOW UP REQUESTED OR REQUIRED

DATE OF LAST TB TEST

IA-MISC.
      EXAM                                                    DOCTOR
COPYTURNED IN TO CASE MANAGER
FOLLOW UP REQUESTED OR REQUIRED




Lit-DIAGNOSIS
DATE OF LAST PSYCHOLOGICAL
              Axis         I   and II




DATE OF LAST PSYCHIATRIC REVIEW                                      PSYCHIATRIST
MEDICATIONS List name of med mg. and                     for what   purpose.




ANY CHANGE        IN       MEDICATIONS          THIS   MONTH          3   /   k
WAS THE CPS CASEWORKER NOT                             D PRIOR TO CHANGE
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                                           MONTHLY LOGS          PAGE TWO
 BEHAVIORAL DOMAIN
 BEHAVIORAL GOALS




 BRIEFLY DESCRIBE PROGRESSION     OR REGRESSION IN BEHAVIORAL GOAL AREA




EDUCATIONAL DOMAIN
EDUCATIONAL GOALS




BRIEFLY DESCRIBE PROGRESSION     OR       SSION IN EDUCATIONAL    GOAL
AREA
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                                                                              MONTHLY LOGS                             PAGE   THEE




                                                                                                               -
          EMOTIONAL DOMAIN
          EMOT NAL NEEDS AND GOALS




      Number of Therapy             Sessions    this   month
      BRIEFLY DESCRIBE PROGRESSION OR REGRESSION IN EMOTIONAL
                                                                      M
                                                                                                                      GOAL AREA




F


     SOCIAL/          RECREATIONAL DOMAIN
     De       ribe   the recreational      pursuits in which the child      currently   participates

                                                   S                 3.

     2.                                                              4.

     BRIEFLY DESCRIBE PROGRESSION                              OR REGRESSION            IN   SOCIAL/RECREATIONAL
     GOAL AREA




    FAMILY DOMAIN
    VISIT DATES BY RELATIVES                              ek                tb               4L        -
                                                                                                           n                in   5
    Include

    APPROX.
                dates

                     NUMBER OF             FY
                         names of visitors duration of vis ts

                                                       PHONE CONTACTS
                                                                          upervised     or unsupervised            outcom




    Include     who    initiated   calls   and outcome    if significant.
    ..OM ENT ON SIGNIFICANT FAMILY ISSUES                                     M61

    CONTACTRESTRICTION                       WITH
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                                                                                           MONTHLY LOGS                                 PAGE FOUR
       INCIDENTS
            For serious         incidents    such as runaway                 physical restraint       hospitalization          suicidal     ideation

      gestures        or.attempts           sexual perpetration              law enforcement          involvement        or allegations       of abuse

      or neglect       contact      the Burke Foundation                 immediately.          Serious    incidents    described     above     may

      FoundatiopersCase
      require a                                 form.              rke



      PhoneCharles
        sepaViideB
              Manager
        Camp512                                     85            258    /cell   461-2935      /home       847-50        /Rose      cell 461- 4803

      Karyn Rogers           Work         512   858-4258            / cell   658-6169      /   home      264-7290



      NOTABLE BEHAVIORS                             These are problematic                  behaviors      that   are typically     NOT      considered

      serious incidents

     A.     Substance      Abuse                         B.       Property       Destruction                     C.   Self inflicted      injury
     D.     Enuresis                                     E.       Terroristic     threat                         F.   Public     incident

     G.     Encopresis/Feces             Smearing        H.       Provoking       peers                          I.   Unprovoked          aggression

     J.     Verbal    threats                            K.       Sexually       inappropriate                   L.   Animal abuse
     M.     School Problems                             N.        School bus problems                            O.   Theft    and/or     Dishonesty
     P.     Breaking House Rules                        4.    -

                                                                  Hallucinating                                  R    Missed medication            dose
     S.     Bizarre    behavior                         T.        One on One         Supervision                 U.   Assaulted      by Peer


      A particular      Notable behavior           that       occurs      on more than one day can be described                     once and just
     note    the dates    on which          the behavior          occurred.        A behavior      that    occurs     each day may be         listed   as

     daily


q   Notable       behavior       letter                                               Dates


    Description




    Notable behavior            letter                                               Dates

    Description
Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 55 of 215




 DATE           04/29/2005                                               LENGTH OF             VISIT          1   HOUR
 CHILD          Mariah Alvarez                                 FAMILYRamon                   Alifonsa         Castillo

 AGENCY REPRESENTATIVE                          Dora Cackley




 Content         I   observed Mariah   as well   dressed      and healthy. As per foster mother                      Mariah

 now      has   two    teeth and is eating   pureed table food.         She   is   gaining   weight      as she eats

 everything.           As per foster mother Mariah       is   gaining    strength but        she   in   not       able to stand

 on her own.           She sleeps and eats well and     is thriving.      As   per foster     mother Mariah has
 bronchitis          and has to be monitored.    As   per foster mother            Dr.   Sameer checked              her   and

 stated    she       was   fine.




Dora Cackley                                                                                   Date
Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 56 of 215




 DATE        04/18/2005                                                  LENGTH OF        VISIT     1   HOUR
 CHILD       Mariah Alvarez                                     FANIILYRamon             Alifonsa   Castillo

 AGENCYREPRESENTATIVE                             Dora Cackley




 Content     I   observed Mariah            as well dressed    and healthy. Mariah   was    in   a jumping         swing
 and jumping        up and        down   and playing      with the toys on the swing.     As   per foster         mother
Mariah     is    gaining    strength     but   she in not able to stand    on her own.    She sleeps and eats

well   and   is   thriving    and gaining       weight.    Foster   mother took her out and place           her   on her
stomach      and she       fell   asleep.




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Dora Cackley                                                                              Date
Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 57 of 215




DATE        04/29/2005                                                      LENGTH OF           VISIT      1    HOUR
CHILD          Mariah Alvarez                                      FAMILYRamon                 Alifonsa    Castillo

AGENCY REPRESENTATIVE                            Dora Cackley




Content        I   observed       Mariah   as well   dressed      and healthy. As per        foster   mother Mariah
now   has    two     teeth and is eating       pureed table food. She         is   gaining    weight     as she    eats

everything.          As   per foster   mother Mariah         is   gaining   strength but      she in not       able to stand

on her own.          She sleeps and eats well and                           As                             Mariah       has
                                                                                 per foster mother
                                                            is thriving.

bronchitis         and has to be monitored.          As   per foster   mother      Dr. Sameer         checked     her   and

stated   she       was    fine.




                                                                                                Date
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 DATE      04/18/2005                                                       LENGTH OF VISIT              1   HOUR
 CHILD      Mariah        Alvarez                                  FAMILYRamon              Alifonsa     Castillo

 AGENCY REPRESENTATIVE                             Dora Cackley




 Content    I   observed      Mariah as well dressed and               healthy.   Mariah   was   in   a jumping   swing
 and jumping       up and down           and playing      with the toys on the swing.        As   per foster mother
Mariah     is   gaining    strength but      she   in   not   able to stand on her own.      She sleeps and eats

 well and is thriving and gaining             weight.         Foster   mother took her out and place her on her
stomach     and she       fell asleep.




Dora Cackley                                                                                 Date
Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 59 of 215




 FOSTER PARENT MONTHLY                   PAPERWORK

 MONTHjj                 YEAR
 CHILD     a                   t         G
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 FOSTER ROME                 ASE MANAGER         u                             sa         a   N
 CPS CASEWORKER VISIT/CONTACT DATES


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 MEDICAL DOMAIN
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 DATE OF LAST DENTAL         IP                                   DENTIST
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 FOLLOW UP REQUESTED OR REQUIRED



 DATE OF LAST EYE EXAM    Ll lp-                                 OPTOMOTRIST
 COPY TURNED IN TO CASE MANAGER
 FOLLOW UP REQUESTED OR REQUIRED

DATE OF LAST TB TEST

MISC.   EXAM                                  j                 DOCTOR
COPY TURNED IN TO CASE MANAGER
FOLLOW UP REQUESTED OR REQUIRED




DATE OF LAST PSYCHOLOGICAL_
DIAGNOSIS Axis I and II



DATE OF LAST PSYCHIATRIC REVIEW                                     PSYCHIATRIST
MEDICATIONS      List   name       of   med mg.   and   for   what purpose.




ANY CHANGE IN MEDICATIONS                  THIS   MONTH                 6
WAS THE CPS CASEWORKER NOTIFIED PRIOR TO CHANGE
Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 60 of 215




                                                MONTHLY LOGS              PAGE   TWO
 BEHAVIORAL DOMAIN
 BEHAVIORAL GOALS




 BRIEFLY DESCRIBE PROGRESSION OR REGRESSION IN BEHAVIORAL                 GOAL AREA

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EDUCATIONAL DOMAIN
EDUCATIONAL GOALS




BRIEFLY DESCRIBE PROG                  OR REGRESSION                      GOAL
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                                SIGN                   IN   EDUCATIONAL
AREA
     Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 61 of 215




                                                                                         MONTHLY LOGS                      PAGE THREE
           EMOTIONAL DOMAIN
           EMOTIONAL NEEDS AND GOALS

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       Number of Therapy          Sessions            this   month          O 0. -
       BRIEFLY DESCRIBE PROGRESSION                                    OR REGRESSION              IN   EMOTIONAL GOAL AREA




      SOCIAL/        RECREATIONAL DOMAIN
      Describe   the recreational        pursuits in which the child                 currently   participates
                                             I               S                3.

      2.                                                                      4.

     BRIEFLY DESCRIBE PROGRESSION                                      OR REGRESSION IN SOCIAL/RECREATIONAL
      GOAL AREA                      A   I       .-                c




     FAMILY DOMAIN
         DATES BY RELATIVES
     VISIT
     Include   dates names of visitors duration of visits                          u ervise      or unsupervised   outco
     APPROX.     NUMBER OF FAMILY PHONE CONTAT S

     Include   who   initiated   calls   and outcome               if significant.

     COMMENT ON SIGNIFICANT FAMILY ISSUES                                                  f      a


     CONTACT RESTRICTION                         WITH
rl
 Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 62 of 215




                                                                                           MONTHLY LOGS                                      PAGE FOUR
   INCIDENTS
        For serious         incidents      such   as   runaway            physical restraint        hospitalization                 suicidal      ideation

   gestures       or.attempts             sexual perpetration             law enforcement                                        or allegations       of abuse
                                                                                                    involvement
   or neglect       contact     the Burke Foundation                 immediately.            Serious   incidents           described       above       may
  require a separate           incident       form.         Burke Foundation personnel                 will   advise.
                               G
  Case Manager                                                            Phone              sa         c     6       I



  Charles       Campise Work 5158-4258 /cell 461-2935 / home 847-5083                                                        /    Rose   cell 461- 4803

  Karyn        Rogers Work 512 858-4258 / cell 658-0169 / home 264-7290


  NOTABLE BEHAVIORS                               These are problematic                    behaviors   that   are typically              NOT      considered

  serious incidents

  A.    Substance      Abuse                           B.     Property        Destruction                     C.          Self inflicted       injury
  D    _
         Enuresis                                      E.    Terroristic          threat                      F.          Public     incident

  G.    Encopresis/Feces              Smearing         H.    Provoking peers                                  1.          Unprovoked           aggression
  J.    Verbal    threats                              K.     Sexually        inappropriate                   L.          Animal abuse
 M.     School Problems                                N.     School bus problems                             0.          Theft     and/or     Dishonesty
 P      Breaking House Rules                           O.     Hallucinating                                   R.          Missed medication              dose
 S.     Bizarre     behavior                       T.         One on One            Supervision               U.          Assaulted       by Peer


  A particular       Notable behavior             that      occurs   on more than one day can be described                               once and just
 note    the dates    on which the behavior                  occurred.            A   behavior    that occurs         each day may be                 listed   as

 daily


 Notable behavior                                                                     Dates
                             letter
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Notable behavior            letter                                                  Dates

Description
                 Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 63 of 215




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    Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 65 of 215




     DATE        05/23/2005                                                     LENGTH OF VISIT            1   HOUR
     CHILD        Mariah       Alvarez                             FAMILYRamon                Alifonsa     Castillo

     AGENCY REPRESENTATIVE                         Dora Cackley
w




     Content      I   observed   Mariah    as well     dressed    and healthy. As per foster mother Mariahs

     legs are getting stronger. She         sits   in a bouncer     and    is   able to extend   her legs and stand.

     She   is   a happy    baby and smiles      all   the time.   As per   foster   mother     she   eats pureed table

     food and     is   gaining   weight.   As   per foster mother      Mariah       is   throwing tantrums between
     her happy        moods.




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                                                                                                 oS-Date
Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 66 of 215




 DATE       05/09/2005                                                          LENGTH OF VISIT              1    HOUR
 CHILD      Mariah         Alvarez                                    FAMILYRamon              Alifonsa      Castillo

 AGENCY REPRESENTATIVE                            Dora Cackley




 Content     I   observed     Mariah      as well   dressed          and healthy. She appears       robust       and   alert   and

 is   able to smile at everyone          who     talks   to   her.    As    per foster   mother Mariah       is   eating

 pureed table food. She           is   gaining   weight       as she       eats everything.   As   per foster      mother
 ECI    evaluated     her   on   May 5     2005 and will receive               occupational   therapy     once a week.
 Mariah    is    gaining    strength and is showing             signs of crawling.




                                                                                                Date
 Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 67 of 215




 FOSTER PARENT              MONTHLY PAPERWORK

 MONTH T                        EAR _o        a   5
 CHILD    A        h

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                       L C          .S   L   POS DATES
 FOSTER HOME                CASE MANA ER
 CPS CASEWORKER VISIT/C NTACT DATES                                               /I/   A
 MEDICAL DOMAIN
 DATE OF LAST PHYSICAL l 0-  05        PHYSICIAN . ore                            I
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 DATE OF LAST EYE EXAM                                         OPTOMOTRIST
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 DATE OF LAST TB TEST

AMC. EXAM                                                      DOCTOR
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FOLLOW UP REQUESTED OR REQUIRED




DATE OF LAST PSYCHOLOGICAL
DIAGNOSIS    Axis      I   and II




DATE OF LAST PSYCHIATRIC REVIEW                           d-       PSYCHIATRIST
MEDICATIONS List name of med mg. and                   for what   purpose.




ANY CHANGE IN MEDICATIONS                    THIS     MONTH

WAS THE CPS CASEWORKER                   NOTIFIED PRIOR TO          CHANGE
Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 68 of 215




                                            MONTHLY LOGS                     PAGE TWO
  BEHAVIORAL DOMAIN
  BEHAVIORAL GOALS
         /PUfi




  BRIEFLY DESCRIBE PROGRESSION     OR REGRESSION IN BEHAVIORAL GOAL AREA
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 EDUCATIONAL DOMAIN
 EDUCATIONAL GOALS




BRIEFLY DESCRIBE PROGRESSION OR REGRESSION       IN       EDUCATIONAL        GOAL
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Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 69 of 215




                                                                                       MONTHLY LOGS                           PAGE THREE
      EMOTIONALDOMAIN
      EMOTIONAL NEEDS AND GOALS




  Number of Therapy              Sessions     this      month
  BRIEFLY DESCRIBE PROGRESSION                                   OR REGRESSION                         IN   EMOTIONAL GOAL AREA
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 SOCIAL/        RECREATIONAL DOMAIN
 Describe   the recreational            pursuits     in   which the      child       currently participates

 1.               n   \     1                                                 3.


 2.                                                                           4.

 BRIEFLY DESCRIBE PROGRESSION                                    OR REGRESSION IN SOCIAL/RECREATIONAL
 GOAL AREA




FAMTLY       DOMAIN
                                                     k     f4   da-t                Sib      I   VL-

VISIT     DATES BY RELATIVES-
Include   dates names of           visitors        duration     of   visits        supenvisedor        unsupervised       outcome.
APPROX.     NUMBER OF FAMILY PHONE CONTACTS

          who
                                                                                             /Q
Include         initiated       calls   and outcome         if   significant.

COMMENT ON SIGNIFICANT FAMILY ISSUES
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CONTACT RESTRICTION                        WITH                                IV //
                                                            Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 70 of 215




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                                                TUESDAY




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                                      I                                                                                                                                                                 C-OUTCOME




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                               A.                                                                                                                                                                                        OR                                                                          OR
                                      PAREN

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                                                                                                                                                                                                                                                                                                                                                                                                          ACTIVITY/DATE
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                                                                                                                                                                                   DURATION                                                                                                OUTCOME                                                                                       LANNED
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                                                                                               DURATION                  OUTCOME                                                                                                                                                                                                            GOALS
                                                                                                                                                                           GOALS                                        PLANNED                            GOALS                                     PLANNED                                                                                                                                             30AL
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                                                                                       GOALS
                                      FOSTER




                               CHIC
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 DATE           06/14/2005                                                       LENGTH OF VISIT                  1   HOUR
 CHILD          Mariah         Alvarez                                 FANIILYRamon              Alifonsa         Castillo

 AGENCY REPRESENTATIVE                                  Dora Cackley




 Content         I   observed Mariah as well dressed and healthy. Mariah                        was     sitting       in her walker

 observing           her surroundings.           As   per foster    mother Mariahs legs         are getting           stronger.   She

 sits in   a bouncer and             is   able to extend     her   legs and stand. As per       foster    mother Mariah             is


 beginning           to crawl. She         receives    physical and occupational         therapy      once a month.           She   is

 a happy baby            and smiles        all   the time.   As    per foster   mother   she   eats    pureed table food and
 is   gaining        weight.    As   per foster       mother Mariah       weights   sixteen pounds.




                                                                                                      Date
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 DATE        06/27/2005                                                           LENGTH OF VISIT                1   HOUR
 CHILD       Mariah Alvarez                                           FAMILYRamon                 Alifonsa       Castillo

 AGENCY REPRESENTATIVE                                  Dora Cackley




 Content      I   observed         Mariah         as well   dressed   and   healthy.   Mariah    was   sitting
                                                                                                                     in   her walker

 observing        her surroundings.               As   per foster mother      Mariah    crawls   on her stomach                around

 the kitchen.          As    per   foster    mother Mariahs           legs are getting    stronger
                                                                                                   and       sits in           a

 bouncer and           is   able to extend         her legs and stand.       As   per foster   mother Mariah              is


 beginning        to   crawl. She receives              physical   and occupational      therapy    once a month.                  She   is

 a happy     baby and smiles                all   the time.




 Dora Cackley                                          --                                          Date
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                                                                                The Burke Foundation

                                                                                  Child.Placing              Agency
                                                                                90-Day           Treatment             Plan


 Child        Mariah         Alvarez                                                                                                                      Date         06/20/2005

 D.O.B          09/06/2004                                                                                                                    Admission Date                     09/21/2004

 Period 07/10/2005                      thru    10/08/2005                                                                                            Date sent
 LOC        Basic

 Conservator                DFPS                                                                                      Foster       Parents           Ramon               Alifonsa Castillo

                       Terri       Chavez                                                                                                            RT     8    Box     622-8

                       382 W. Main                                                                                                                   Brownsville               TX     78520

                       Raymondville                  TX 78582

 Discharge            There         is   no    specific      date of discharge.



 Prognosis           Good


 Estimated          Length of Stay                    6 months or until Permanency                              is   reached.

 Re-Evaluation              Plan

  Semi-monthly              home         visits      by this Agency

                                                 per week
  Individual         Therapy            once

  Monthly evaluation of behavior                             report          submitted       by     foster      parents
  Planned          Quarterly visits from                   this    Agency


 Input from            Foster parents                 Therapist           and Agency             representatives




Progress           Assessment                  Mariah        is        growing        thriving        and       reaching           developmental                milestones            in   the   foster

home.


Permanent            Domain               Family       Reunification                 Concurrent            Alternative             Family Conservator                    ship



                                                                                             Familial

Assessment/Summary                              On August 24 2004 TDFPS                                   received          a report         alleging        the       physical neglect               and

neglectful         supervision            of 11      children           by both of their             parents.          The    report        provided            the    familys        address         but

did not provide             any. names to any                 of       the    family members.                The        report      indicated that               the
                                                                                                                                                                        ages of       the    children


ranged       from      1-    16    years of age.                  It   was     alleged       that    the     unknown              father     and mother                were     regularly        heard

yelling
             and screaming                at    their children               and   calling        them derogatory                  names.           The     repost       also    stated      that     the

younger       children        are often          outside      unsupervised                 for   hours at a time.              The       report      indicated          that    the   children are

not   fed    and        home was filthy. According to the report the mother and father sell the food stamps in
                     that   the

order to pay the bills.   On September 8 2004 TDFPS made a home visit to 208 West Washington Harlingen
TX. At the residence TDFPS made contact with Rene D.O.B. 02/25/97          Richard D.O.B. 0 1/21/98     Robert

D.O.B.          10/04/99                Gabriel        D.O.B.             11/08/2000                 Adriana           D.O.B.            06/15/02               Sara         Alvarez         D.O.B.
06/12/03.           The     children           were observed                 and had no          visible     injuries.         The       children were appropriately dressed

and they appeared                  to    be clean.          The        children      denied         any    physical          discipline         and drug              use.     On September8
2004 TDFPS made contact D.O.B. 06/18/69                                                mother.            Ms        Lucio    denied         the     allegations          on     the   report.       The
home was observed.to be clean at the time of                                         the    visit.    Ms..Lucio              indicated that            the      father.of        her 7 youngest

children      is   Roberto         Alvarez           D.O.B.            07/23/70.                                 Lucio       is    the     father    to   the     5 oldest       children.          Ms.
                                                                                            Guadalupe
Lucio      indicated        that    that       Mr.   Lucio        resides       in   Houston          Texas          and    that    she had         made        arrangements               for   him   to

take responsibility               for his children.                On     September          09 2004            1    made contact with Selina Lucio                             06/29/92              and

Alexandria          Lucio     06/21/91                at   Memorial Middle School                          in   Harlingen.               Both       girls   denied the allegations                     on
the   report.        On     September                17 2004             a second          report     was       received           alleging         the neglectful               supervision           of
Nf.r iah    Alvarez         D.O.B.             09/06/2004.                The      report        indicated           that   the    newborn           baby was            in     a chaotic        he
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 environment              that       was overly crowded due                                 to    the       number of people                         in the    home.            The                      alleged         that       the
                                                                                                                                                                                           report

 mother        had a long history                     of drug use               including                  2 prior pregnancies                       where        both         MS.      Lucio          and her newborn

 infants       tested          positive        for     cocaine            at    the     time of the                         birth.        The      report      indicated              further          that       the    mother
 Melissa        Lucio          had     not received                 pre-natal           care           with any of her children.                               The                      alleged          that      the    mother
                                                                                                                                                                          report

 denied        using cocaine                since       June        of 2003.                 According                     to     the    report        the    mother           indicated            that      she       was very
 overwhelmed                 by being the sole                  caretaker              of        all    of her children but then                             stated       that       the    father          of the children

 was     supportive.              On       September            21 2004                 I    made a second                         home       visit at        the    residence to address the second

 report.       At       this   time        the   home was                found        to     be unsafe for the children.                                     Ants were           seen crawling                    on    the    floor

 and     mattress            where      the      newborn             baby         Mariah                   was         sleeping.             There         was a         fan    in the          window            that    had no

 cover     leaving             the    blades exposed.                     Inside        the       refrigerator                    there      was only a           rotten        head        of lettuce             a carton of

eggs and           plastic       container            of mayonnaise.                    The           refrigerator                had an odor of              spoiled           food.        The       pantry contained
 one small can                 of corn           a box of            salt       sauce a small box of                                     infant      mixed cereal                    and     an empty condiment

container.              There        was a strong odor of                         urine           throughout                     the    house.         On     September               21 2004 TDFPS                            made
contact        with Robert                 Gabriel         Adriana                Sara           and        Mariah Alvarez                      at    their    residence.                  Robert           4     yr old was
observed           with a dime             size       bruise        on    his     stomach                  an old scratch on his stomach                                   an old          scratch          on    his    stomach

that     was about             3 inches          long and           insect        bites          on his arms and legs.                           He was           also     observed              to have          2 staples         on
his    head        reportedly           from      an injury he sustained                               from falling off the bed.                             Gabriel           3yr old was observed                             with

a bite     mark          the    size     of two quarters                    on     his left             shoulder                  multiple         scratches         on        his   face and               multiple          insect

bites    on    his       arms        and legs.         Adriana             2    yr old was observed                                     with one-inch             linear        scab       on    the        top of her head
and     multiple          insect       bites     on her back arms and                                  legs.          Her body was very dirty with                                   dried       feces       on her       genital

areas.     Sara          1     yr old was             observed            to    have         a half-inch                   cold        sore on the bottom                  of her lip and multiple                            insect

bites     on her arms legs and body.                                        She        also           had an open                       circular       mark       on      the    right          side        of her       leg    that

appeared           to    be infected           with pus.             Sara was observed                                to   be wearing            neither       underwear                nor a diaper.                Her body
was very           dirty       with dried feces                 on her            genital              area.           Mariah was observed                          to    have        tremors           every        once       in    a

while.         She was           also      observed            to    have         a small light green                              bruise       on her right foot.                      No       other visible                marks
were     seen.          All of the children                appeared               as if          they had not been                         bathed.         Their hair appeared                         to    be matted and

dirty.     Their bodies also                     appeared            to be dirty and                        all       of    the     children         had a        strong        body odor.                  On     September

21 2004            1    made a contact with Rene                               Alvarez                at    Zavala              Elementary            in   Harlingen.                Rene was observed                          with

small insect             bites       on his arms          and        legs.       Rene had a very strong odor which smelled like old wet clothes and
he     appeared          not to have             been     bathed.               While at Zavala Elementary TDFPS also made contact with Richard
Alvarez        at the        above      school.          Richard               was observed                       with small insect                    bites   on        his    arm and           legs.          Richard        also

smelled        like      old wet clothes                and appeared                  to     not have                  bathed.           On     September            21 2004 TDFPS made                                  contact

with     Melissa          Lucio.           A     drug     test       was administered                             at       this time.          Ms. Lucio             tested          positive          for       cocaine            but

continued           to    deny using              drugs.            According                    to    Ms.        Lucio             her husband               Roberto            Alvarez            was         going      to       get

groceries some                 time that         day.     She            stated       that        sometimes                     the family goes to eat at Loaves and Fishes because

she     gets   tired         of cooking.               Ms. Lucio                admitted                   to    having            previous          TDFPS           history          involving              drug use           and

stated    that      she had participated                   in services                through                   the                              Ms. Lucio               indicated           that      she did not have
                                                                                                                       Department.

any family members who could                                    take           care     of her              children.                  She    stated       that     the        father       to    her older children

resided       in   Houston             Texas          and that he would be willing                                         to     take responsibility                for       them.        Ms. Lucio               stated      that

Roberto        Alvarez            father         to   her 7 youngest                    children                  worked            late     and     could        not make            contact            with       TDFPS            at

that   time.       Ms. Lucio was not                    able        to    provide           TDFPS                 with any viable                  placement              for   her children.



Current Family Functioning                                     Mariah has weekly family                                          visits      with her mother.

Current            Child        Functioning                     Mariah             is       doing               well        in     her     current         foster         home          placement.                  She        is    in


placement           with her sister Sara.

Discharge Plan                       The    expected            outcome               of Mariahs                           stay
                                                                                                                                   in    foster      care include                but       is    not        limited       to she

maintaining             good         physical         health         successful                  participation                    in    therapy        successful              participation                 in   academics
and smooth              transition         between        foster           care and permanency.

Visitation notes                     Mariah       is   having            weekly         visits             with her biological                     family.




Discharge planning                         3410.1

Family     Reunification                   Concurrent                Alternative                  Family              Conservator               ship




                                                                                                                                                                                                                                     2
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        Reason for placement                           TDFPS      took Conservatorship                 of Mariah              and her 6 siblings           on 09/21/2004           and placed
        them under Emergency                      Protection.

        Estimated Length of Stay 3410.4.c 3420.5.c YFr 4501.04
        6 month to year or until permanency is achieved.
                            1




        Prognosis good
        Expected           Outcomes             of Placement             3410.4.c      3420.5.c

        While       in     The    Burke         Foundation        care Mariahs                identified         needs        will    be addressed          in   a structured          nurturing
        and    safe      environment.                Services          required to        meet      these        needs               be
                                                                                                                             will          provided        by The        Burke Foundation
        Treatment           Team.         Treatment        Team members                 will assist     Mariah           in                          her permanency
                                                                                                                              preparing        for                               goal and      it   is

                         that     she will meet                    of his treatment goals
        expected                                         many                                            established            for    her and contained            in this     document.



                                          Medical/Healthcare                   Physical/Medical/Dental-3410.4.a                                   1
        Assessment/Summary                         As per foster mother Mariah                              is   a healthy                           baby and                     date on her
                                                                                                                                     16-pound                       is   up to
        medical appointments.                     As per foster mother Mariah                            receives                                                   and
                                                                                                                             physical        occupational                     developmental
        therapy     once a month from                    ECI.

        Need        Mariah         will                and attend        her scheduled             medical                                   She
                                                                                             1
                                           keep                                                                       appointment.                  will   continue       to    lead    a health
                      to   promote         her good health.
        lifestyle                                                        Progress                   Slight       Improvement
        Goal To            keep Mariah            in   good physical and medical                    health.

       Plan         Foster         mother         will    attend        all    scheduled           appointments               with     Mariah.         Foster       mother        will    notify
       Treatment           team     if any      additional        medical       needs        are   found.


       Dr. Castaneda                                                                                                                        Dr. Eric Valle
       1092    Los Ebanos Blvd.                                                                                                             925 W.     Jefferson

       Brownsville              Texas. 78520
                                                                                                                                            Brownsville          Texas         78520


       Dr. A. Zamir

       3025 Boca Chica                  Suite    C
       Brownsville              Texas



       Medications
       Accuhist       Pdx 30 milligrams                  V2   dropper         3 x   @ day       am noon           pm


                                                                                         Psychological
      Assessment/Summary                          As    per foster mother ECI says she                           is   doing     fine      and thriving.
      DSM   Diagnosis
      Axis I
      Axis II
      Axis    III

      Axis    IV
      Axis    V
      Treatment          Planning/Recommendations


      Needs
      Improvement
                    Mariah needs                a developmental                and     all   around      physical             assessment.             Progress           2       Significant



      Goal Mariah                will    have an Assessment.

      Plan     Foster parent will continue                        to   follow       through        with Recommendations                      to    make     sure Mariah gets             all   her

      Psychological             needs      met.        Foster     parent       will    notify      CPA      Staff       if   she     needs    any     assistance         in   complying         or

      following      through            with these       tasks.

      Strengths            Mariah follows through                      when     told    of an appointment                 and does not give the                  foster                  a hard
411                                                                                                                                                                           parents
      time about         going.     She      enjoys taking             the    drive to the Doctors                office.




                                                                                                                                                                                                3
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                                             As per
                                                    Social-3410.4.a                1     J-3000.3             YFT4503
 Assessment/Summary                                           foster    mother Mariah                  is   cooing         and        making baby sounds. She                         Iikes   to    be

 held       rocked     and     responds        well to voices.                As   per her foster              mother she                  is   a quiet       baby and only           cries   when
 she

                                                                                                                                     2
       is   hungry.

 Needs         Mariah         will   have     more exposure              to    social
                                                                                         settings.           Progress                           Significant          Improvement
                         will
   Foster      parent            provide       support and redirection                        as necessary.

                                                   in
 Strength She enjoys being                              a social       setting.



                                                                             Emotional-3410.4.a                      1
 Assessment/Summary                          As per
                                        mother Mariah is thriving and reaching developmental milestones in
                                                          foster

 the foster home. She  coos and makes happy baby sounds. As per foster mother Mariah is focused on the other

           when they are playing around her.

                                                                                                                                                 2
 children

 Need        Mariah      will    continue          to    feel safe      in his current           placement.               Progress                       Significant         Improvement
 Goal        Foster     parent will provide                   her with a safe environment.

 Plan          Foster    parent will continue                    to    make Mariah            feel     safe    in    her environment.

 Strength Mariah                recognizes          the       foster    parents        voice and responds                      to    it.




                                                                          Behavioral-3410.4.b                        2
 Assessment/Summary                          As    per foster mother                   Mariah        talks      and makes happy                        sounds. She only cries                 when
 she        uncomfortable             and hungry.

                                                                                                                                                                                                2
       is


 Needs         Mariah         requires       consistency               and nurturance             to    support           positive              change        with    her.     Progress
 Significant         Improvement
 Goal       Mariah      will     be given regular               praise    for her good behavior.

 Plan       Foster     parents
                                      will   give Mariah              more one on one time so she can                                 feel      nurtured        and    safe.

 Strength        Mariah         is    a good baby.



                                                                       Developmental- 3410.4.a                            1
Assessment/Summary                       As        per    foster       mother ECI evaluates                         Mariah            for       growth        and    development.          As      per
foster      mother ECI says she                   is    fine.   As per        foster    mother Mariah                     is   starting          to   crawl      and her       legs   have    more

strength.      She     can     turn     her head          in the       direction        of sound            she smiles when                      someone speaks                to   her and she
babbles and coos              as if trying                       She can                focused        on                                       her and tries to grab at things.

                                                                                                                                                                             2
                                                   to talk.                    stay                           activity         around

Needs          Mariah          will
                                        attempt          to     reach     development                milestone             set       for. her.           Progress                     Significant

Improvement
Goal        Mariah      will    continue          to    meet developmental                milestones                in   a timely manner.

Plan        Foster parent will provide                    her with positive              support        and stimulation.

Strengths Mariah recognizes                             those around           her.




                                                        Educational-3410.4.a                    1      J-3000.3 YFT4501
Assessment/Summary                       As        per    foster       mother          ECI      evaluates            Mariah            every          three     months         to   monitor        her

                      and growth.            Her                mother sings            hugs and                           her daily.

                                                                                                             2
development                                         foster                                                  talks to

Needs        Mariah      will        be provided          with visual         toys.     Progress                         Significant             Improvement
Goal        Mariah      will    reach    for object             and move        her hands         and        lift   her head.

Plan        Foster parent will provide                    Mariah        with infant toys             that     enhance               visual       and motor development.

Strength         She     is   a very smart child                who     potential        is   yet to be known.



                                                          Recreational                  Leisure-LOC1300                             2300

Assessment/Summary                       As    pr foster         mother Mariah spends                         most        of her time with                 the      family on their family



                                                                                                                                                                             2
outings.       She    likes    being in her car seat and enjoys being in the car.
Needs          Improve          interaction             during         and     around          recreational               activities.                 Progress                        Significant


Improvement
Goal To         help Mariah develop                     healthy activities.




                                                                                                                                                                                                    4
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 Plan       Foster      parent will take Mariah                      outside for fresh             air.


 Strength             Mariah    enjoys being outdoors.



                                                               Daily Living              Skills/      PAL-3410.4.a                2
 Not applicable              child        is   too young



                                                                Safety       and Supervision-3410.4.b                             1
 Supervision           is   within    LOC            and age appropriate            limits.        Mariah         needs      to   be supervised          fairly      closely during the
day.       Foster parent             is   always        aware        of where       his    is    at   all times.            Mariah                                   in
                                                                                                                                        can     participate                extracurricular

activities       at    school that             are    supervised        by   teachers        or other school                 staff.      Any     trips    that       last      more than 72
hours      must be approved                     in   advance      by DFPS.           DFPS and               the      Court     must     approve        trips       outside        the     state    in

advance.         Mariah        must        travel      in   a safe     licensed                                                          Mariah
                                                                                    vehicle-wearing                  a seat belt.                      will ride          in   her car seat at
all   times.     Foster parents                will                    Mariah       at all times.
                                                       supervise



                                                             Appropriateness               of Placement -3420.5.d
Placement          in   the    Castillo          home seems             to   be    the    best     placement           for     Mariah      at    this time.          She was             recently

placed as an emergency                         placement.       Mr.     and Mrs. Castillo                 are   a Certified           Licensed    Therapeutic                  Foster home.



                                                            Home       alone/away from home alone Policy
                                                 Progressive Independence                          Learning           Strategy          PILS
                foster      children                    need                      from                                       which they
Specific                                        may             to     learn               opportunities               in                        are     without           the     immediate

supervision           of their foster            parents       or another         caring     adult.        This       is    considered        HOME ALONE OR ALONE
FROM HOME                   time.     Foster parents
                                              may use this wisely and with a degree of planning                                                                    with    input from             the
foster    child.    Such occasions should be prefaced by a review of                                                                                                       be effective
                                                                           emergency procedures.                                                              It
                                                                                                                                                                   may                             to
brief          child on first aid skills to self and to others
                                                               prior to use of this plan.
         the                                                                              This plan                                                           is    not set up to cover
school      school-related                activities         a regular       job    in the                                 or times of going             to
                                                                                                 community                                                     court           sibling     visits
worker      contacts          or brief periods                 after    school      in    the      home         in   which        the   foster                     will    arrive
                                                                                                                                                  parent                                 shortly.
Mariah     is   too     young and does not                   qualify     for the     home        alone/away            from home          policy.




                                                                                                                                                                                                  5
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                                                                               PRN/Restraint          Approval


 I Mehdi           Sharifian          Psychiatrist        prescribe       PRN      the use of Non-violent                    Crisis   Intervention      in    the form of the

 one-minute          physical          and personal restraint              for the       foster   child       Mariah Alvarez D.O.B 09/06/04.                        This    is   due
 to    the   childs      documented               history       of physical aggression or                to    the    fact   that    this            child         at the
                                                                                                                                             young            is   age in
 which       he/she      is   capable        of being a danger            to    self   or others.    She/He           could    lose    control   of self and place self or
 another person               in danger.          If   she/he    is                in   behavior      which places him/her                   in   and emergency         situation
                                                                      engaged
 or creates        danger        to   self   or others          at    any time the use         of the Non-Violent                   Crisis   Intervention      in the    form of
 the    one-minute            restraint      is   ordered.       The need       for this    order will be reviewed                  every three     or four    months.



                                                                        Therapeutic         Treatment          Plan

                                                                                  Signature       Page



                                                                                                           Date



                                                                                                              oo-o
 Foster      Patent                                                                                  Date




                                                                                                     Date




   aria      Livingston                                                                             Date
Level        One   Staff      Agent




Therapist                                                                                           Date




Charles A. Campise                    M.Ed.        LMSW                                             Date
Clinical      Director




Mehdi        Sharifian        M.D.                                                                   Date

Psychiatrist




Richard       Connell Ph.D.                                                                         Date      final   approval

Psychologist




                                                                                                                                                                                  6
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I.   MiMI                           Payahi          prvaoibe Pit N the use ofNcwvioleut                    Crisis   W      entlon.   In the     flm of       the


mate                pl
                          sie tl     and                 raitaiat 1    r   the foster child   Mwiah Alva               D.O.B     09/W   O4-     71a     is   due

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                                                                                                               Crisishs          action    in   1w     Satm at
ar   crow      danpic          to    self or              atazw tinsr. the use of the Non vialent
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      o


                                                                               o Treatment      Pkm


Msdah       Alva              Child




                                                                                         Data
ios$cr Parent




Foster Pareut
                                                                                         Due



MarW                                                                                    Date

Leval     Ow Staff Agent

                                                                                         Date
lltlet



Charles A.     Campus               1ui.Fd..        W
Clinical    Dimotor




           abarfi.a       MD.                                                            Data




                                                                                        Data f
RIcbd       CgnnoII Ph.D.                                                                              approvai

              ist
PsyeboJo




      9 Case manager




pen     Gackley/Tre.tnent                  C




                                                                                                                                                              6
  Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 80 of 215



                                                                  PRN/Restraint          Approval
 J   Mehdi     Sharifian           Psychiatrist    prescribe     PRN    the   use of Non-violent        Crisis Intervention       in the   form   of the

 one-minute physical and personal restraint for the foster child Mariah Alvarez D.OB 09/06/04.        This is due

 to the childs documented  history of physical  aggression  or to the fact that this young child is at the age in

 which     he/she      is   capable    of being a danger        to self or others.      She/He     could lose control       of self and place self or

 another                                    If she/he                                    which              him/her    in   and emergency
             person in danger.                          is   engaged   in    behavior              places                                      situation

 or creates danger            to    self   or others at any time the use of the Non--Violent                    Crisis Intervention   in the    form of

 the   one-minute restraint            is   ordered.    The need     for this   order will be reviewed          every three or four   months.



                                                               Therapeutic      Treatment Plan



 Mariah Alvarez             Child                                                          Date




 Foster    Parent                                                                       Date




 Foster    Parent                                                                       Date




 Maria Livingston                                                                       Date

 Level One Staff Agent




Therapist                                                                               Date




Charles     A. Campise             M.Ed.     LMSW                                       Date

Clinical    Director




Mehdi      Sharifian

Psychiatrist




  chard Connell

Psychologist
                            M.D.




                            Ph.D.
                                                    f        pe                         Date




                                                                                     Date      final approval




DFPS    Case manager                                                                    Date




Dora Cackley/Treatment                 Coordinator                                      Date




                                                                                                                                                      6
       Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 81 of 215




                                                                         PRN/Restraint         Approval
  I Mehdi        Sharifian         Psychiatrist       prescribe        PRN the       use of Non-violent             Crisis   Intervention        in    the form of the

  one-minute       physical         and personal           restraint    for   the foster    child     Mariah Alvarez D.O.B                 09/06/04.             This   is   due

  to   the childs      documented             history      of physical aggression or             to   the fact      that    this   young      child    is   at    the   age in
  which he/she         is   capable       of being a danger            to self or others.      She/He      could      lose    control    of   self    and place self or

 another     person in danger.               If   she/he    is   engaged      in   behavior     which      places     him/her      in   and emergency              situation

 or    creates   danger       to   self   or others        at    any time      the   use of the Non-Violent                Crisis Intervention          in   the form of

 the   one-minute           restraint   is   ordered.       The need       for this   order will be reviewed               every three     or four months.



                                                                   Therapeutic        Treatment        Plan



 Mariah Alvarez Child                                                                               Date




 Foster Parent                                                                                 Date




 Foster Parent                                                                                 Date




 Maria Livingston                                                                             Date

 Level     One   Staff Agent




                                                                                              Date




Charles A. Campise                 M.Ed.      LMSW
Clinical    Director




Mehdi      Sharifian        M.                                                                Date

Psychiatrist




Richard     Connell Ph.D.                                                                     Date final approval

Psychologist




DFPS Case manager                                                                             Date




Dora Cackley/       Treatment Coordinator                                                     Date




                                                                                                                                                                              6
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  FOSTER PARENT           MONTHLY PAPERWORK

  MONTH 30                    YEAR_c2     CIO

  CHILD                           r r


 DOB aLOC                L POS DATESi
 FOSTER
  OSTER  HOME                 CASE MANAi
 CPS CASEWORKER VISIT/CONTACT DATES
 MEDICAL DOMAIN
 DATE OF LAST PHYSICAL /0 - I -o S       PHYSICIAN J ase_
 COPY TURNED IN TO CASE MANAGER
 FOLLOW UP REQUESTED OR
                                        REQUIRED-AsT
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 DATE OF LAST DENTAL        N jA                           DENTIST
 COPY TURNED IN TO CASE MANAGER
 FOLLOW UP REQUESTED OR REQUIRED



 DATE OF LAST EYE EXAM                                   OPTOMOTRIST
 COPY TURNED INTO CASE MANAGER
 FOLLOW UP REQUESTED OR REQUIRED

 DATE OF LAST TB TEST

 MISC.   EXAM                                         DOCTOR
 COPY TURNED IN TO CASE MANAGER
 FOLLOW UP REQUESTED OR REQUIRED



DATE OF LAST PSYCHOLOGICAL
DIAGNOSIS    Axis    I   and II




DATE OF LAST PSYCHIATRIC REVIEW       V             IA      PSYCHIATRIST
MEDICATIONS List name of med mg. and for            what
                                                           purpose.




ANY CHANGE      IN   MEDICATIONS THIS MONTH              jp
WAS THE CPS CASEWORKER                  NOTIFIED PRIOR TO    CHANGE
       Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 83 of 215




                                                  MONTHLY LOGS                   TWO
  11


                                                                          PAGE
        BEHAVIORAL DOMAIN
        BEHAVIORAL GOALS




        BRIEFLY DESCRIBE PROGRESSION OR REGRESSION IN BEHAVIORAL          GOAL AREA




              p      c s _.rSlr




114




       EDUCATIONAL D        LAIN
       EDUCATIONAL       ALS




       BRIEFLY DESCRIBE   4OGRESSION OR REGRESSION     IN   EDUCATIONAL   GOAL
       AREA
Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 84 of 215




                                                                                    MONTHLY LOGS                       PAGE THREE
     EMOTIONAL DOMAIN
     EMOTIONAL NEEDS AND GOALS




     Number of Therapy          Sessions       this   month           L.        y
     BRIEFLY DESCRIBE PROGRESSION OR REGRESSION IN EMOTIONAL                                                        GOAL AREA

                               CDs     I
                                           4A                  el




 SOCIAL/        RECREATIONAL DOMAIN
 Describe     the recreational         pursuits in which the child                currently   participates

 I        .   L/           C    t          lc1F        e   C               3.


 2                                                                         4.

 BRIEFLY DESCRIBE PROGRESSION                                   OR REGRESSION                 IN SOCIAL/RECREATIONAL
 GOAL AREA




FAMILY DOMAIN                                                                                                   C   e. r   U   l   Sq
VISIT DATES BY RELATIVES
Include   dates      names of       visitors    duration       of visits        supervised    or unsupervised   outc
                                                                                                                           e.plq
APPROX.       NUMBER OF FAMILY PHONE CONTACTS

Include   who      initiated   calls   and outcome         if   significant.

COMMENT ON SIGNIFICANT FAMILY ISSUES                                                   J




CONTACT RESTRICTION                        WITH
    Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 85 of 215




j     INCIDENTS
                                                                                                                MONTHLY LOGS                                       PAGE FOUR


          For serious         incidents         such as runaway                             physical restraint              hospitalization           suicidal       ideation

                                             sexual       perpetration                      law enforcement                 involvement         or allegations          of abuse
      gestures     or.attempts

      or neglect    contact          the Burke Foundation                                 immediately.              Serious      incidents    described           above may

      require a separate incident form.                              Burke Foundation personnel                                  will advise.


      Case Manager            r                       L   5C--       I
                                                                         1
                                                                             11   L440-     Phone
     Charles      Campise           Work     512          858-4258lcell                        461-2935             /   home      847-5083      /   Rose      cell 461- 4803


     Karyn Rogers             Work         512 858-4258                            / cell   658-0169            /   home       264-7290



     NOTABLE BEHAVIORS                                    These are problematic                                 behaviors        that   are typically         NOT     considered

     serious incidents

     A.   Substance       Abuse                              B.                                Destruction                              C.   Self inflicted         injury
                                                                             Property

     D    Enuresis                                           E.              Terroristic           threat                               F.   Public       incident

     G.   Encopresis/Feces                 Smearin           H.              Provokin              Deer s                               1.   Unprovoked             aggression

     J.   Verbal   threats                                   K.               Sexually         inappropriate                            L.   Animal abuse

     M.   School     Problems                               N.                    School     bus    problems                            0.   Theft        and/or    Dishonesty

     P.   Breaking House Rules                                                    Hallucinating                                         R.   Missed medication dose

     S.   Bizarre behavior                                  T                 One on One               Supervision                      U.   Assaulted            by Peer


     A particular        Notable           behavior       that occurs                     on more than one day can be described                               once and       just

    note the dates on which the behavior                                      occurred.            A behavior             that    occurs     each    day may be         listed      as

    daily.


    Notable behavior              letter        IT                                                      Dates               c




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    Description                     L           S GL                                                                                                  C

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    Notable behavior              letter                                                               Date

    Description
                            Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 86 of 215




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                  PARENTS




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                  FOSTER                                                                                                                                                              GOALS
        CHILDS
     Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 87 of 215




 J    DATE       07/28//2005                                                     LENGTH OF VISIT                    1   HOUR
      CHILD       Mariah      Alvarez                                   FAMILYRamon               Alifonsa          Castillo

      AGENCY REPRESENTATIVE                              Dora Cackley




      Content     I   observed Mariah as well dressed and healthy Mariah was                              sitting       in her walker

      observing       her surroundings.        As     per foster   mother Mariah weighs           21   pounds. As per
      foster    mother Mariahs          legs are getting         stronger and she      is   able to extend her legs and

      stand and she      is   able to   sit   by    herself.   As per   foster mother       Mariah   is   attempting         to

      stretch   her legs as if to walk         when       held. Mariah      receives   physical and occupational

      therapy    once a month.          She    is   a happy    baby   who    smiles and     makes happy         baby       sounds.




60
Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 88 of 215




  DATE         07/11//2005                                                LENGTH OF VISIT                      1    HOUR
  CHILD         Mariah    Alvarez                             FAMILYRamon                      Alifonsa        Castillo

  AGENCY REPRESENTATIVE                         Dora Cackley




  Content       I   observed Mariah      as well   dressed   and healthy. Mariah             was                   in her walker
                                                                                                     sitting

  observing         her surroundings-As per foster mother              Mariah     crawls      around the            home when
  she   is   curious   about   things.   As   per foster mother        Mariahs         legs are getting                       and
                                                                                                                   stronger
  she   is   able to extend      her legs and stand and she       is   able to              herself.   As
                                                                                 sit   by                      per foster
  mother       Mariah receives       physical   and occupational        therapy        once a month.           She    is   a happy
 baby    who        smiles and
                         makes happy baby               sounds.    As    per   foster       mother     Mariah         has begun
 to   have temper tantrums when she wants               attention.
    Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 89 of 215




     FOSTER PARENT            MONTHLY PAPERWORK.

    MONTH 7ti                    YEAR _       d   Io


    CHILD.
         Jloy LOC
    DOI319                   POS DATES .4
   FOSTER HOME            of     CASE MANAGER
   CPS CASEWORKER VISIT CONTACT DATES9 Ifa                                                                  S   6c
   MFDICAI DOMAIN
   DATE OF LAST PHYSICAL 9 9 -S-           PHYSICIAN                                  per   7   _

   COPY TURNED IN TO CASE MANAGER      4 P
   FOLLOW UP REQUESTED OR REQUIR.ED7_   jy


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  DATE OF LAST EYE EXAM                                                OPTOMOTRIST
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  DATE OF LAST TB TEST
                                                                                                        I




  MISC.   EXAM          /     Ar                                   DOCTOR 27                            I




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                                                                                                    I




 DATE OF LAST PSYCHOLOGICAL
 DIAGNOSIS       Axis . and II     -




DATE OF LAST PSYCHIATRIC REVIEW                                f        P    CIHATRIST
MEDICATIONS            List   name of   med   mg. and   for   what
                                                                         rpose.




ANY CHANGE        IN   MEDICATIONS        THIS    1ONTH

VAS THE    CPS   CASEWORKER NOTIFIED PRIOR TO                           CHANGE__-
                 Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 90 of 215




                                                           Monthly Log of Notable Behaviors


               For serious incidents such as runaway physical restraint hospitalizations                                      suicidal     ideation     suicidal

  gestures       or attempts sexual            perpetration       law enforcement       involvement            or allegations       of abuse or neglect
               the Burke Foundation                                                           above
  contact                                        immediately.       Serious       incidents                 may require      a separate     form.

  The Burke Foundation                    512-858-4258               Charles Campise cell 512-461-2935                            home       512-847-5083

  Emily Parks 512-731-3553


 Notable Behaviors                 This   is   a list of   some   but not   all   behaviors        that    require detailed documentation.

 A.     Substance        Abuse                                                           Positive          Incidents

  B.    Property      Destruction                                                                  A.     Respectful    Behavior

 C.     Self-Inflicted                                                                             B.
                             Injury                                                                       Impulse Control
 D.     Enuresis      Uncontrolled             Urination                                      _.
                                                                                                   L      Avoiding     Fights/Arguments
 E.     Terroristic       Threat                                                                          Positive   Attitude

 F.     Public    Incident                                                                         E.     Sharing feelings with others
 G.     Encopresis/Feces           Smearing                                                        F.     Good Grades        in   School

       Provoking         Peers                                                                             ositive School Behaviors

 I.
        Unprovoked         Aggression                                                          H.         Sharing
       Verbal Threats                                                                          1.
                                                                                                          Compromising
 K.    Sexually       Inappropriate                                                            J.         Expressing    feelings     positively
 L.    Animal      Abuse                                                                       K.         Working on goals
 M.    School Problems                                                                         L.         Taking responsibility
 N.    School Bus Problems                                                                     M. Avoiding             peer pressure
       Theft     and/or    Dishonesty                                                         N.          Taking of personal        property

       Breaking House Rules                                                                   0.          Respecting    others     property

Q.     Hallucinating                                                                          P.          Good hygiene
R.     Refused     Medication                                                                 Q.          Reduction    in aggressive        behaviors

       Bizarre    Behavior                                                                    R.        Reduction      in   negative     behaviors

       One on One         Supervision

U.     Assault    of A Peer

V.     Lying
W. Cheating
X.     Stealing

Y.     Suicide    Talk

Z.     Runaway        Talk

AA.        Refused        Therapy
BB.        Sneakiness

CC.        Disrespect        of Authority
DD.        Manipulating Others
EE.        Blames      Others

FF.        Bragging
GG.        Puts Others       Down
                Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 91 of 215
     Childs         Name                                                   Month/Year              .                -q066                           Foster         Home               9.6           mWt      t     f        11     lS        Tr

     Please                                      in medications or doctor visits
                list     any change                                                                             child    attended           i   /tojoG            f
                                         crv tc           hilts


     NOTABLE BEHAVIOR LETTER                                                             C1772                                      DATES                  G          5G-             rs   c            e1   c-.       i
                                                                                                                                                                                                                               Q



     Details        of Incident              Z     \I   CL0 e                        a

                             S c_A-06t
                                                             -
     Your Response                to   Incident                   r iC

     Childs Response
                                       J          C      6
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 NOTABLE BEHAVIOR LETTER                                                                                                        DATES                             p S     C..Cg_c.                           of            c




 Details        of Incident                                      CC.        \                    a L2           e
                                                                                                                            bet

 Your Response                to       Incident



 Childs Response
                                                                                                                          Qr -tSed


NOTABLE BEHAVIOR LETTER                                                                                                         DATES

Details       of Incident                                                                                                                                                                                        Ue- t1




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Your Response                      Incident
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             Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 92 of 215



  NOTABLE BEHAVIOR LETTER                                                               DATES

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  Your Response            to    Incident



  Childs Response




 NOTABLE BEHAVIOR LETTER                                                               DATES

 Details     of Incident




 Your Response         to       Incident



 Childs Response




 NOTABLE BEHAVIOR LETTER                                                               DATES

 Details   of Incident




 Your Response        to        Incident



 Childs Response




NOTABLE BEHAVIOR LETTER                                                               DATES

Details    of Incident




Your Response         to    Incident



Childs Response




Please send     all   documentation               from Doctor   visits   report cards education      information-   ARD   IEP.

dedication      Logs must be handwfften                   signedaj2d      mailed or faxed   to our   office.




Foster Parent     Signature                 Dat
                           Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 93 of 215




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Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 94 of 215




 DATE      01/04/2006                                                    LENGTH OF VISIT               1   HOUR
 CHILD      Mariah Alvarez                                   FAMILYRamon                 .Alifons Castillo
 AGENCY REPRESENTATIVE                          Dora Cackley




 Content    I   observed     Mariah    as well   dressed    and healthy. Mariah was walking                 on a small

 path by the house         with   her hand   held   by   her caretaker. Mariah         appeared   to be struggling

 to walk   as her   two    feet   were turned    to the side instead       of facing    front.   As   per foster

 mother    ECI    will   begin    to see Mariah     for physical therapy       for her legs soon.          As   per foster

 mother    Mariah     saw Dr. Zamir         on December 26         for a cough.   Dr. Zamir       diagnosed a        slight

 case   of bronchitis      and prescribed    antibiotics.    She    is   doing fine now.
Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 95 of 215




DATE       01/23/2006                                                 LENGTH OF VISIT                       1   HOUR
CHILD        Mariah       Alvarez                            FAMILYRamon                     Alifonsa       Castillo

AGENCY REPRESENTATIVE                          Dora   Cackley




Content      I   observed Mariah       as well    dressed   and healthy. Mariah was             sitting         quietly in her

high    chair in the kitchen        waiting   to eat dinner.   As   per foster    mother        Mariah          is   a loving

child   who      throws kisses and wants to hug everyone.             As   per    foster mother Dr. Zamir was
going to recommend            Mariah    wear     special shoe to aid her in       walking. As per foster

mother     ECI     will   begin to see Mariah       for physical    therapy     for her legs soon.              As    per foster

mother     Mariah     saw    Dr. Zamir    on January 16 2006 for a             slight   case of bronchitis              and

prescribed       antibiotics and Abuiterol        for breathing     therapy.     She    is   doing   fine       now.




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Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 96 of 215




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 Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 98 of 215




  FOSTER PARENT MONTHLY PAPERWORK.

  MONTH     e    I
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  CHILD
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 CPS CASEWORKER VISIT CONTACT DATES 9.
 MEDICAL DOMAIN
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 MISC.             -  6 6 2 Z7 6                                              DOCTOR
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FOLLOW UP REQUESTED OR REQUIRED



DATE OF LAST PSYCHOLOGICAL_
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DATE OF LAST PSYCllIATRI                               VIEW                       PSYCHIATRIST
MEDICATIONS           List   nam                f   med   mg. and   for   what   purpose.




ANY CHA 5 E     IN    MEDICATIONS                       THIS   MONTH

         CPS   CASEWORKER NOTIFIED PRIOR TO CHANGE2----
                   Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 99 of 215




                                                                     Monthly Log of Notable Behaviors


                         For serious incidents such as runaway                 physical      restraint hospitalizations          suicidal   ideation     suicidal

           gestures       or attempts       sexual     perpetration       law enforcement involvement               or allegations       of abuse or neglect
          contact        the Burke Foundation               immediately.     Serious      incidents   above may require a separate form.

          The Burke           Foundation          512-8584258                Charles Campise cell 512-461-2935                        home     512-847-5083

          Emily Parks 512-731-3553


          Notable        Behaviors         This   is   a   list   of some but not   all   behaviors    that    require detailed documentation.

          A.     Substance        Abuse                                                          Positive       Incidents

          B.     Property       Destruction                                                            A.     Respectful     Behavior
          C.     Self-Inflicted      Injury                                                            B.     Impulse Control
          D.     Enuresis       Uncontrolled           Urination                                              Avoiding      Fights/Arguments
          E.    Terroristic       Threat                                                                      Positive Attitude

          F.    Public     Incident                                                                    E.     Sharing    feelings     with others
       G.       Encopresis/Feces           Smearing                                                           Good Grades      in School

       H.       Provoking         Peers                                                                       Positive   School Behaviors

      1.        Unprovoked           Aggression                                                       H.      Sharing

      J.        Verbal Threats                                                                        1.
                                                                                                              Compromising
      K.        Sexually      Inappropriate                                                           J.      Expressing     feelings positively
      L.        Animal Abuse                                                                          K.      Working      on goals
      M. School Problems                                                                              L.      Taking responsibility
      N.        School Bus Problems                                                                   M. Avoiding          peer pressure
      0.       Theft and/or        Dishonesty                                                         N.      Taking of personal        property

      P.       Breaking       House Rules                                                             0.      Respecting others property
      0.       Hallucinating                                                                          P.      Good hygiene
      R.       Refused      Medication                                                                Q.    Reduction in aggressive          behaviors

      S.       Bizarre     Behavior                                                                   R.    Reduction in negative          behaviors

     T.        One on One         Supervision

               Assault     of   A Peer
     V.        Lying
     W.        Cheating
     X.        Stealing

     Y.        Suicide     Talk

     Z.        Runaway        Talk

     A.A.          Refused        Therapy
     BB.           Sneakiness

     CC.           Disrespect        of Authority

     DD.          Manipulating Others
     EE.          Blames        Others

     FF.          Bragging
     GG.          Puts Others        Down




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                  Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 100 of 215

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        Please       list   any change            in   medications or doctor                         visits      child      attended             Z   4.1   /66       2..   //6/o6.                               6




        NOTABLE BEHAVIOR LETTER                                                          1-7
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               Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 101 of 215



       NOTABLE BEHAVIOR LETTER                                                                  DATES

       Details    of incident




       Your Response            to   Incident



       Childs Response




       NOTABLE BEHAVIOR LETTER                                                                DATES

       Details   of Incident




       Your Response           to    Incident



      Childs Response




     NOTABLE BEHAVIOR LETTER                                                                 DATES

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     Details     of Incident




     Your Response         to Incident



     Childs Response




     NOTABLE BEHAVIOR LETTER                                                                DATES

     Details   of Incident




    Your Response         to   Incident



    Childs Response




    Please send     all   documentation               from Doctor   visit     eport cards   education      information-   ARD   IEP.
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                    Logs                                                      mailed or faxed   to   our   office.
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    Foster Parent     Signature                 Dat
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            Name        Nombreth                                                                      Fecha         de Nacimiento


                       Date                       Vaccine                                          Validation                    Next    Dose

                    Fecha                        Vacuna                                        Validacion                    Proxima Dosis

                                       Hepatitis        B
                              O        Hepatitis        B
                                       Hepatitis        B



                M                      DT
                                       DTP/
                                                  Ta
                                                  .Ta
                                                            DT/Td
                                                                  T/Td    10
                                                                            JPV1
                                                                                              j.

                                       DTP/                       T/Td    jPbZ     AY
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                                       DTP/DTaP/DT/Td


                                       Hib
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                    -Z-e               Hib
                                      Hib


                                      Pneutnococcal               Conjugate

                                      Pneumococcal                Conjugate
                                      Pneutnococcal               Conju     ate

                                      Pneumococcal                Conjugate



                                      IPV
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                                     MMR                                                           s/J
                                     MMR
                                     Measles        Saratn           ion


                -      2 -e          Varicella          Chickenpox
                                     Varicella          Chickenpox
                                     Varicella      History         /Date     of Varicella Disease




                                     Hepatitis      A
                                     Hepatitis      A


                                     Pneumococcal           Polysaccharide



                                     Influenza

                                     Influenza



           TB   Te1                    ead                                     ..T.Tes                Data   Read              Results
                                                    24-ults

           TB   Test          Date   Read               Results                   TB   Test          Date    Read              Results



           TB   Test          Date   Read               Results                   TB   Test          Date    Read              Results




          Texas        Department     of Health     -   Immunization           Division                                    eC-102 8/2003
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                                     MEDICAL/DENTAL                           TREATMENT FORM

    Medical
                  l                       Annual                              Dental                               Psychiatric
    Treatment                             Exam                                Treatment                            Monitoring




    Childs    Name          A   I
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   Reason for Visit
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  Diagnosis and Treatment
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  Medication    Prescribed




 Recommendation           and Follow                up




 Examiners Signature




 Printed   Name

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    Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 105 of 215
f




                                       MEDICAL/DENTAL             TREATMENT              FORM

        Medical          /              Annual                     Dental                       Psychiatric

        Treatment                       Exam                       Treatment                    Monitoring




        Childs    Name




                                        C
        Date                           Time                       -gym        p.m    circle   one

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       Address                    b                    l     S           Lj


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       City/State/Zip                         t   c    1/r




       Phone         c
                             c         46             -cY0


       Reason for Visit




       Diagnosis    and Treatment




       Medication   Prescribed



                                                                                KZ




      Recommendation             and Follow       up




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                                                                                                    Date
   Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 106 of 215

                    1103         9564230307                                    KEL                                      PAGE   02
02/11/2006




                                              MEDICAL/DENTAL                  TREATMENT         FORM

             Medical                                   Annual                 Dental                      Psychiatric
             Treatment                                 Exam                   Treatment                   Monitoring




             Childs Name              A7   //-CA       fce.          rlea G

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         Reason       for   Visit




        Diagnosis          and Treatment                                                            r




        Medication          Prescribed




       Recommendation               and Follow                 up




                                                                                                          Date
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   DATE        02/14/2006                                             LENGTH OF          VISIT       1   HOUR
   CHILD       Mariah    Alvarez                             FA TLYRamon               Alifonsa      Castillo

   AGENCY REPRESENTATIVE                      Dora   Cackley




   Content     I   observed Mariah as well dressed and healthy. Mariah was                   in   family court      of

   for a hearing. Mariah      sat   on her   mothers      lap and ate chips and interacted with her

   siblings.    As   per foster   mother Mariah-     is   a happy   child   who   receives   physical     therapy
   from ECI each week.



   February 16 2006
  Foster   mother took Mariah to see Dr. Zamir              for a cough.




  Dora Cackley                                                                           Date
Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 108 of 215




   DATE        02/06/2006                                                     LENGTH OF             VISIT     1   HOUR
   CHILD       Mariah          Alvarez                               FAMILYRamon                  Alifonsa    Castillo

   AGENCY REPRESENTATIVE                                Dora Cackley




   Content      I   observed Mariah           as well     dressed   and healthy. Mariah was           in   her pajamas

   preparing        to   go   to   sleep.   She   sat   with the other   girls in   the   home   playing     with some   toys.

  Mariah wanted               to sing and clap her hands. She clapped               with   me    several   times and she

  appeared      happy         and laughed out loud. As per foster mother                   Mariah    receives     physical

  therapy    from ECI each week.




  Dora Cackley                                                                                      Date
  Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 109 of 215




  FOSTER PARENT                  MONTHLY PAPERWORK

  MONTH                              YEAR     7 fah 6
                        -

  CHILD.                            v   L re-z

  DOB      6   6            LOC                  POS DATES 9/
  FOSTER   HOME71                         S        CASE MANAGER                     QL5   A-   i   v   1   ta-VI

  CPS CASEWORKER VISIT CONTACT DATES7/try    Cad                                    -f/   4    SSoSblo530          %
  MEDICAL DOMAIN
  DATE OF LAST PHYSICAL S- $ - o        PHYSICIAN
  COPY TURNED               IN   TO CASE MANAGER                  l1e
  FOLLOW UP REQUESTED OR REQUIRED                                    e.




 DATE OF LAST DENTAL /v 1d3  5                     P                    DENTIST
 COPY TURNED IN TO CASE MANAGER
 FOLLOW UP REQUESTED OR REQUIRED



 DATE OF LAST EYE EXAM                                                OPTOMOTRIST
 COPY TURNED IN TO CASE MANAGER
 FOLLOW UP REQUESTED OR REQUIRED

 DATE OF LAST TB TEST

 MISC.   EXAM       I
                                                                    DOCTOR
 COPY TURNED IN TO CASE MANAGER_
 FOLLOW UP REQUESTED OR REQUIRED




DATE OF LAST PSYCHOLOGICAL
DIAGNOSIS Axis I and II


DATE OF LAST PSYCHIATRIC REVIE W                                          PSYCHIATRIST.
MEDICATIONS                 List   name of   med   g. and   for   what purpose.




ANY CHANGY         M MEDICATIONS                 THIS   MONTH

          CPS      CASEWORKER NOTIFIED PRIOR TO CHANGE.-
                  Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 110 of 215




                                                              Monthly Log of Notable Behaviors


                  For    serious    incidents such as runaway            physical restraint hospitalizations                suicidal   ideation    suicidal


      gestures       or attempts       sexual     perpetration       law enforcement involvement               or allegations     of abuse or neglect

      contact       the Burke Foundation             immediately.      Serious    incidents      above may require a separate form.

      The Burke Foundation                   512-858-4258               Charles Campise cell 512-461-2935                        home    512-847-5083

     Emily Parks 512-731-3553


     Notable        Behaviors         This   is   a list of   some   but not   all   behaviors    that    require detailed documentation.
     A.     Substance        Abuse                                                          Positive       Incidents

     B.    Property        Destruction                                                            A.     Respectful     Behavior

  C.       Self-Inflicted        Injury                                                           B.     Impulse Control
           Enuresis        Uncontrolled Urination                                                 C.     Avoiding     Fights/Arguments
  E.       Terroristic       Threat                                                              j       Positive Attitude

  F.       Public     Incident                                                                    E.     Sharing    feelings with others

  G.       Encopresis/Feces           Smearing                                                           Good Grades      in School

  H.       Provoking        Peers                                                                 G      Positive School Behaviors

 I.
           Unprovoked           Aggression                                                       H.      Sharing

 J.        Verbal Threats                                                                        1.
                                                                                                         Compromising
 K.        Sexually        Inappropriate                                                         J.      Expressing     feelings positively
 L.       Animal Abuse                                                                           K.      Working      on goals
 M. School Problems                                                                              L.      Taking responsibility
 N.       School Bus Problems                                                                    M. Avoiding          peer pressure
 O.       Theft     and/or      Dishonesty                                                       N.    Taking of personal        property

 P.       Breaking         House Rules                                                           0.    Respecting       others property.

 Q.       Hallucinating                                                                          P.    Good    hygiene

 R.       Refused      Medication                                                                Q.    Reduction in aggressive         behaviors

 S.       Bizarre     Behavior                                                                   R.    Reduction in negative        behaviors

          One on One         Supervision

          Assault     of   A Peer
V.        Lying
W.        Cheating
X.        Stealing

Y.        Suicide    Talk

Z.     Runaway           Talk

A.A.          Refused        Therapy
BB.           Sneakiness

CC.           Disrespect        of Authority

DD.          Manipulating           Others

EE.          Blames        Others

FF.          Bragging
GG.          Puts Others         Down
Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 111 of 215




                                                         The Burke Foundation
                                                        24 hour Incident            Report


  Name        Mariah Alvarez
  Foster      Home Ramon                      Alifonsa    Castillo

 Address            Rt.   8   Box 622-A
                    Brownsville          Texas         78520
 Phone        956-542-0860
 Date      of Incident           March        22 2006
 Time of Incident                 1020        am

 Persons Involved                Mariah        Alvarez
 D.O.B        09-06-2004



 What        Circumstances           led       up    to the    Incident          Mariah      was    in her classroom               at   the    Head
 Start    Program         playing    on       school     play equipment            when     she    lost   her balance          and      fell   to the
 floor.    Her teacher          stated   she     hit   the right      side of her forehead.               As            Head   Start      teacher
                                                                                                                per
 Mariah      lost   consciousness             for like    a second       and then opened her eyes.


Describe          the Incident            As            Head     Start                             Mariah         was                   on to the
                                                 per                     teacher/report                                  holding
Rainbow        child      climber        when        she slipped       and   hit   the    right    side of her           forehead        and     lost

consciousness             for a second           then                  her               The Head                      teachers                Berta
                                                          opened             eyes.                         Start                     are
Carrejo           Marianna        Gil at      Rancho Del         Cielo    Head      Start    School


What       Consequences        were assigned to the participants
Head      Start     School called foster mother Alifonsa Castillo                             to   notify her about the                 incident.
Foster       mother       arrived        at    the     school     and     took      Mariah                Dr.           Castaneda
                                                                                                   to             J.                       for    an
examination.          Dr.      Castaneda        examined         Mariah      and took x-ray               of her head and noted she
was    not    injured         and stated       that there       was    nothing      in the                 that        showed any time of
                                                                                              x-rays
injury.




Foster     mother immediately informed Dora Cackley                                  Burke Representative                  of the Incident.
Dora      Cackley and Mrs. Castillo informed Angie                            Romo          TDFPS         worker        of incident.




 ora Cackley

Case manager/Treatment                   Coordin
                                                                       Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 112 of 215




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                                                                                                                                                                                                                                                                                                                               OUTCOME                                                                                                                                                                                                                                                                                                                                         PLANNED
                                                                                                                                                                                                                                                                                                     DURATIONSUPERVISED
                                                                                                                                                                                                          DURATION                    OUTCOME
                                                                                                                                      SUPERVISED
                                                                                                                           DURATION                  OUTCOME                                                                                                                                                                                                                                                          PLANNED
                                                                                                                                                                                                                                                PLANNED                                      GOALS                                       PLANNED                          GOALS
                                                                                                                   GOALS                                       PLANNED
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    GOA
                                                CHILDS            FOSTER                                                                                                                           GOAL
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                                 MEDICAL/DENTAL   TREATMENT FORM

  Medical_________                Annual          Dental                     Psychiatric

  Treatment                       Exam            Treatment                  Monitoring




  Childs       Name

 Date                    7       Time             a.m   /
                                                            p.m   circle   one


 Examiner


 Address




                   ..Z 5S
 City/State/Zip-Phone
                                   $ 555
 Reason for Visit
                                        d2h




Diagnosis         and Treatment




Medication          Prescribed




Recommendation           and Follow     up




Examiners Signature                                                              Da   e



22ciV
Printed     Name
                                              Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 114 of 215




             CHILD HEALTH                                                     RECORD                        FORM 3 SCREENINGS PHYSICAL EXAMINATIONIIASSESSMENT
                              CHILD                S   NAME                                                                         SEX       BIRTHRATE
                                                                                                                                                        _b ..CS
                              HEAD                  START           CENTER                                                          -t C          L   \A
                                                                                                                                                                                          PHONE         35         yV              U
                              ADDRESS                          L2



     w                        1.             RELEVANT             INFORMATION                  tram Health        History      Parent/TeacherObservations.




     WF-co
                 Z
      W
     tZ

     GU                       2.         SCREENING                  TESTS.                                                         by Head Start and recommended by the American
                                                                                                                                                                                                            NS A
                                                                                       Starred Items            are required

      M
                                                                                                                                                                                                                                   of                    for
                                                                                                                                                                                                                  Academy               Pediatrics

                                         children           3-5     years.        Enter dates     if   done      previously.       When recording results enter at a minimum                                             or             for   NORMAL
    W OU                                       SUSPECT              OR ATYPICAUABNORMAL                            respecthroly.

                                                                         TEST                              AT
    o IZ Z.                                                                                                                     RESUL                                                      TEST                        DATE                    RESULTS
    WWZ                                 a.     PRESENT            AGE                                                           Yrs.           Mos.          g.    VISION       Type       of    Test
    Ncc
    W 0                                 b.    HEIGHT         no shoes             to                                                                               ACUITY           RIL


    dUF                                       nearest       118In                                                                                                  RESCREENING


    O I-
      J
         Z
         -
                                    c         WEIGHT
                                              to    nearest
                                                              light

                                                                  114
                                                                        clothing

                                                                        lb.                                              _                                         STRABISMUS

                                                                                                                                                                   COMMENTS
                                              BLOOD PRESSURE
    WWQQ                            d.




    mZ X W
                                    a.        HEMATOCRIT                or                                 G
                                                                                                           S
                                                                                                                                                             It    OTHER       TESTS       If   Indicated         rj
                                                                                                                                                                                                                  7
                                                                                                                                                                                                                        /J
                                                                                                                                                                                                                         7               /
    00Q
                                              HEMOGLOBIN                                                                                                           1 TB
                                    1.        HEARING             Type       of    Test                                                                            2   Sickle   Cell


         U   LL.
                                              RESULTS.    RIL                                                                                                      3 lead
                                              RESCREENING                                                                                                          4Ova             Parasites
             l t..


             Q            -                   COMMENTS                                                                                                             5   Urinalysis


    O.       N           CL
                                                                                                                                                                   6 Other

                                   3.         PHYSICAL              EXAMINATIONIASSESSMENT.                           Complete         and return top three copies                   to   Head     Start.

                                                                                                  NORMAL        ABNOR-   NOT
                                                                                                  FOR AG         MAL       EVAI.          COMMENTS     Use        Additional    sheet      U necessa
                                   a.         GENERAL APPEARANCE
                                   b.         POSTURE.            GAIT

                                              SPEECH
                                                                                                   /
                                   c.


                                   d.         HEAD
                                              SKIN
                                                                                                       /
                                   a.




                                   f.         EYES     1      External        Aspects

                                                       2     Optic       Fundiscoplc

                     1                                 3 Cover           Teal

           Z                       g.         EARS     1      External             Canals
           W                                           2 T mpanlc                 Membranes
         W c
         DN                    h.             NOSE MOUTH                 PHARYNX
         j rn
         OW
                               1.             TEETH

                                              HEART
           U
         D Q                   k.             LUNGS

         W                     1.             ABDOMEN             include         herni


          0                    m.             GENITALIA
         Ua                    .              BONES JOINTS. MUSCLES
         2Z                    0.             NEUROLOGIC-ALISOCIAL
                                              1 Gross Motor
         QQ                                   2 Fine Motor
         UJ        x                          3 Communication                 Skills

                   LL
                                              4 Cognitive
          J                                   5
         mQ
                   U                          6
                                                   Self-Help

                                                   Social    Skills
                                                                    Skills

                                                                                                       /
         W                     p.            GLANDS LymphatlciThyrold                                  /
         -                     q.            MUSCULAR COORDINATION
             i     CL          r.            OTHER
         I   L
     2             CC
                                             GENERAL           STATEMENT                  ON CHILD S PHYSICAL STATUS
     0W
                               s.




     U             L-L


     W Q                                                                                                                                        Signature-                                                    _         D     te
     0
     OZQ
                               4.            FINDINGS               TREATMENTS                 AND RECOMMENDATIONS
                                                                                                                                                       RECOMMENDED                    FOLLOW-UP         OR RESULTS
L                  Z                               ABNORMAL             FINDINGSIDIAGNOSIS                           TREATMENT          PLAN                             Initial      when complete                                           DATE


                               b
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                                MEDICAL/DENTAL                    TREATMENT FORM

 Medical                         Annual                           Dental                     Psychiatric

 Treatment                       Exam                             Treatment                  Monitoring




 Childs     Name

 Date     3/o    o              Time                              a.m   /
                                                                            p.m   circle   one

 Examiner


 Address    q        30         14
                                     t


 -City/State/ZipY
                                o      so     ll   F         TK

 PhonegSL-ra         S t -ss S- -

 Reason   for   Visit                                                              \-   q.




Diagnosis    and Treatment
                                              _J       tiL




Medication      Prescribed




Recommendation            and Follow     up




                 4                                                                                 3 ZDO
Examiners       Signa      re                                                                    Date




Printed   Name
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                                MEDICAL/DENTAL               TREATMENT FORM

     Medical                      Annual                     Dental                  Psychiatric
                                                     _              _
     Treatment                    Exam                       Treatment               Monitoring




     Childs     Name

     Date     3        C Cr     Time            CC           G  /
                                                                    p.m   circle   one

     Examiner


     Address         4    G                 t            S          S


     City/State/Zipr          ovs
     Phone         5-L   4 -5 5    51
    Reason for Visit




    Diagnosis     and Treatment
                                            S 71/2




    /L-Medication
                   Prescribed
                                   zs                                     17               ors-


    Recommendation       and Follow    up




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                                                                                                        I

                                                                                         DDate
    Examiners Signature

L
    Printed   Name
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                                MEDICAL/DENTAL                   TREATMENT           FORM
                    .
  Medical                        Annual
                                                             _   Dental                     Psychiatric

  Treatment                      Exam                            Treatment                  Monitoring




  Childs     NameuurFZ                  Iz           a   i
  Date         l4 /C   o        Time                             a.m   /
                                                                           p.m   circle   one

  Examiner      r-7L2_iIA
  l-Address
  City/State/Zip                  s     t    t
                                                 e       ix            z   t




 Phone              -- sq       -S       1




 Reason      for Visit




 Diagnosis     and Treatment




 Medication     Prescribed




 Recommendation            and Follow   up




                                                                                                   31yy-Lt
                                                                                                Date
Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 118 of 215




                           MEDICAL/DENTAL    TREATMENT      FORM

  Medical_______              Annual         Dental                Psychiatric

  Treatment                   Exam           Treatment             Monitoring




                                                         ircle   one

                                              C   T   r
  Address      Ay 3C                 L St
  City/State/Zip     b CC-U        u-   V

 Phone        45-1   _   5q-         _   -



 Reason for Visit




 Diagnosis    and Treatment




 Medication   Prescribed




 Recommendation      and Follow    up




                                                                       Date
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                                  MEDICAL/DENTAL                 TREATMENT                  FORM

   Medical                             Annual                    Dental                             Psychiatric
   Treatment                           Exam                      Treatment                        Monitoring




  Childs      Name              areh                        1c       aye
  Date     51      -  t
                          friLp Time         9-                  a.m   /
                                                                           p   i       circle   one

  Examiner         L
  Address           M             E-         l.T   /   1
                                                           5-t                 E rV-




  City/State/ZipT           r J.151f                             x                         c    U
 Phone             15                        Ql-           57
 Reason      for

                   Visit




 Diagnosis     and Tre tment




Medication         Prescribed

                            tY1 f



Recommendation            and Follow         up

                              t7l-z-     z




Examiners Signature                                                                                   Date




Printed   Name
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        FOSTER PARENT MONTHLY PAPERWORK

       MONTH A O r        I                                             YEAR        a0O
       CmLD N a-                  I   urz.
                                                   LOC                                    ___
                              -




       D.O.Ba- b     -D                                      3        POS DATES
       FOSTER HOME                                      CASE     MANAGER
       CPS CASEWORKER             VISIT       CONTACT DATES
       MEDICAL DOMAIN

       DATE OF LAST PHYSICAL 3     E                              PHYSICIAN
       COPY TURNED IN TO CASE MANAGER
       FOLLOW UP REQUESTED OR REQUIRED



                                  P
       DATE OF LAST EYE EXAM
       COPY TURNED IN TO CASE MANAGER                      _      OPTOMOTRIST

       FOLLOW UP REQUESTED OR REQUIRED



       DATE OF LAST DENTAL    Z        DENTIST                             p-   L   c_e     f   Imo.   icr
                                                                                                             /
       COPYTURNED IN TO CASE MANAGER
       FOLLOW UP REQUESTED OR REQUIRED




      ed-o-COPY
      MISC.   EXAM     -7-3
                           ___ DOCTOR
                      eb _qtqk
           TURNED IN T CASE MANAGER
      FOLLOW UP REQUESTED OR REQUIRED
                                                                  q   .n    /       C LS-   n




      DATE OF LAST PSYCHOLOGICAL                                 pr
      DIAGNOSIS Axis I and II



      DATE OF LAST PSYCHIATRIC REVIEW
      PSYCHIATRIST
      MEDICATION      List    name      of   med mg.   and for whaapurpose.




      WAS THE   CPS CASE      WORKER 1TIFIED PRIOR TO CHANGE
kl%

w
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                                                                    Monthly Log of Notable Behaviors


                      For serious incidents such as runaway physical                       restraint    hospitalizations           suicidal    ideation     suicidal

           gestures    or attempts sexual perpetration                     law enforcement involvement                 or allegations    of abuse       or neg   k
                                                                                                                                                                     V
           contact    the Burke Foundation                                    Serious   incidents     above
                                                            immediately.                                        may     require a separate form.
       The Burke           Foundation            512-858-4258



       Notable         Behaviors          This   is   a list of     some   but not all behaviors       that    require detailed documentation.



       A.      Substance        Abuse                                                           QQ.           Difficulty concentrating
       B.                   Destruction
              Property                                                                                        Easily Frustrated
       C.     Self-Inflicted         Injury                                                     SS.           Attention       Seeking
       D.     Enuresis      Uncontrolled              Urination                                 TT.           Immature for Age
       E.     Terroristic Threat                                                                UU.           Mood      Swings
       F.     Public     Incident                                                              W.             Frequent Crying
      G.      Encopresis/Feces            Smearing                                              WW.           Pities   self

      H.      Provoking         Peers                                                           XX.           Flat affect/Little      emotion
      1.
              Unprovoked           Aggression                                                   YY.           Difficulty Identifying feelings

      J.      Verbal Threats                                                                   ZZ.        Angry/Hostile
      K.      Sexually      Inappropriate                                                      AAA.           Sullen/Sad

      L.      Animal Abuse                                                                     BBB.           Superficial

      M.      Inappropriate         behaviors         at   school                              CCC.           Fearful

      N.      School Bus Problems                                                              DDD.           Morbid thoughts/comments

p.    0.      Theft    and/or      Dishonesty                                                  EEE.           Experiences       Anxiety
      P.      Breaking      House Rules                                                        FFF.           Nervousness        pulls   at   hair etc.

      Q. Hallucinating                                                                         GGG.           Withdraws/Isolates         self from groups

      R.     Refused       Medication                                                          HHH.           Associates      more with       older Peers/adults

     S.      Bizarre      Behavior                                                             Ill.       Lack of        Confidence/Inadequate             presentation

             One on One            Supervision                                                 JJJ.           Comments of          despair/hopelessness

     U.      Assault      of   A   Peer                                                        KKK.       Fails to demonstrate            Positive Leadership

     V.                                                                                                   abilities
             Lying
     W.      Cheating                                                                          LLL.               Demonstrates         Poor sportsmanship

     X.      Stealing                                                                          M       M. Gives        in to Peer Pressure

     Y.      Suicide     Talk                                                                  NNN.       Refuses to participate              in recreational

     Z.      Runaway        Talk                                                                          activities


     AA.         Refused        Therapy                                                        000.       Displays         oppositional       attitude/poor

     BB.             Sneakiness                                                                           sportsmanship

     CC.         Disrespect         of Authority                                               PPP.       Negative         daily school       report

     DD.         Manipulating Others                                                           QQQ.       Fails to       complete     assigned     household chores

     EE.         Blames         Others/Makes               excuses                             RRR.       Uncooperative            with others

     FF.                                                                                       SSS.       Complains           about Biological          Family
                 Bragging
     GG.         Puts Others          Down                                                     TTT.       Overly Competitive plays                 to   win
     HH.         Sarcastic/Rude

     II.         Demanding Bossy
     JJ.         Tattling/Arguing             with peers

     KK.         Oppositional/Argumentative                      toward adult

     LL.         Disrespectful          towards adults

     MM.         Impulsive
     NN.         Ritualistic        behavior     obsessive/repetitive

     00.         Overly sensitive to criticism
     PP.         Demonstrates negative                     or poor attitude
                                                                                                                                                                          1
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Positive          Incidents

      A.         Respectful    Behavior
       B.        Impulse Control
      C.         Avoiding     Fights/Arguments
      D.         Positive Attitude

      E.         Sharing    feelings      with others
      F.         Completes/Turns           in   Homework
      G.         Passing grades          on daily work
   H.        ARDAEP
   1.        Exercises

   J.        Family        Visits

   K.        Good Grades            in   School
   L.        Positive School Behaviors

   M.        Sharing

   N.        Compromising
   0.        Expressing        feelings positively

  P.         Working        on goals

  Q.         Taking responsibility
  R.        Avoiding         peer pressure

  S.        Taking of personal              property
  T.        Respecting        others       property
  U.        Good       hygiene

  V.        Reduction in aggressive                behaviors

  W.        Reduction in negative               behaviors

  S.        Made       his/her bed

  T.       Does Chores
  U.        Is   helpful    and generous

  V..       Good manner ei please thank you
 W.         Plays nicely       and shares

 X.         Friendly/Kind/cheerful/Polite

 Y.        Interacts       appropriately        with   foster   family
 Z.        Church       attendance/activity

 A.A.                  Phone contact            with family
 BB.                   Choir band or other school                activities




                                                                                         2
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                                           e
                          4/
 Childs      Name                    A-1         Month/Year        Pt--t
                                                                                I   -   Zoo           Foster         Home                          II


 Please    list   any change     in medications or doctor visits           child        attended     -. 515         -0   C.
                                                 -




                                                     0 ---   C
                                                             -
                                                                     1     i   e4 0- -        --t   /Z-S6                fr        Z6
 NOTABLE BEHAVIOR LETTER                                                                      DATES                                           a.
                                                                                                                              C-tl   OO   l




 Details    of Incident                                      -0J
                                                                                Q
                                                                                                     Cry        _    t   Lk        twh             tjr     r


                          Skco




Your Response        to   Incident
                                           r0.._S




Childs Response

                                      eu5 _C                 all-Q         P-4            OvS         6t t5                    _
                                                                                                                                     f
                                                                                                                                         raLSl4




NOTABLE BEHAVIOR LETTER


Details    of Incident       ..tGW                       N   Lv-         S      -10                                 0                                    SLOE




  S                S       erav.-          1/k




Your Response        to   Incident
                                                                                                    ..C-1                      lL              e   7
    -\c              ko w            to



Childs Response                 k .1rtS                          10 tv              a---P                   v                      IJ6              fa
         -$
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      NOTABLE BEHAVIOR LETTER
                                                                                          DATES         I/er

        Details   of Incident        -
                                                                                               e C tl
                                                                                                                                -


                                                  LO--Ws
                                                                    S   1        UC       r                            r    c   1-4.




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                  C                                 S     h     s       Ea       5         Qu6i-Te4be-oc18e


              h e
                        S                         Cries                      .-


       Your Response        to   Incident                                             Clj vlff
                                                                                                      Cry          f_      k e         F




                                                                                  0 61

      Childs Response
                                 d    V   l
                                              t   C   t   Ut   vv       t.   L            C.     GQ   -S    r   Ct2G            t

                                                      --e           b   v                          e-   U   e
         cU




    NOTABLE BEHAVIOR LETTER
                                                                                         DATES

    Details   of Incident




    Your Response     to Incident




I
    Childs Response
           Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 125 of 215




    Please send   all   documentation   from Doctor   visits   report cards education      information-   ARD   ilP.

T   Medication    Logs    must be handwritten signed     and mailed or faxed    to   our   office.




    Foster Parent   Signature.



    Date
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                             MEDICAL/DENTAL       TREATMENT FORM

    Medical                     Annual            Dental
                                                                  I          Psychiatric

    Treatment                   Exam              Treatment                  Monitoring




    Childs     Name     -.o       t   d\J
                - ZS
    Date               GP    Time                 a.m   /
                                                            p.m   circle   one

    Examiner


    Address



    City/State/Zip



   Phone


   Reason for Visit




   Diagnosis    and Treatment
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                                Y4i




   Medication   Prescribed




                        and Follow    up
  Recommendation




   xaminers Signature                                                            Date


   -kkC-       h\\Qct   eo        OOS
  Printed   Name
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                                                         TREATMENT FORM
                               MEDICAL/DENNTTAL
     Medical                     Annual                   Dental                    Psychiatric
     Treatment                   Exam                     Treatment                 Monitoring




    Childs     Name

    Date        -Z             Time                      a.m   /
                                                                   p.m   circle   one

    Examiner


    Address                                         ra   cxo             /77--L


    City/State/Zip             uar        d   %lf    %X        T fJ-2 o
    Phone                2716      SV     4




    Reason for Visit




    Diagnosis    and Treatment




   Medication     Prescribed




   Recommendation      and Follow     up




                                                                                        Date
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                                MEDICAL/DENTAL                                 TREATMENT FORM

  Medical                        Annual                                         Dental                               Psychiatric

  Treatment                      Exam                                           Treatment                            Monitoring




  Childs     Name        fa1i    i   i   O 1-     Cl       I-l     D   i   e    t
  Date     i - cs       Off     Time                                            a.m     /           circle      one
                                                                                            p.m


  Examiner


  Address      -I   y   3       El        I
                                              I                S           S        l       1




 City/State/Zip             t                     ei   l   I   e

 Phone


 Reason for Visit




 Diagnosis    and Treatment
                                                                                                                               Z




 Medication    Prescribed



                                                                               If               3   1-                    g -f

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 Recommendation         and Follow
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                                                                                                                                   Zk   -


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 Examiners Signature                                                                                                   Date




 Printed   Name                                                                                 wartitsii   trvinu

                                                                                                    4430 E. 14th. ST.    S1.
                                                                                                ASV              liE TEXAS 7852
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                                            CHILD PLACING AGENCY
                                          SEMI-MONTHLY HOME VISITS

  DATE      04/19/2006                                                            LENGTH OF                 VISIT     1    HOUR
  CHILD      Mariah       Alvarez                                       FAMILY Ramon                    Alifonsa          Castillo

  AGENCY REPRESENTATIVE                                Dora Cackley




  Content    I   observed Mariah              as well    dresses       and she appeared             healthy. Mariah         was   playing

  with a toy on the living room                 floor.   She stood           up and attempted          to   walk by herself across

  the   room. As per foster mother she                        is   getting    stronger   at    walking        but   has    not   mastered

                                     room. As per foster mother Mariah vomited on herself




  junk-food.
  the two   steps    to   the   next                                                                                             after   the

  weekly    family    visit     and had to be bathed. As per foster mother Mariah refuses                                         to   drink

  milk for the next        three       days    after    her    family    visits   when        she    drinks    soda and eats




                                                                                                            w- a--off
                                                                                                            Date
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                                           CHILD PLACING AGENCY
                                         SEMI-MONTHLY HOME VISITS



  DATE          04/05/2006                                               LENGTH OF VISIT                               1    HOUR
  CHILD         Mariah Alvarez                                      FAMILYRamon  Alifonsa                              Castillo

  AGENCY REPRESENTATIVE                              Dora     Cackley




  Content        I   observed Mariah      as well          dresses and she appeared             healthy. Mariah              had arrived
  from school.         It   was pajama   day    at    school    and she was         in   her pajamas.         She smiled         happily

  and was       in   a good mood.      Mariah        sat   on the floor and played             with      some toys and the other
  children      in   the home.    As   per foster      mother Mariah           is   attempting           to walk without

  assistance.        She grabs onto items       to     stands    but is afraid to        let   go   to    walk.   As       per foster

  mother Mariah saw              Dr. Zamir     for her eighteen         month check            up. Mariah         is   repeating

  words and phrases            she hears and she continues              to   receive     speech          occupational          and

  physical therapy           from ECI.




                                                                                                            --L0             -   0o
                                                                                                           Date
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FOSTER         PARENT MONTHLY PAPERWORK

     MONTH         kCL                                                            YEAR        2
     CHILD          L6
                    06

     D.O.B    q-   10    c4                        LOC.R              POS-            DATES
     FOSTER   HOMO AA                 nS             MANAGER M_-
                                                     CASE                                         1   U f   a   1
                                                                                                                I   t   c.t   h   c   s/
     CPS   CASEWORKER          VISIT/     CONTACT DATES /o/l yIlc/ /                                                                       6
     MEDICAL DOMAIN

     DATE OF LAST PHYSICAL . /ah L-                                 PHYSICIAN
     COPY TURNED IN TO CASE MANAGER
     FOLLOW UP REQUESTED OR REQUIRED



    DATE OF LAST EYE EXAM     7V 16-                                OPTOMOTRIST
    COPY TURNED  IN TO CASE MANAGER
    FOLLOW UP REQUESTED OR REQUIRED



    DATE OF LAST DENTAL            DENTIST     79tc                                       e       y/ /44c-               l
    COPY TURNED IN TO CASE MANAGER      f-S
    FOLLOW UP REQUESTED OR REQUIRED    b --L.C.
r
    MISC.EXAM                DOCTOR   Z6                                 tl       r   .   L1.     c.c           -




    COPYTURNED IN TO CASE MANAGER
    FOLLOW UP REQUESTED OR REQUIRED



    DATE OF LAST PSYCHOLOGICAL                       L     lr

    DIAGNOSIS Axis I and II




    DATE OF LAST PSYCHIATRIC REVIEW                       fU    I   A-        /
    PSYCHIATRIST
    MEDICATION     List       name   of   med mg.   and for wbdt          purpose.




WAS THE      CPS CASE         WORKER        1   OTIFIED   PRIOR TO CHANGE
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                                                              Monthly Log of Notable Behaviors


             For serious incidents such as runaway physical restraint hospitalizations                                        suicidal    ideation     suicidal

                 or attempts       sexual     perpetration           law enforcement       involvement          or allegations      of abuse    or neglect
 gestures

 contact     the    Burke Foundation immediately.                      Serious    incidents      above may require a separate               form.

 The Burke          Foundation             512-858-4258                 Charles Campise cell 512-461-2935                        home       512-847-5083

 Emily Parks 512-731-3553


 Notable         Behaviors        This   is   a   list   of   some   but not   all   behaviors    that    require detailed documentation.

 A.     Substance        Abuse                                                              Positive       Incidents

 Rr     Property        Destruction                                                               A.     Respectful      Behavior
 C.     Self-Inflicted       Injury                                                               B.     Impulse Control
 D.     Enuresis        Uncontrolled          Urination                                           C.     Avoiding      Fights/Arguments
 E.     Terroristic Threat                                                                        D.     Positive Attitude

 F.     Public    Incident                                                                        E.     Sharing      feelings with others

 G.     Encopresis/Feces           Smearing                                                      F_      Good Grades        in School

 H.    Provoking         Peers                                                                            ositive     School Behaviors

T      Unprovoked          Aggression                                                                    Sharing
 J     Verbal Threats                                                                            1.
                                                                                                         Compromising
 K.    Sexually         Inappropriate                                                            J.      Expressing      feelings    positively
 L.    Animal Abuse                                                                              K.      Working      on goals
 M. School Problems                                                                              L.      Taking responsibility
 N.    School Bus Problems                                                                       M. Avoiding           peer pressure
0.     Theft and/or Dishonesty                                                                   N.      Taking of personal         property
       Breaking         House Rules                                                              0.      Respecting     others   property
Q.     Hallucinating                                                                             P.    Good hygiene
R.     Refused     Medication                                                                          Reduction in aggressive             behaviors
                                                                                                 Q.

       Bizarre     Behavior                                                                      R.    Reduction       in   negative     behaviors

T      One on One         Supervision                                                            S.    Made     his/her bed

U.     Assault     of   A Peer                                                                   T.    Does   Chores

V. Lying                                                                                         U.    Is helpful.    and generous
W.     Cheating                                                                                  V.    Good manner          ei please thank          you
X.     Stealing                                                                                  W.      Plays nicely and shares

Y.     Suicide    Talk

Z.     Runaway      Talk

A.A.       Refused        Therapy
BB.        Sneakiness

CC.        Disrespect       of Authority

DD.        Manipulating           Others

EE.        Blames        Others

FF.        Bragging
GG.       Puts Others        Down




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  Chuds Name
  Please
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                                   nL.                          onth/Year
                                      in medications or doctor visits
                                                                                     M.f Jet                         Foster            Home            1
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            list   any change                                                              child   attended




 NOTABLE BEHAVIOR LETTER                                                                                   DATES G                         n   h /              .

  Details    of Incident
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---Your
          Response    to   Incident
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Childs Response                                                                                                      b   et                                 5   ed
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NOTABLE BEHAVIOR LETTER                                         -
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Details    of Incident        kQt- .Ci                  l                        f
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Your Response        to    Incident


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  NOTABLE.BEHAVIOR                      LETTER                                  DATES

                                                                           O                                                          Gtere.
 4t Details of Incident                                             rrxb             jr    c77

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   Your Response        to   Incident                                                      key               he     1-7   E.




  Childs Response
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NOTABLE BEHAVIOR LETTER                                                        DATES             fit                ceS1




Details   of Incident                                     fb   be

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Your Response     to Incident                                                        Qye         jyYq..



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Childs Response                                                                          t-e                 S2   tie      -v
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         Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 135 of 215



  lease send   all   documentation   from Doctor   visits report   cards education      information-   ARD   IEP.

 jedication    Logs    must be handwritten   signed   and mailed or faxed    to   our   office.




Foster Parent    Signature


Date
                                                             Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 136 of 215




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                  Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 137 of 215
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    Report         for the     Family of Mariah Alvarez                                                                                                   Date     of Report          05/05/2006

                                                                                                                                                          Page     1   of 3

    Purpose         Report     to   parents of the childs development listing mastered                                                 skills   and skills ready to be learned.



    We      have   recently     completed      an assessment                of your            childs         developmental               skills.   Please recognize           that

    therc    are   no right or wrong          answers           each
                                                           as                child        develops             at their        own      pace.     This simply helps           us
    understand       what milestones           Mariah      has mastered                   and        wl.tat are                          skills   that   we   can help her with
                                                                                                                      emerging
    by planning       appropriate         activities.




     Childs        Name       Mariah      Alvarez                                                        Teacher            Name        Ana     bertha    Carrejo


     Date     of Birth        09/06/2004                                                                 School            Name         Rancho      Del Cielo Early



             YOUT    Child.     has mastered        the   following              skills



             Gross    Motor         G\MM                                         Mastered           Skills




                                                                       a         Walks               Stairs    With
                                                                                              Lip                      Help


                                                                       a         Stoops       To Pick Up Toes From Floor Without                         Falling


                                                                       a         Crawls              Several
                                                                                              Up                    Steps


                                                                       a         Walks Alone. Seldom                   Falls




                                                                             Throws            Ball Standing           Or    Sitting



            Fine Motor         FN I                                          Mastered               Skills




                                                                       R     Holds        3    Cubes


                                                                       a     Scribbles              Vigorously        In    Imitation


                                                                       a     Marks With               Pencil


                                                                       R     Places       One Cube             In   Cup

                                                                  a          Beats    2       Spoons Together


            Cognitive     CG                                                 Mastered           Skills




                                                                  A          Unwraps Toy


                                                                  e          Follows                         Instructions
                                                                                              Simple


                                                                  is         Removes            Lid of        Box To Find Hidden            Toy


                                                                 in         Gives     Toy To Adult On Request


                                                                 III
                                                                            Pats Whistle              Doll



            Language      LN                                                Mastered            Skills




                                                                 a          Points        And        Vocalizes       To Indicate Wants


                                                                            Uses     Jargon


                                                                            Jabbers       Expressively

c
                              Copyright       2004    by Red-e             Set    Grow          LLC.     All    rights reserved.
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                                                                                                                                              Date   of Report         051052006

                                                                                                                                              Page 2of3

    Childs    Name   M-lariah    Alvarez                                                  Teacher            Natne       Ana         berlha   Caireio


    .Dat of Birth 09/06/2004                                                              School            Natnc        Rancho          Del Ciclo Early




         Language     LN                                           Mastered           Skills




                                                                   Says     2    Words         reside.       NMIa-ma      and        Da-da

                                                                   Follows Simple                instructions



         Self-help   SH                                            Mastered           Skills




                                                             J    Moves          About         House    Without       Adults


                                                             to   Places        Only Edibles           in    Mouth


                                                                  Walks         lip    Stairs    One Hand         Held



                                                                  Uses      Spoon        With     Little     Spilling


                                                                  Holds         Cup And Drinks With                 Some Spilling
                                                            r1




        Social/Emotional         SE                               Mastered            Skills




                                                                  Temper          TantrUllis      Are        Common

                                                            mi    Parallel        Play Predominates


                                                            IN    Imitates        Grown-up         Activities         i.e..    Housevorl      Shopwork


                                                            to
                                                                  Stranger Anxic- y Reappears


                                                            m     Wants To Be Near Adults


        Your Child      is   ready   to   learn   the   following     skills



        Gross   Motor        GM-i                                 Emerging            Skills




                                                             Fl   Gets    Into     Standing        Position       A   ithout     Using     Hands


                                                             ie   Stands        On One         Foot. Slight Support


                                                             0 Climbs           Into    Adult     Chair       Turns     To     Sit




        Fine Motor      FM                                        Emerging            Skills




                                                             is   Builds        Tower of 2-3 Blocks               After Demonstration


                                                            a     Unwraps Toy


                                                            91    Inserts       Round      Shape       In    Formboard



                                                            in    Adapts        Round          Shape    In   Formhoard



        Cognitive    CG                                           Emerging            Skill.




                                                            e     Builds        Tower ol2-3            Cubes After Demonstration

                                                                  Look       It    Appropriate          Place    When         Asked.     For Example.   Where    Is   The

                                                                  Ball
c
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                                                                                                                        Date    of Report           05/05/2006


                                                                                                                        Page    3   of   3



Childs Name        Nlarialt   Alvarez                                      Teacher         Name       Ana   bertha     Carrejit



Date    of Birth   09/062004                                               School         Narne       Rancho       Del Ciclo Early




       Cognitive    CG                            Emerging              Skills




                                             et   Inserts     Round         Shape       Into   Fonnboard



       Language     LN                            Emerging             Skills



                                                  Looks       in       Appropriate        Ilacc   When   Asked.    For Example.      l1 here   Is   The

                                                  Ball

                                         1        imitates Simple                Sounds     On    Request


                                                  Points      To Pictures          In   Book


       Self-Help    SH                            Emerging             Skills




                                         a        Imitates     Housework


                                        a         Fetches      Or Carries Familiar Objects


                                        ea        Hands       Empty Dish            When       Finished Eating


                                        A         Unzips      Zippers


                                        n         Get.-   Oo       w   Adult     Chair Unaided



       SocialEmolional        SE                  Emerging             Skills




                                        ea        Picks    Up And           Puts    Away       Toys   On Request


                                        Ra        Begins      to       Claim     And    Defend     Ownership      Of Personal   Thin     s




                                        if        Initiates    Own         Play Activities
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                                          CHILD PLACING AGENCY
                                        SEMI-MONTHLY HOME VISITS



DATE      06/01/2006                                                        LENGTH OF VISIT                1   HOUR
CHILD        Mariah       Alvarez                                 FAMILYRamon                 Alifonsa     Castillo

AGENCY REPRESENTATIVE                              Dora Cackley




Content      I   observed      Mariah      as well   dresses   and she appeared        healthy. Mariah           was   playing

with   a toy on the living           room    floor with    her sister. She walked          carefully across the        room
so as not to      fall.   As   per foster    mother Mariah        is   gaining    weight    and   is   walking    with

confidence       on her own.         As   per foster mother Dr. Patel recommended                      Mariah have an
evaluation       done on       why   her   feet   extend   to the side.   As     per Dr. Patel Mariah          qualifies for

special shoes       to help her feet        when     she walks.




                                                                                                   0 -a/-Up
                                                                                               Date
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                                          CHILD PLACING AGENCY
                                        SEMI-MONTHLY HOME VISITS



 DATE          06/19/2006                                                     LENGTH OF         VISIT        1   HOUR
 CHILD         Mariah    Alvarez                                   FAMILYRamon                 Alifonsa      Castillo

 AGENCY REPRESENTATIVE                             Dora   Cackley




 Content       I   observed Mariah           as well dresses   and she appeared            healthy. Mariah        was   playing

 with    a toy on front       porch with her       sister.    As   per   foster   mother    Mariah     is   gaining     weight
and     is   walking   with    confidence       on her own. As per          foster   mother    Dr. Patel        recommended
Mariah        wear orthopedic        shoes     to straighten    her feet     when    she   walks.   As   per foster

mother        Mariah    will   be   fitted    for the shoes    next   week.       Mariah   appeared      very    sociable   and

happy.




                                                                                                Date
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                                       CHILD PLACING AGENCY
                                     SEMI-MONTHLY HOME VISITS



DATE         07/06/2006                                            LENGTH       OF VISIT        1   HOUR
CHILD         Mariah     Alvarez                          FAMILY       Homero        Yuliana Robledo

AGENCY REPRESENTATNE                        Dora Cackley




Content       I   observed Mariah as well dresses and she appeared             healthy. Mariah      was had
just    awakened       from her nap. Mrs. Robledo      brought     her into the living   room from        her

bedroom. Mariah           sat   on the sofa and watched   with fascination      as the other girls    moved
around the room trying to.make a playhouse with blankets.                  I   observed that she     tried   to

call    out to Etiel    as if to tell her something   then she smiled.    As   per foster   mother Mariah
is   doing   fine.   She eats and sleeps well. As per     foster   mother Mariah      attends  her Head

Start    School everyday and will see Dr. Patel on July 13 2006 for a follow up

appointment.




                                                                                     7-p            --o

                                                                                    Date
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                                            CONTACT FORM



  Monitored   Visit                 Caseworker                  TDFPS   Contact

                                                 Contact
  0-Childs
                                                           C/




            Name

 Date
        _
                          O    ime    j               .i circle one




 Name   of Contact    /   Monitor
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                                            CHILD PLACING AGENCY
                                         SEMI-MONTHLY               HOME         VISITS




    DATE       05/19/2006                                              LENGTH OF VISIT                     1   HOUR
    CHILD       Mariah Alvarez                                    FAMILYRamon  Alifonsa                    Castillo

    AGENCY REPRESENTATIVE                        Dora Cackley




    Content      I   observed Mariah      as well      dresses    and she appeared         healthy. Mariah          was   sitting

    in   her highchair     eating   breakfast.       She appeared        happy    and content.    As    per foster     mother
    Mariah     is    gaining    weight    and   is    walking     with    confidence       on her   own.       As   per   foster

    mother      Dr. Patel      recommended Mariah           have an evaluation            done   on why her     feet      extend

    to   the side.   As   per Dr. Patel   She    may need        physical therapy.




                     Fe-k--         v                                                            Date




c
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                                                CONTACT FORM



      Monitored Visit                   Caseworker Contact         l/            TDFPS   Contact




      Childs   Name

      Date                3      Time                        a.m        circle   one



     Name    of Contact   /   Monitor




                                                                                       --3-Date




C
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                                          CHILD PLACING AGENCY
                                        SEMI-MONTHLY HOME VISITS



DATE        05/02/2006                                                    LENGTH OF VISIT                        1   HOUR
CHILD        Mariah          Alvarez                                 FAMILYRamon   Alifonsa                      Castillo

AGENCY REPRESENTATIVE                             Dora Cackley




Content         I   observed Mariah      as well     dresses     and she appeared           healthy. Mariah            was waking
across     the      living   room with       confidence.      She    fell to    the   floor and stood       up and attempted
to   walk by herself across            the    room   again.     As   per   foster   mother      she    is   getting     stronger   at


walking.        As    per    foster mother       Mariah    is   thriving        both at home      and       at   the   Head    Start

School.     As       per     foster   mother Mariah           eats   and       sleeps   well.   Only    after        family   visits

Mariah     is    moody and        will not follow     the procedure            of the home.




                                                                                                      S -off
                                                                                                  Date
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      FOSTER PARENT MONTHLY PAPERWORK

      MONTH               I   C.                                                      YEAR        60 6
      CRILD     HA-ri a.                      -v           -   Z
      D.O.B       v                                             LOC
      FOSTER HOME              Pi         0   b.       7           CASE     MAN G R.         M-         cA               cK   K

      CPS CASEWORKER            VISIT/        CONTACT DATES                     /V/           o.S   S   es   C       /    D6
      MEDICAL DOMAIN

     DATE OF LAST PHYSICAL _ ku L 0                                           PHYSICIAN             2    riA     I



     COPY TURNED IN TO CASE MANAGER
     FOLLOW UP REQUESTED OR REQUIRED



     DATE OF LAST EYE EXAM   t1                    -
                                                               P              OPTOMOTRIST
     COPYTURNED IN TO CASE MANAGER
     FOLLOW UP REQUESTED OR REQUIRED



     DATE OF LAST DENTAL      2S /66-DENTIST    Et i L
     COPY TURNED  IN TO CASE MANAGER      4 --

     FOLLOW UP REQUESTED OR REQUIRED          gf G

F
         EXAM
     MISC.                   DOCTOR
    COPYTURNED IN TO CASE MANAGER
    FOLLOW UP REQUESTED OR REQUIRED



    DATE OF LAST PSYCHOLOGICAL
    DIAGNOSIS Axis I and II



    DATE OF LAST PSYCHIATRIC REVIEW
    PSYCHIATRIST
    MEDICATION         List   name   of   med mg.               and   for   what purpose.




    ANY CHANGE        IN MEDICATION                    THIS     MONTH


    WAS TDE    CPS CASE       WORKER          NOTIFIED                PRIOR TO        CHANGE
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                                                                  Monthly Log        of Notable Behaviors


                      For serious incidents such as
                                                    runaway physical                     restraint    hospitalizations            suicidal        ideation    suicidal
           gestures    or attempts sexual perpetration                   law enforcement     involvement              or allegations       of abuse or neglect
           contact    the   Burke Foundation                               Serious    incidents above
                                             immediately.                                                     may      require a separate form.
           The Burke Foundation                  512-858-4258


       Notable         Behaviors          This        a list of
                                                 is
                                                                  some   but   not all behaviors     that    require detailed documentation.


       A.      Substance        Abuse
                                                                                              QQ.           Difficulty concentrating
       B.                     Destruction
              Property                                                                        RR.           Easily     Frustrated
       C.     Self-Inflicted        Injury                                                    SS.           Attention        Seeking
       D.     Enuresis        Uncontrolled Urination                                          TT.           Immature for Age
      E.      Terroristic       Threat                                                        UU.           Mood       Swings
      F.      Public     Incident                                                            VV.            Frequent Crying
      G.      Encopresis/Feces            Smearing                                           WW.            Pities    self
      H.      Provoking         Peers                                                        XX.            Flat affect/Little      emotion
      1.
              Unprovoked          Aggression                                                 YY.            Difficulty Identifying feelings
  J.          Verbal Threats                                                                 ZZ.       Angry/Hostile
  K.          Sexually       Inappropriate                                                   AAA.       Sullen/Sad
  L.         Animal         Abuse                                                            BBB.       Superficial
  M.         Inappropriate          behaviors      at   school                               CCC.       Fearful
  N.         School Bus Problems                                                             DDD.       Morbid thoughts/comments
.0           Theft     and/or    Dishonesty                                                  EEE.       Experiences Anxiety
  P.         Breaking        House Rules                                                     FFF.       Nervousness                     at   hair etc.
                                                                                                                                pulls
  Q.         Hallucinating                                                                   GGG.       Withdraws/Isolates              self      from groups
  R.         Refused        Medication                                                       HHH.       Associates           more   with     older Peers/adults
 S.          Bizarre    Behavior                                                            III.       Lack          of Confidence/Inadequate                presentation
 T.          One on One         Supervision                                                 JJJ.        Comments of             despair/hopelessness
 U.         Assault      of A Peer                                                          KKK.       Fails to demonstrate                Positive       Leadership
 V.         Lying                                                                                      abilities

 W.         Cheating                                                                        LLL.               Demonstrates          Poor sportsmanship
 X.         Stealing                                                                        MMM.       Gives in         to   Peer Pressure
 Y.         Suicide     Talk                                                                NNN.       Refuses          to                   in   recreational
                                                                                                                             participate
Z.          Runaway                                                                                    activities
Talk-AA.
   Refused Therapy                                                                          000.       Displays          oppositional        attitude/poor
BB.              Sneakiness                                                                            sportsmanship
CC.             Disrespect          of Authority                                            PPP.       Negative          daily school        report
DD.             Manipulating            Others                                              QQQ.       Fails to complete            assigned        household chores

EE.             Blames        Others/Makes            excuses                               RRR.       Uncooperative             with   others

FF.             Bragging                                                                    SSS.       Complains             about Biological            Family
GG.             Puts Others         Down                                                    TTT.       Overly Competitive plays                     to   win
HH.             Sarcastic/Rude

II.             Demanding /Bossy
JJ.             Tattling/Arguing            with peers
KK.             Oppositional/Argumentative                   toward adult

...L            Disrespectful           towards adults

MM.             Impulsive

NN.             Ritualistic      behavior        obsessive/repetitive

00.             Overly sensitive to criticism
PP.            Demonstrates negative                  or poor attitude
                                                                                                                                                                            I
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    Positive      Incidents

        A.     Respectful       Behavior

        B.     Impulse Control
        C. Avoiding           Fights/Arguments
       D.      Positive Attitude

       E.      Sharing      feelings     with    others

       FCompletes/Turns                   in   Homework

              Passing       grades      on daily work
              ARD/IEP
       1.     Exercises

       J.     Family Visits
       K.     Good Grades          in   School
       L.     Positive      School Behaviors

       M.     Sharing

       N.     Compromising
       0.     Expressing       feelings        positively

       P.     Working        on goals

       Q.     Taking responsibility
       R.    Avoiding        peer pressure
       S.    Taking of personal            property
       T.    Respecting others property
      U.     Good hygiene
      V.     Reduction in aggressive               behaviors

      W.     Reduction in negative               behaviors

      S.     Made        his/her   bed

      T.     Does    Chores
      U.     Is   helpful    and generous

      V.     Good manner ei please thank you
      W.     Plays nicely      and shares

      X.     Friendly/Kind/cheerful/Polite

      Y.     Interacts      appropriately        with   foster   family

      Z.     Church       attendance/activity

      AA.                Phone     contact      with family

      BB.                Choir     band or other school           activities




e
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  Childs     Name                   CO       a                  r rMonth/Year                  a 0c                              Foster        Home 1 64
  Please    list   any change                in medications or doctor                                  child
                                                                                          visits               attended           //3/



  NOTABLE BEHAVIOR LETTER
                                                                                                                        DATES

  Details   of Incident                 -




Your Response            to       Incident




Childs Response                                                                                    a     A     c                  C   t   bl              1   GcI
                                                                                                                                               c.




NOTABLE BEHAVIOR LETTER                                                    \
                                                                                                                   DATES                       C




Details   of Incident               L    u           1                Yl       e4              L   Z               1        v   L16       S O-V Cr L
C         hP        I    eo                                                                                                                                                   GO

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Your Response           to    Incident




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                 Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 152 of 215

     NOTABLE BEHAVIOR LETTER                               y--                               DATES        Vic 4


       Details   of Incident
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      Your Response            to   Incident                           c          1   r     J-6       C   v S
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      Childs     Response-
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    NOTABLE BEHAVIOR LETTER                                                                DATES Q rc           i
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    Details   of Incident
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    Your Response         to   Incident
                                                                                                                          Jt       I   i   Ceti




    Childs Response                 Z                  r


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  NOTABLE BEHAVIOR LETTER                               I




                                                                  DATES            1




  Details       of Incident



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  Your Response           to   incident




  Childs Response




 .NOTABL BEHAVIOR LETTER
                                                                 DATES

 Details   of Incident

                                                       YA   Lq     t    Inc   kP   P1




Your Response        to   Incident




Childs Response
                           -
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                  ANY
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    Please send   all   documentation   from Doctor   visits   report   cards   education    information-   ARD   IEP.

    Medication    Logs must be handwritten      signed   and mailed or faxed        to our   office.




    Date




s
                Case 1:13-cv-00125 Document 24-5 Filed on 03/14/16 in TXSD Page 155 of 215
    TeoS         Dept
           Protective
                          of   Family                                                          Attachment         A                                                     Form 2085-A
     and                       Services                                                                                                                                     April   2004

                               AUTHORIZATION                         FOR MEDICAL DENTAL AND PSYCHOLOGICAL CARE

    The Texas Department                                     of Family and             Protective      Services        FPS          managing conservator               of


    Childs       Name                                                                                      Medicaid    or Client   No.

    Mariah         Alvarez
    Date    of    Birth                                          County                                    Court No.                                    Cause No.
    09/06/04                                                     Cameron


    hereby authorizes  Deli                                  h        rfit L.Ilohereinafter the caregiver                                to arrange      medical dental
    and psychological care                               for this         child    under the       following     terms and               conditions


    1. Non-emergency                                   care.
    Consent
    The         caregiver             may            consent       to routine          care    provided      by a licensed           physician        dentist       psychologist
           or psychiatrist                       subject         to the following             limitation



           a        If    the child           covered by Medicaid
                                                is                                            the provider     must accept               Medicaid      or the cost of the
                    providers              care must be covered



                               through           a county          medical        -   services    agency
                               under the caregivers                       health       insurance or
                               by the caregiver                  directly.




           b        The caregiver must secure                                   the approval        of the childs         caseworker              or the caseworkers

                    supervisor                  before consenting                 to



                               a surgical            procedure
                               a treatment             that      the childs physician               considers dangerous                    or

                               any other medical                    treatment          that    may   be threatening            to the childs          life   or long-term
                               health.



           Schedule                  for routine             exams/screenings
           Children              in   substitute             care     should          receive an annual         medical            exam due         at least    once    every         13
           months and                      if
                                                 they are one             year of       age     or older a dental           exam         due every       7 months and
           whatever               follow             up treatment          is   prescribed        by the medical            or dental        provider.        Caregivers
           should              utilize    the screenings                  and services           offered     by the Texas                Health  Steps Program when
           possible.                 Caregivers              should       discuss        their plans to obtain            these          screenings  and services with
           the childs caseworker.                                Caregivers            should    obtain    copies       of the      screenings exams or testing
           performed signed                            by the licensed                health    care   professional           if
                                                                                                                                   possible and share copies with
           the childs caseworker.



    2.     Emergency                      Care.         If   the childs caseworkerthe                      caseworkers             supervisor         or the local      CPS
           emergency                    on-call        caseworker               through        the abuse hotline          800-252-5400                 cannot       be contacted
           in    advance                or      if   there    is   not enough           time to contact        them       in advance the              caregiver        may
           consent              to    any emergency                   treatment          recommended            by a licensed              physician         dentist

           psychologist                   or psychiatrist.                The     caregiver       must     notify the childs               caseworker         the

           caseworkers                    supervisor                or the                         on-call    caseworker             through        the abuse       hotline     of
                                                                                emergency

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                                          V                                                                                                                                                          16001
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             Taxcm        cp      orrar                                                                                                                                                               GA
              w
             4Uu  1   FrOQ1eUVe    Services
                                                                                                          Attachment             A                                                       Fonn2O
                                                                                                                                                                                             April   Z004
                                  AUTHORIZATION                                  FOR MEDICAL                DENTAL AND PSYCHOLOGICAL CARE

                      the emergency                                                                                                                                            24
4S



                                                          treatment                  immediately       following         treatment        if   possible        or within              hours        after

                      the      initial   treatment




                      on-call-caseworker
                      Note The                childs        caseworker the caseworkers supervisor
                                      must approve prior to admission a voluntary
                      mental health facility because these admissions require
                                                                                   emergency placement
                                                                              the childs consent.
                                                                                                                                               or   the local    CPS      arnergenoy
                                                                                                                                                                                        in    a




             3.       Immunizations. The                                  caregiver         may consent            to   necessary         immunizations


             4.
                      Drug-testing.                   The            caregiver            must secure the approval                   of   the childs caseworker or the
                      caseworkers supervisor before consenting                                               to    random drug-testing


            5.        HIV-Testing.                   The        caregiver              must vecure          the approval         of the childs caseworker or the
                      casewurkers supervisor before consenting                                               to    any    test   dosigned            to   detect   the     human
                      immunodefic1en4y                          virus          HIV        that
                                                                                                  acquired immune deficiency
                                                                                                 causes                        eyndromc AIDS.
                      Exception                Children               who        ask to be tested have the right to be tested without the departments
                      consent however                           the child must be afferea                     infomtation and caunseiingThe                              caregiver           must
                      also     ensure          that                                                                                       on the                conforms to the
                                                  any duly approved                               HIV-testing           performed                      child                                 policies

                      specified          In   40 Texas Administrative                                Code   TAC          700.1401-700.7406                       Subchapter             N AIDS
              \PotlcieAfor                    CPj ldree              in   PFPSe Conservatorship.

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                                                                                                                                          flat                           Tctephone     Number


            Important              This form         is   the oniy tluthorlmllon to conSent                   to   madical. dental         and      psychological       care   that the childs
            caseworker            and zuperviaor may sign without consulting the FPS regional aUomey.




     C
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                                                                                  PLACEMENT AUTHORIZATION                                                                                                                                     Form 2085FC
                                                                                                                                                                                                                                                    April   2004
                                                                                FOSTER CARE/RESIDENTIAL CARE

The Texas          Department               of Protective             and Requlatory                    Services           TDFPS.                managing          conservator            of

Childs         Name                                                                                                                                                Client No.                                           Medicaid         No.

 Mariah Alvarez
Date of        Birth                                 County                                                                                                        Court       No.                                      Cause No.
09/06/04                                             Cameron


hereby authorizes                 I         i   1I       AcUnc             h    to    serve        as   this       childs       caregiver           under        the following         terms        and conditions


 1.      Daily     care.       The        caregiver           must provide                the childs            daily      care protection                  control           and reasonable                  discipline.        The         caregiver       must

        comply         with  any applicable court orders and must provide                                                       care         for   the child          which      conforms           to    all    applicable           TDFPS          rules    and

        standards          and any specific instructions from TDFPS.


Note        The     childs       placement             with        the caregiver             is    based           on the caregivers                     compliance            with    the requirements                      set forth       in   the contract

        with     TDFPS.         TDFPS             at   its    sole       discretion         may remove                    the   child        from    the caregiver              at   any time.


2.      Education.             The        caregiver               must    enroll      the child          in     public         school         and    /   or other           educational        programs                 as directed            by. the childs

        caseworker            or the       caseworkers                supervisor.             The        caregiver             may        sign     any documents                needed         to   enroll       the child         in   a school        or other

        educational            program          to     implement TDFPSs                       decisions              about           the childs          education.            The    caregiver            may        also     receive        and review           all


        the childs         educational            records.



        Travel.         The                                                     routine                                               the child                                                      for       medical         and dental           care.     The
3.                              caregiver            may          provide                     transportation                   for                       including           transportation

        caregiver         may        also    provide              or arrange          for   the        child to          travel       within       the state           of    Texas    and to-remain                     away    from the caregivers

        facility   for    as long as 72 consecutive                             hours.



        The caregiver             must secure TDFPSs                            prior     approval           for the       child       to    take    any    trip      lasting    more than           72 hours.               And   the caregiver             must

        secure         both    TDFPSs            and the courts                    prior    approval            for the         child       to   travel     outside          Texas.       Whenever               possible          the caregiver             must

        give     the     childs       caseworker                  or the       caseworkers                  supervisor               at     least 10        days            advance     notice           of     any     trip   that     requires        TDFPS
        approval.


                                  and                                     The                                      take                                  and record. videotapes   of the child for the childs and the
4.      Photographs                         videotapes.                            caregiver            may                    photographs

        caregivers            personal           use         and     for   purposes               of    identification.                   The       caregiver    however      must not release any photographs     or

        videotapes            of the child for public                    use without          TDFPSs                priorwritten permission.



5.      Medical Care.                 The       caregiver            may       consent            to   the childs              medical dental                   and         psychological           care        as specified            in    Attachment           A
        Authorization           to    Consent           to    Medical Dental and Psychological                                            Care.



                                           Under                         of    law the caregiver  must not release information    about the child                                                                  to                   without       the
6.      Confidentiality.                               penalty                                                                                                                                                           anyone                               prior

        authorization           of the childs             caseworker             or the caseworkers  supervisor  except as specified below


        a      The       caregiver          may         provide           information              about           the    child        to    the     childs        school        and     other           TDFPS           -   authorized           educational

                                     to   doctors        dentists              and other medical                    providers               and to counselors                 and therapists             to the extent             that the information
               programs
               is needed          for the childs                  education          or   medical dental                    or psychological                treatment.



        b      The caregiver               must give TDFPS unrestricted                                     access        to    information              about     the child at        all     times.



7.      Contact          with the           Family.                The     caregiver          must          permit         the        child        and the childs               family       as     well       as other individuals who are
                                                     to maintain              contact                         direct visitation telephone                             calls     mail and                      under the terms and conditions
        significant to the child                                                            through                                                                                               gifts


        specified        by TDFPS               and the court.


                             and Extracurricular                    The caregiver                                                                                                     the      child      to                                  routine       school
8.      School   Programs                              Activities.                                                                                       may       authorize                                     participate            in


                   and extracurricular activities  that do not involve an unusual                                                                        risk    of    injury to      the      child.          The      caregiver            must    inform        the
        programs
        childs caseworker  of all such activities.



If    thisis     not a     FPS       foster       home placement                          respond             to    questions               9      and    10
9.      Reason          for    Placement.                                discuss      the     reason for the childs                           out-of-home              placement         below.
                                                        Briefly




        Mother and new born                      tested           positive      for       C Jc.             f




10.      Time      in Care.               How    long        is   the child expected                   to   be     in    care                    0iiq              /
                                                                                          .urn
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    Tuna   Dept    of   FWHUy                                 PLACEMENT AUTHORIZATION                                                                                       Form   max
    am   Pre            Serikca                                                                                                                                                Apd 2CC
                                                            FOSTER CAREIRESIDENTIAL CARE




                                                                                                         01     6 kL                     .kt6          -BSV
                                                                                                                    fate                           Telaphona No.




                                                                                                               qlaI                          -

                                   $tgnaturo - imrps case                                                          Uate                             a aphona          No.



                                                                                                              -qLqi 104
                                   Signature - TDF          Supomfor                                               Dal                             TeleOnOf16         NO.


    Important           rotma    Wata      NlacemaM    Atlthodzanen      R.ubstitute       cmv    and     2D86A.    Authorzation   for   Medical    Deotal        w     d Psychological
    frre   are    the only evregiver outhorizadona            that the   rhllda    caaerwvrkar        and     me caseworkers   supervisor                         ehther   of there hss
                                                                                                                                             may     sign    tf



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                                aregtvEr   auAlloftatlon.   teat authorization         is null   aM   void.
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                                      PINKERMAN AND GONZALEZ
                                    PSYCHOLOGICAL ASSOCIATES PC
                                                    2529 W. Trenton Rd.

                                                   Edinburg       Texas      78539

                                          956      994-3880    voice        994-3877      fax

                                                     brendenke@cs.com



                             CONFIDENTIAL - FOR PROFESSIONAL USE
                                     ASSESSMENT REPORT
                                                             7-5-2008


 Clients        Name     Melissa       Elizabeth    Lucio

 Date of Birth 06-18-1969

 Age       38


                                   Case Number          07-CR-885-B
                                   138th Judicial      District

                                   Cameron County Texas


 Date of Interviews



 January      21   2008

 February 11 2008

 February 18 2008

 April     29   2008



 REFERRAL INFORMATION

 Mrs. Lucio was referred for psychological                     evaluation        by a Court order dated             December
 10   2007.     Mrs. Lucio        is   charged with     capital     murder     in   the death   of her two and one half

 years     old daughter          Myriah    Alvarez.    The purpose of          the evaluation       is   to describe    the

 psychological          functioning       of Mrs. Lucio       and   identify    how      her psychological          functioning

 relates    to the circumstances           of the charge.


 Mrs. Lucio        was informed         that the purpose of the evaluation                was   to assist her defense          of

 the charge      of    capital    murder. She was charged with murder of her two and one half year

 old daughter          Mariah.     She was told       that   interviews        record    reviews     consultation       with

 collaborating         individuals      and the administration            of psychological         tests   were methods        to

 be used in conducting             the evaluation.



 NOTIFICATION AND CONFIDENTIALITY

 Mrs. Lucio was also told               that   any information       that    she provided       might be included         in

 either the written         report to be submitted           to the Court or        in   subsequent testimony.           She was

 informed       that   she could       chose not to participate           chose not to answer            specific   questions



                                                     DEFENDANTS
                                                             EXHIBIT
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                                                                                                                                          2



 and had the         right    to   consult   with     her attorney.         She was informed            that   she could    end the
 sessions at                         Mrs. Lucio
             any time.                                 did not ask        questions    regarding        the notification.        She
 provided       verbal       and written         consent    to   proceed.      Mr. Gilman her attorney                 witnessed       this

 notification.        Mrs.    Lucio        was   also provided       reminders        about the notification of the              limits

 of confidentiality           at   the beginning           of the second and      third   interviews.



 List   of collateral        information          relied    upon


 Extraneous         Offense        List

 Consultation         with Mrs. Norma Villaneuva                       M.S.W.
 Review        of   CPS   summaries
 Review        of   DVD      interrogation         of Mrs. Lucio



 TECHNIQUES ADMINISTERED

 DOCUMENT REVIEW ABOVE
 CLINICAL INTERVIEW
 MINI-MENTAL STATUS EXAM
 SENTENCE COMPLETION BLANK
 WECHSLER ADULT INTELLIGENCE                                       SCALE-III          WAIS-III
 MINNESOTA MULTIPHASIC PERSONALITY INVENTORY-2 MMPI-2
 MILLON CLINICAL MULTIAXIAL INVENTORY-III MCMI-III

 RELEVANT HISTORY

 Family History Environment                       and Interactions


 Mrs.       Lucio grew       up with her natural mother                                 two    sisters    and three brothers in
                                                                         stepfather
 Houston        Texas.       She knows       little   about her      father.    Her mother worked               at   many   different

 jobs and she was the primary economic                           support     for the family.      Mn.      Lucio       described    her

 early childhood          as occurring           without     major problems despite             their    fragile      income.
               she described         herself being          an active
 Initially                                                                 outgoing and happy            child       but her family

 life   was   characterized          as having   many physical fights. Later she acknowledged    being
 sexual      abused for       at   least   two years. At least one brother has had problems with drugs
 and alcohol. Collateral information                       substantiates that     her childhood           was marked         by
 serious problems.



 Mrs. Lucio has been married once.                         She   first   married around the age of sixteen and had
 five   children.     She has been in a             common         law relationship       with Robert Alavarez              for    more
 than   eleven                She has fourteen             children.     Her parenting                 was     described
                    years.                                                                    style                         as

 permissive         and non-authoritarian.             She was chided          by others that she allowed                her children

 to   get   away with misbehavior                  physical      abuse    of their    cousins         and destruction       of

 property      without       appropriate         interventions.
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 Regarding her educational                       and vocational           history     Mrs. Lucio        completed eleventh                 grade
 before       dropping           out of Harlingen          High School.           She remembers          being      a   B    and    C    student.

  She recalled having               many         friends in school         and being        suspended      sometime before
 Eighth       Grade.        She rarely got          in trouble.
                                                                     Upon       entry into      high school        she       became
 increasingly         alienated from school.                    During     this   time     she said her family           was marked             by
 physical       fights.      She recalled disliking school                      but getting along        well    with her teachers.
 She quit school             to    get married.



 BEHAVIORAL OBSERVATIONS/MENTAL                                                      STATUS

 Mrs.      Lucio     was      cooperative          with    the assessment and interview                                  somewhat
                                                                                                         although
 subdued        and constrained.
                          She was dressed in a jail uniform and adequately groomed.
 There were no overt signs of problems with
                                            memory orientation judgment or cognition.
 Her affect and mood appeared within normal limits but somewhat flat and            Her                                       depressed.
 general       intellectual         abilities     seemed average.               No   overt problems         with    memory
 concentration              attention        or orientation        were observed.           She demonstrated adequate

 understanding              of the purpose of the interview                     and the process         of gathering          information.
 She denied          feelings of sadness anger                    or anxiety.        She denies having          specific          phobias or
 bad dreaMrs.             Her manner             voice    and    affect    were congruent with the content                        of her
 responses.



 DIAGNOSTIC ASSESSMENT-INTELLIGENCE AND PERSONALITY
 FACTORS

 The WAIS-III               is   used   to    assess the general           thinking     and reasoning          skills    of individuals
 aged      16-89     years.        The    test   provides       several     types     of scores in interpreting Mrs. Lucios
 intellectual        functioning             depending on the number of subtests                       administered.              Generally

 speaking          both     IQ and Index scores can be reported                        if all   subtests    are given.            One     or the
 other of these scores can be provided                           if less   than the full battery of subtests                   is   given.



 The    Full Scale          IQ score provides              a general       overview        of Mrs. Lucios        overall                        and
                                                                                                                                  thinking
 reasoning         skills    and encompasses               two broad domains                  Verbal and Performance.                     The
 Verbal IQ score indicates                     how   well       she did    on   tasks that      required her to         listen      to

 questions         and give        oral      responses     to   them.      These tasks measure             her skills        in

 understanding            verbal        information thinking               with words and expressing                                     in
                                                                                                                        thoughts
 words.       Alternatively             the Performance             IQ score indicates           how    well    she     did    on    tasks that

 required her to examine and think                          about    things such as designs              pictures        and puzzles            and
 to   solve    problems without                  using    words.     These tasks measure               her skills       in   solving
 nonverbal         problems          sometimes requiring                                                   and working
                                                                          eye-hand coordination                                     quickly
 and    efficiently         with    visual       information.        If the Verbal and Performance                      IQ scores are
 markedly                          from each other the Full Scale
                   different                                                          IQ   score is not     the best         summary of an
 individuals         performance               the Verbal and Performance                     scores   are better       measures          of
 ability    in this case.



 The Index         scores         encompass        four    domains Verbal Comprehension                          Perceptual

 Organization Working                        Memory        and Processing            Speed.     The Verbal Comprehension
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                                                                                                                                                    4



 Index      provides    a measure           of   how      well      Mrs. Lucio     did on tasks that              required      her to listen

 to   questions      and give        oral
                                               responses      to    them.    The   Perceptual                                 Index
                                                                                                          Organization
 indicates       how   well      she    did on tasks that            required     her to examine and think                    about things
 such as designs pictures                   and puzzles            and to solve        problems without                       words.     The
                                                                                                                   using
 last   domain      index        score is unavailable               because the two subtests                are optional        and were not
 administered.



 On     the Indexes         she performed           in    the Borderline          range on the Verbal Comprehension
 Index    VCI.         Her performance               which was better than                 that    of approximately 5.0 out of
 100 individuals            is   an indication        of    how      well   she   performs on tasks measuring verbally
 acquired        knowledge.            On   the Perceptual           Organization         Index      POI she               performed     in the

 Low Average           range       or above        that    of approximately 21.0 out of 100 individuals.                               Her
 performance on the POI                   is   a measure         of her nonverbal          reasoning         skills attentiveness            to

 detail and eye-hand coordination.                          Her Processing             Speed Index          PSI                 which was
                                                                                                                      score
 within     the Average                                      a measure        of her
                                  range        provides                                  ability    to    process      visual    information

 quickly.        She scored above approximately 66.0 out of 100 individuals                                           on    the PSI.


 The    scores      show how           well Mrs. Lucio              performed                       to     a group of individuals            the
                                                                                   compared
 same     age from across the United                      States.     An individual may have WAIS-HI scores                              that

 fall   within    a wide range            from Extremely              Low to Very Superior. Most individuals
 however         perform within             the Average            range.



 A    percentile rank is also reported.                     This     shows    where      the her scores rank relative                  in the

 national comparison               group.        For example           if   the percentile         rank     is   45   it   would mean        that

 she scored       higher      than     approximately 45 out of 100 individuals                              her age.



 The WAIS-III          scores        should be interpreted with some caution                              because any individual

 may     score slightly          higher     or lower if tested          again     on a    different        day.


 WAIS-111    Test Scores




                                                                                            Percentile
              Scales                                      Score                                   Rank                               Category
              Verbal                                        82                                     12.0                            Low Average
          Performance                                       91                                     27.0                              Average
             Full   Scale                                   85                                     16.0                            Low Average



 Mrs. Lucios         Full Scale         score is in the            Low Average          range.      She scored higher             than

 approximately          16 out       of 100 individuals               her age     on   the combined              Verbal and
 Performance         tasks.
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                                                                                                                                                  5




 Index Scores            Summary



                                                    Sum of         Index                        95%
 Scale                                                SS          Score                         Conf.                         PR
                                                                                               Interval

 Verbal Comprehension                                 17            76                         71-83                          5.0

 Perceptual Organization                              24            88                         82-96                       21.0
 Processin          Speed                             22            106                        96-114                      66.0


 Her overall cognitive                 ability   as estimatedIQ is in the Low Average
                                                                  by the Full Scale
 range FSIQ85.On                                          Low Average range VIQ 82.
                                     the Verbal scale her score is in the

 Melissas Performance score is in the Average range PIQ       91. On the Indexes Melissa
                                                                                76. On
 performed   in the Borderline       on the Verbal                Index VCI
                               range               Comprehension
 the Perceptual   Organization Index she performed in the Low Average range POI       88.
 Her Processing              Speed Index score was within                   the Average                   PSI           106.
                                                                                                range


 Subtest      Scores Summary


 Verbal Subtests                                             Standard        Score-Age                                    Percentile



 Vocabulary                                                             6                                                 9
 Similarities                                                           7                                                  16
 Arithmetic                                                             9                                                 37
 Digit    Span                                                          8                                                 25
 Information                                                            4                                                 2
 Comprehension                                                          8                                                 25


 Performance            Subtests                             Standard        Score-Age                                    Percentile



 Picture     Completion                                                 6                                                 9
 Digit    Symbol-Coding                                                 13                                                84
 Block     Design                                                       7                                                  16
 Matrix     Reasoning                                                   11                                                63
 Picture     Arrangement                                                5                                                  16
 Symbol Search                                                          9                                                 37



 Mrs. Lucios            abilities      are markedly        discrepant        from each     other.         Her    abilities      to process
 visual     information          quickly      are   much    better developed            than her nonverbal               reasoning
 abilities       and her verbal          comprehension         skills.       Mrs. Lucios          verbal        comprehension            skills

 are less well          developed than her other             abilities.       A relative       strength in abilities                to process

 visual     information          quickly      may help      Melissa to process            more complex              information.           A
 relative     weakness          in   verbal   comprehension         skills         however      may make           it   more difficult         for

 her to apply       these       skills   in problem-solving tasks                  which are primarily language-based.

 Overall         her performance           across     these domains           is   scattered    and suggests            considerable

 variability       in   her abilities.



 MALINGERING AND RESPONSE BIAS ASSESSMENT

 Malingering            is   defined     as exaggerated        minimized and/or                distorted    signs and           symptoms
 of mental disorder motivated                    by   external   factors perceived              in the self-interest            of the
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                                                                                                                                                                             6




 individual.              The      issue of malingering                  is   so frequently       encountered           in    forensic evaluations

 that   it   should            be acknowledged               and addressed              in   each assessment.



 Interpretation                 of her obtained            profiles      on the personality             questionnaires                 is   possible.           She

 responded               in    a manner         that    permits valid            interpretation of her responses.                       She did not

 appear        to   exaggerate              or minimize signs or                  symptoms of mental               disorder that

 compromised                    interpretation           of her responses.              On the    MCMI-III             she    tended             to   magnify
 illness       and personal               distress.       She may have exaggerated                      some of        her    symptoms or                    she        is


 responding               to    considerable            stress    often encountered              with    incarcerated             individuals.               On      the

 MMPI-2             she        appeared         to   respond       in   a frank and open manner. She reported                                     many
 unusual        symptoms infrequently                            encountered with most women. She tends to be very self
 critical      and has low self esteem.



 On     the Sentence                Completion            Blank Mrs. Lucios                   responses         suggest       she maintains                    a

 relatively          naive         and simplistic approach                    to her life. She          has an unrealistic                  viewpoint about
 the problems                  she faces.       She focuses             much      of her emotional          energy on her family. For
 example            she        answered         the following            questions Her greatest worry                        is   my children
 needing        me        around for physical                    attention         She wrote        I    cant    wait        to    be reunited with

 myfamily            again               I failed       at being a       good mother. Men are supposed                                      to   respect

 women              It    is    evident      that      her self esteem           and identity are closely               tied      to    her role as a

 mother and wife. She seems minimally aware                                             of the serious implication                     of the charges

 against       her.       The      process        of denial and minimization is evident                           in   Mrs. Lucios                     viewpoint
 about being              re-united          with      her children.



 Her responses                   indicate       she tends        to repress        or deny      problems.        Rather than experience

 significant             anxiety she becomes                     physically        distressed with vague                complaints upsets and
 pain. She prefers to rely on medical                                   rather than          psychological explanations                           for     her

 problems.               She      is    aware    of being depressed                and often experiences                unusual              thoughts              and

 ideas.      She tends             to    see herself as missing opportunities                         in life and having                    a    series      of

 setbacks           and disappointments.


 She    is likely             to be dependent             and demanding                in interpersonal          relationships.                  She can be

 seen     as   immature superficial and                           unskilled        in relating to the opposite                    sex.       She tends             to

 assume the role of the passive                             and weak           child    if   approached         by a spouse stronger and
 protective           of her.           Similar profiles obtained                  by   other individuals          suggest             she       tries    to

 sustain an inflated                     view of herself that quickly                    erodes    in    interpersonal            situations.              She

 strives       to   portray             herself in an unrealistically                  self reliant      stance while feeling                         very
 inadequate              and      ineffective.




 She    is likely             to justify     her cycle           of self defeating            patterns of behavior                and        attitudes          by

 attributing             these characteristics               to    others.       She anticipates criticism and carefully avoids

 exposing herself                   to    situations       where        others     may       evaluate    her.    She    likely          has a history of

 disregarding                  social     conventions            and    rules.    She maintains          a cynical        attitude               and doesnt

 expect        others           to meet her needs.
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                                                                                                                                                             7




 DIAGNOSTIC IMPRESSIONS

 Personality        Organization


 Mrs. Lucio         presents      with poor verbal              comprehension          skills    and limited general
 intellectual       functions         that    compromised         much     of her     life    history        including          educational

 and work opportunities.                     She displays consistent         difficulty         in   sustaining meaningful

 positive        interpersonal         relationships         especially     after    her father left and she                    was sexually
 abused.       Poor verbal                                            also impair          her ability            benefit       from
                                  comprehension              skills                                         to

 traditional       interventions             such as substance         abuse treatment           and       likely      contributed           to

 ineffective       interventions             from Child Protective          Services.         Her personality                                           is
                                                                                                                              organization
 characterized        by repression               denial    and dissociation.         Dissociation            is      defined       as the
 isolation       of thoughts          from     feelings.    These processes           serve to        keep many important
 elements        of daily      life   from her conscious              awareness.       She quickly           numbs           her emotions

 and assumes a passive                                                 where    her emotions               are not
                                        empty presentation                                                               congruent with her
 external experiences.



 Her limited cognitive                abilities       and weak ego functions makes her vulnerable                                    to

 interpersonal        conflicts and misunderstandings.                      In times of significant stress                          she

 withdraws         into simpler concrete                   unrealistic and constricted               functioning             marked by
 passivity        denial acquiescence                  and resignation.      This pattern of behavior                        is likely

 associated        with her early childhood                  experiences     of abuse and             is   often identified in

 individuals        experiencing             prior trauma such as sexual abuse.                      An    abuse syndrome                  with
 resultant       post traumatic          stress       can be induced by covert               and passive                            as well       a
                                                                                                                      means
 victimization        with aggression                and violence.      From       early childhood               through        her first

 marriage        and into her present relationship                    with Mr. Alvarez               Mrs. Lucio              was     subject          to

 sexual physical and emotional                         abuse.   The abuse was known by                      others       but    no significant
 actions     were    ever taken          to protect her.        She learned         that    outcries were              ineffective         and        it


 was    better     to cultivate        a predictable         and secure abusive             relationship              than   risk losing

 family    and identity as a mother.



 Depression and somatic                  focus        for her distress     further isolates           her from important                   sources
 of support. Her moodiness and withdrawal make                                 it   hard for others              to    offer support          when
 she most needs                For example she turned                  away from professional assistance                              several
                         it.



 times her life       when       offered birth          control   interventions             substance        welfare          and assistance
 for   housing.



 Does    her personality              assessment and psychological                   dynamics resemble general                            factors

 identified in mothers                who     kill their    children These mothers are characterized                                   in the

 following        categories



                        1.     Mentally        ill   Mother-    Psychotic      episode
                        2.     Retaliating           Mother-revenge       against      the father

                        3.   Depressed           Mother-post partum within                    first   months           of    life
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                                                                                                                                                                  8




                           4.   Merciful          Mother-terminally               ill       child

                           5.   The      Battering     Mother-           Impulsive               murder with rage

                           6.   The Unwanted                or Unexpected


  Mother-According
               1996 to   U.S.     Department of Justice figures                                        in   child murder              cases    ninety

  seven percent of the offenders                      were       male.     One         out of four of these offenders                         had prior
 histories        of violence       and      sixty    percent      had previously                   served     sentences          in   the corrections

  system.        Mrs. Lucio has not been previously                            charged with assault or physical abuse. There
 are no reports of her being                      inappropriate          violent            or aggressive.            There seems             to   be a low

 probability that           Mrs. Lucio committed                    fatal      violence             against    Mariah when              factoring           in

 her personality            organization            past history and gender.                        She does not meet the                   criteria       for   a

 psychotic retaliating merciful battering                                or having an unwanted                         infant perpetrator.                 She
 has     likely    had episodes            of depression          during         her lifetime           but there is no evidence                     that    a
 severe      depressive          episode      accompanied               this    incident.




 What      factors might account                   for her demeanor                at       the time    of her daughters                 death      and her

 subsequent interrogation


 Traumatic          death       evokes      a variety       of   reactions.            It   is   accepted      that    there is no          normal
 reactions to        traumatic death just as people express                                      grief differently.         It   is   not     uncommon
 for people to have reactions such as the following



 shock

 anger
 guilt

 sudden      depression

 despair     and hopelessness



 Mrs. Lucio exhibits                a consistent pattern of psychological                                   numbing          often identified with

 victims      of violence          and abuse. During                the interrogation                  she     tunes out to the male

 investigator            who     raises    his     voice.    She eventually                  responds         with    resignation           to sympathy

 and softness            rather than confrontation.                 She        still    thinks she can reunite with her children

 and     fails    to understand           the implications           of her        situation          and statement.



 Interregation           Observations



 Mrs. Lucios demeanor                      in the interrogation                was          constrained        and her       affect      was       flat.   Only
 after    repeatedly        seeing        Mariahs           pictures     and       being          approached          in   an understanding

 manner           did she allow herself to have                    significant feelings.                    She then began to mourn her
 loss.




 In the interregation               Mrs. Lucio          denies       she    fatally           injured Mariah.              She   states       the older

 four boys would                fight    and horse around                  with Mariah.                She maintains             she did not use

 drugs      did not abuse           her children            and   that     her husband               did not abuse the children.                      She
 affirms she         has    been        testing    negative       for    cocaine.             She admits        spanking but              not to the

 point     like    the injuries          suffered by Mariah.
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 All   CPS Conducted              drug        tests




 Defendant       tests    positive      for    drug use cocaine        on
       1.    12/8/2004       and     amphetamines
       2.    2/18/2005

       3.    4/11/2005

       4.    4/28/2005

       5.    5/7/2005

       6.    8/31/2005

       7.    9/17/2005

       8.    1.0/6/2005

       9.    11/4/2005

       10.   12/20/2005

       11.   1/5/2006

       12.   1/10/2006

       13.   1/17/2006

       14.   1/26/2006

       15.   1/31/2006

       16.   2/7/2006

       17.   2/212006
       18.   In permanency          plan       filed   8/8/2005    Defendant admits   she uses   cocaine   4 times a
             month


Defendant        tests    clean    on
       1.    3/9/2006

       2.    3/14/2006
       3.    3/27/2006

       4.    4/4/2006

       5.    5/2/2006

       6.    5/9/2006

       7.    5/30/2006

       8.    6/29/2006
       9.    10/3/2006

       10.   12/20/2006

       11.   1/10/2007



Robert Alvarez            tests   positive      for drug use      cocaine   on
       1.    12/8/2004

       2.    12/20/2005

       3.    1/26/2005

       4.    8/31/2005

       5.    9/13/2005

       6.    1/3/2006

       7.    2/16/2006



Robert Alvarez            tests   negative       for drug use     on
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    1.   11/1/2005

    2.   11/6/2006

    3.   11/21/2006
    4.   12/20/2006
    5.   1/23/2007

    6.   2/6/2007



 Robert Alvarez refuses          to   be drug tested
    1.   5/29/2003        Mr. Alvarez refused          to   take a drug test.

    2.   6/13/2003        Mr. Alvarez refused          to   take a drug test.



 Miscellaneous



    1    11/9/2000        Defendant and newborn              infant Gabriel      Alvarez       test   positive     at

         childs     birth.   Defendant reports         to    CPS   that   she does    not care.      She had just used
         cocaine       one time.

    2    6/13/2003        Defendant gives birth         to   Sarah Alvarez.          Both   test   positive    for cocaine.

         Defendant       tells   CPS    she   accidentally    used cocaine       possibly      by    sharing     a cigarette
         with a neighbor.

    3    1/26/2005           12/13/2005          1/17/2007      lab rejects    specimen        from Defendant for
         drug   test
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 CPS Case Timeline


 1.   12/21/1995        First Report             to     CPS


          a.     CPS        receives       report       of neglect             supervision           of children            by     parent      Melissa
               Lucio.          CPS      finds insufficient                evidence         to   support          a finding        of neglect.          No
                 further information                 kept.




 2.   6/6/1998        2nd    CPS    Report


          a.     CPS         receives      report        of neglect            supervision           of children             by                Melissa
                                                                                                                                   parent
               Lucio.          CPS      finds     insufficient            evidence         to   support          a finding        of neglect.          No
               further information                   kept.




3.    11/9/2000        3rd    CPS       Report


          a.     Defendant             gives    birth        to    Gabriel       Alvarez.           Both        test      positive      for cocaine.

               Defendant           reports       to     CPS        she    did    not       care    that    she       had     tested     positive       for

               drugs.



4.    12/19/2001        4th    and      5th   CPS       Report


          a.     CPS        investigates         Defendant            and       husband           Robert Alvarez                after    2 different
               allegations          that      they     are homeless              with      their     children          and refuse         to        to    a
                                                                                                                                               go
               shelter.         The      children        are interviewed               and Selena               and Richard            Lucio    reveal
               that    their      parents       have         marital issues           which        involve           physical      confrontations.
               Defendant           denies        there        is              domestic          violence.            Mr.     Alvarez
                                                                    any                                                                     says    that

               Defendant           is   on occasion               depressed          and    at     times        to   the point         of wanting        to

               give     up.       Mr. Alvarez            denied       domestic violence                   but    admitted         to   an altercation
               that    occurred    at an Zavala                     elementary             school.        He     stated      Defendant         tried     to

               scratch        him and he pushed                    her back.           This       resulted in her                         herself        on
                                                                                                                             hurting
               her     nose.        Zavala           Elementary               School                        Yvonne                                  said
                                                                                           Principal                         Montemayor
               there        had    been         an     incident          in    which       Mr.      Alvarez            was    observed          hitting

               Defendant           on the basketball               court.




5.    5/22/2002        6th   CPS       Report


         a.      CPS     investigates           after    allegation           that   Gabriel Alvarez is seen in street                         chasing
               after    cars      and    that    a 15 year          old child         name unknown                    was caught having             sex
               with a 13 year old and 14 year old neighbor                                        children.          CPS                         found
                                                                                                                             investigator
               house          filthy     but      did        not     find       enough          evidence             to    validate       neglectful

               supervision.



6.    5/29/2003        7th   CPS       Report
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          a.     CPS         investigates           Mr. Robert Alvarez for sexual                                  abuse          and physical         of child
                 Melissa          Lucio        for inappropriately                      touching        her over        her clothes           and punching
                 her in the the            arm and                head.        Investigator          Martha Cano observed a big bruise
                 on Melissas               left    arm           that    was         green     and purple         in    color.                         Melissa
                                                                                                                                      Although
                 had been continuously                            running            away       neither Defendant                 nor Mr. Alvarez had
                 filed     a police            report.            Mr. Alvarez refused                   to   take       a drug        test.     Case closed
                 because Melissa Lucio has runaway                                           and cannot      be interviewed.


 7.   6/13/2003          8th      CPS     Report


          a.     Defendant              gives      birth to               Sarah         Alvarez.           Both        test                     for    cocaine.
                                                                                                                              positive
                 Defendant              reports         to        CPS.           Defendant            claims       to       have                              used
                                                                                                                                      accidentally
                 cocaine           possibly        by       sharing           a cigarette          with a neighbor.               Mr. Alvarez refused
                 to   take a drug test.



 8.   1/16/2004          9th      CPS     Report


          a.     CPS         investigates          Defendant                   and husband            Robert Alvarez                  after    allegation       of
               neglectful               supervision.                    CPS      finds        sufficient      evidence              and      validates         Mr.
               Alvarez and Defendant                              for    neglectful           supervision.



9.    8/24/2004          10th     CPS Report

          a.   Allegation               reported            to        CPS     from unknown                 reporter         stating     that     the   mother
               Defendant                  and the           father       of the Alvarez children                    are regularly heard                  yelling
               and         screaming              at        their         children            and     calling          them                              names.
                                                                                                                                   derogatory
               Allegation               that      there           is     domestic            violence        and       children        will      run     to    use

               neighbors                phones         to    call       911.         Children       are forced         to   ask                       for food.
                                                                                                                                   neighbors
               Parents            have    tried    to       sell       food stamps            to   people.     CPS          does not appear            to     have
               immediately                investigated                   this        until    2nd    allegation             made       on     9/17/2004         2
               investigations              are merged.



10.   9/6/2004        10th      CPS      Report


          a.     CPS       investigates            Defendant                  after     child      Mariah    Alvarez born               at    home.      She     is

               taken         to   the    hospital           the next           day but not tested              for drugs           until     later    when     the

               hospital           makes a          connection                   to    the     previous       drug positive              babies.        Mariah
               Alvarez            tests    negative               for     drugs.         Per Defendant                 one of her daughters                    had
               called for an ambulance                                after   Mariahs           birth but     gave the                        address.
                                                                                                                                  wrong


11.   9/17/2004          Mariah Alvarez                          is   ready to be discharged                       from       hospital         but parents
      cannot be found.



          a.   Defendant arrives                   at       the hospital              late    in the afternoon              for    a visit and informed

               of the pending discharge.
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12.   9/21/2004        CPS          Investigator               Ila        Amanda            De La Garza                      visits    Defendants               house

      and observes                spoiled           food      in    refrigerator                sparse             food        in     the     pantry        and      the

      strong odor            of urine in the                 house.           Investigator                  De La Garza                     also observes            the

      children      who were                  in their parents                care


          a.    Mariah            was     sleeping          on a bed where                   ants were             crawling           on     the mattress.           She
                had a small              light green bruise on her right                             foot.


         b.     4 year            old    Robert            Alvarez had             a dime            size        bruise        on his stomach                  an old
                scratch           on his stomach                   that    was     about        3 inches                long       and insect         bites     on     his


                arms and             legs.          He was           also had           2    staples        on      his      head       reportedly          from an

                injury he sustained                        from    falling      off the bed.

          c.    3 year        old Gabriel              had a        bite    mark        the size           of 2 quarters on                  his    left   shoulder

                multiple           scratches          on his face and multiple                            insect bites          on his arms and                legs.

          d.    2 year            old    Amanda              had      a     1-inch          linear        scab          on   the    top      of her        head      and

                multiple           insect          bites     on    her     back         arms and                legs.        Her body was very                   dirty

                with dried feces on her genital                              area.


          e.    1   year      old        Sara       was observed             to    have        a half-inch               cold       sore     on the bottom              of

                her lip and multiple                        insect bites        on her arms legs and body.                                    She had an open

                circular          mark on            the     right        side of her body                 that         appeared        to    be infected with

                puss.        Her body was very dirty with dried feces on her genital                                                          area.

          f.    On    9/21/2004                    CPS     Investigator           Ila   Amanda              De La            Garza drug tested Melissa

                Lucio         and she              tested    positive        for cocaine                  but     denied drug use.                    Mr. Alvarez
                admits        that       he smoked a                roach          about        a   week ago and done cocaine                               a couple

                of days before.                    CPS       conducted            a check           on Ms. Lucios food stamp                                case     and

                found         that       she       received          $126       deposited                 into      her      food      stamps account                   on

                9/3/2004            and by 9/8/2004                  she only had $5.00                         left.




13.   9/21/2004         CPS          removes               5 youngest             children           the Alvarez                    children             and    places

      them     in foster care.                 \




          a.    The Lucio                children          are placed with their biological                                  father.        He     and Defendant

                agree        to    not    let      Lucio     children        live    with Defendant.

          b.    Children           removed            because Ms.               Lucio         as     listed        on the removing                 affidavit

                        i.        tested positive             for cocaine

                      ii.         been involved              with         CPS     before       and been provided                       with services            yet
                                  continued           to    use drugs
                     iii.         could       not provide            a safe placement                     for    the children           i.e.     with a friend

                                  or family          member
                     iv.          had an unsanitary home

          c.    Father        Roberto Alvarez was supposedly                                         in    Houston             and could           not     be located

                we      could           not    give        him the children
          d.    Children            were not enrolled in school
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14.   9/21/2004         Emergency                  Removal         approved             by Judge and an Order For                             Protection
      of a Child in an Emergency                             and Notice              of Hearing             is    signed        by   District      Court
      Judge M. Murray


          a.     Fernando         Galvan       AAL  is   appointed
          b.     Jackie       Church
                                   appointed GAL
                                              is
                                                  no attorney-client                                              privilege
          c.     Olga Barron is appointed AAL for Melissa Lucio
          d.     Javier Solis is appointed AAL for Robert Alvarez

15.9/29/2004             Adversary                 hearing        reset      to    10/2004        CPS       Judge          is
                                                                                                                                only allowed            one
      reset


16.   10/5/2004         Adversary              hearing held.


          a.     CPS was          granted           temporary managing                    conservatorship             of the children.


17.   11/16/2004             Status     Hearing            held.



          a.     Family and Children plans                         accepted         by    the     CPS      Court.

          b.     Court finds the parents                    are doing         ok
18.   February 16 2005 Permanency                                    Review Hearing


19.   4/5/2005      Defendant             overdoses on aspirin


          a.     Per    CPS      Report            Defendant claimed                 she    thought         she    could        take   more because
                 they    were     generic           aspirin



20. 5/18/2005           HPD           files    charges           against          childrens         oldest        brother         John Lucio            for
      sexual   abuse          of younger            children         and     against        Defendant             and Mr. Alvarez.


          a.     Mr.     Alvarez admitted                   to    CPS      that     the    children         had told him               that    John     was
               touching          them inappropriately                     and he had told             Johnny           to               it    and he    did.
                                                                                                                                stop
               Defendant              denied        ever    know      about the abuse.



2     5/18/2005         Permanency                 Review Hearing


          a.   Court finds             Dept         needs    to    meet      BFs needs            better     and    that    M     is   now
               compliant
                        i.    F completed                psychological            but    did not complete             individual             services   or

                               completed parenting.                   F    did attend         an outpatient program but F told
                              caseworker Elizabeth Rodriguez                               that   he had been discharged                       from the

                              outpatient           program be he was                    testing   positive         for cocaine.          F    admits    to

                              use and         is testing         positive.
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                     ii.     M completed                  psychological              but     did not complete              individual        counseling
                             or complete parenting.                         M      completed substance                    abuse assessment and
                             was on          the waiting            list for       drug counseling.                 M   tests    positive        on
                                      1.     2/17/2005

                                      2.     4/11/2005

                                      3.     4/28/2005

                                      4.     M overdosed               on aspirin on 4/5/2005                       thought       she     could take
                                             more be           they were           generic         aspirin
                    iii.     M caught with                     other group of children                   the Lucio children and John
                             Lucio          15          Melissa Lucio              13       test    positive    for     coke and admit                to

                             using.          Daniela           17     is
                                                                           pregnant         and denies         use.

                    iv.      FPS worker                 reports that          at   this    time     the condition              of the parents          home
                             is filthy




3 9/14/2005          Homestudy                on maternal              GM Esperanza                  Trevino



        a.     HS    found favorable                     but    recommends                that    mat    GM    be allowed           90 days        to

               contemplate                 the placement of the Alvarez children with Mrs. Trevino.



4 9/15/2005          Permanency                Review Hearing


        a.     M admits in permanency                            plan      filed     8/8/2005         that   she uses          cocaine     4 times a
               month
        b.     By agreement                 of parties           transfers         PMC       to    the   DEPT         w/   approval         of court so

             parents         can complete services
        c.     DFPS        is   appointed               PMC      parents           are    PPCs and        child      support       is   ordered
        d.     Robert Alvarez                  is       found     to be       BF     of the children-child                       support     ordered         on
             him
        e.   Visits are chaotic                    b/n    parents          and children



5 9/27/2005          CPS Judge                Flores           signs    Employers Order Withholding                                     From
                    for Child Support                      for both
    Earnings                                                                  parents for all children                     including Mariah


6 2/14/2006          Placement Review Hearing



        a.   Court finds              that    BM         is to
                                                                 go    into       Rehab
       b.    Robert Alvarez                   is   in    Cameron County                    Jail for      unpaid child support               for        his

                           children
             other                          not in this          cause and           possibly           a charge      of burglary

        c.   HS     conducted               on maternal             GM       re-introduced               as option-court                orders    to    place
                                children                               with
             asmany                                as   possible                   her.

        d.   DFPS to            let    M and Ms                AAL know              what        M needs       to    do   to    get children          back


21. 2/16/2006        CPS        receives            allegation             that     4 year old Alexander                       Lucio      was     sexually
    abused     by older sibling John Lucio                                   and he          told    father         Robert        Alvarez        who         did

    nothing.      CPS           finally does              an investigation
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        a.     CPS         receives               report       that       4 year            old       ALEXANDER LUCIO                             was     sexually
               abused           by      older           sibling           JOHN LUCIO                        Alexander             claims     he    told    Robert
               Alvarez
        b.     CPS         investigates                  allegation                 and        finds        older     Lucio         children       living        with
               Defendant                and            Mr.     Alvarez                   despite        previous        agreement            with       CPS       that

               children          1       were           to   live     with          their      biological        father      in   Houston         and    2     were
               not    to    live     with Defendant.                        CPS            drug       tests   the   Lucio      children        and Defendant
               and Mr. Alvarez.                         All test positive                   for cocaine             except     for    16-year-old         Daniela
               Lucio        who      is      pregnant.



22. 3/4/2006         Defendant                    leaves       Amistad                   after        only 2 weeks            of     in-house substance
    abuse    treatment because                           she       felt   violated.



        a.     FPS     placed           her       on a       waiting           list      for    Charlies Place               who     rejected      her because

               she    managed                to   keep       clean        for       the past 2 months.




23. 3/14/2006         Supervised                   Visitation



        a.     During           visit   with child Rene                        at    the    CPS        office    M    tells   Rene      that    she     was
               going       to    be admitted                 into     rehab          and       that    she    was going        to    leave     Robert     after

               was    out       o fjail.          M     tells      child       that       she     was    better off without            Robert.          Now      that

               she    wasnt with him                         she    stopped              using        drugs    and she had money and a                    car.




24. 4/4/2006         Special         Hearing


        a.   DFPS           asks     for special hearing                            to   place        child   Rene with           maternal      GM       but

               instead          gets information                    from childs therapist                             that   child needs          to   be sent     to

             RTC           so hearing              is   recessed          to     May 3            2006


25. 5/3/2006         Special         Hearing


        a.   Child Rene                 is   sent for an assessment                             at    McAllen        Behavioral         Center
       b.    Court orders                DFPS            to start weekend                       visits   for    children      with maternal             GM

26. 7/19/2006         CPS         receives              allegation              that        17 year old daughter                     Melissa Lucio               and
    her 5 month old son                           is    living with Defendant                            and     that    the      living conditions               are

    deplorable.



       a.    All       the        adults           were            drinking               beer        and     daughter         was      using          marijuana.
             Defendant                  was             getting           into           fights        with     neighbors.                 CPS         discovered

             Defendants                  current paramour                           is   Gilbert Salinas.              Allegations           are investigated

             and ruled out by CPS.




27. 7/26/2006         Placement                   Review           Hearing
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        a.   BF    still     in jail since February                         of 2006
        b.   Finds       M       is testing        clean

                    i.
                            Drug        tested      on 3/9/2006               3/14/2006          3/27/2006         4/4/2006             5/2/2006
                            5/9/2006

                   ii.
                            Completed a 2nd drug assessment                                    on 3/6/2006        which recommended
                            in-house           drug treatment
                 iii.      M enrolled               in Amistand              but only stayed           for 2    wks leaving on
                            3/4/2006           be she         felt   violated.           FPS    placed     her on a waiting                list   for
                            Charlies Place                    who     rejected her be she             managed           to   keep clean for the
                           past 2 months                 however Dept                     in their
                                                                                                      summary blames                   M   for    not

                           going         to   Charlies place                 and recommends              termination
        c.   Appoints             M JPMC with                  DFPS who              is   primary
        d.   Orders children                  to   be placed          with mat           GM once       she   is   impled and served


28. 11/14/2006           Placement             Review Hearing


        a.   FPS     reports in permanency                           plan    filed       11/13/2006      that     all   kids including

             problematic               ones        are doing          fairly well

       b.    Parents             progress
                            i.     Both attending                therapy       with        VINCE CASTILLO
                           ii.     M     testing         negative         and F     tested      negative     11/6/2006             prior to        that   he
                                   was        in jail

                          iii.     M has           a job working             with Elder Care in San Benito working there

                                   since August                2006
                          iv.      F    has    started        working         for    a photography           company              F reported         he
                                   was going             to    starting      learning      how to take photos
                           v..     On      11/8/2006            M provided               DFPS with an address                 where        parents
                                   would be living                   in   a 3 bedroom           FURNISHED APT                      at   discounted

                                   rent be         F would be             the apartment           complexs maintenance                       worker.
                                   FPS worker                 visited and all utilities were                 connected
                         M gave a support system Ms adult daughters
                          vi.

       c.    Court finds      M testing clean
                                       that         is

       d.    Court finds     M and F are working
                                    that

       e.    Court finds FPS has checked out M and Fs home and finds                                                         it   ok
       f.    FPS    asks         for   weekend            visits      b/n    children and parents

       g.    Court orders the children                          be placed       with          M and F
                                              Tol_              J1            C      1
                                                                                         l_      DA

29. 12/15/2006           CPS        receives             allegations           that        Mr.    Alvarez          is    physically              abusing
   Defendant         he and Defendant                          are neglecting                 children and         that       the       family about
   to be kicked          out of their apartment.
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          a.   CPS     closes      investigation              after    talking     to      the caseworker Angie                  Romo   who
               says that    household            is   just chaotic         due             so
                                                                                      to        many        people       living in same   place.

               She says she has given                                  $600
                                                          parents                to
                                                                                      pay for     rent.




30. 2/17/2007       Special        Hearing


          a.   Judge     approves             FPSs        re-removal       of the children based on unavailability of

               parents     both        incarcerated



31. 4/3/2007       Placement             Hearing


          a.   Children     provided            with grief therapy               with       Patty Navarro                great   W
          b.   Court orders            that    children        can meet with parents
          c.   DFPS      had not been providing                       sibling visits            need    to    be   set   up


32. 8/14/2007       Placement             Review           Hearing


          a.




33. 8/21/2007      Notice         to the       court


          a.   Child Gabriel Alvarez                      6   years    old    hospitalized             at    South Texas         Behavioral
               Center on 8/1/2007                released         on 8/16/2007
          b.   Given psychiatric               evaluation

               Reports     that    child       masturbates             in public refuses
          c.                                                                                           to    wear shoes aggressive
               with his    foster        peers
          d.   Diagnosed         with         ADFID           ruled out post traumatic                 stress      disorder



34.   7/31/2007    Notice to the Court


          a.   DFPS      files    favorable          homestudy           on childrens             maternal          aunt Diana Cerda



35. 11/8/2007      Gabriel admitted                  to    South Texas Behavioral                      Center



36.   11/9/2007    Notice         to the       Court


         a.    Child Gabriel Alvarez                  6       years    old    hospitalized             at   McAllen        Behavioral
               Center due         to   erratic    behavior

         a.    Child Monica             Gamez        16        years    old   is      on runaway            as of 10/26/2007



37.   11/13/2007     Special           Hearing


               Children     be placed           w/    maternal
         a.                                                             aunt Diane Cerda except                          for Gabriel    Alvarez


38.   12/13/2007     only Sara and Adriana placed with maternal aunt Diane                                                        Cerda
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           a.    Requests        that      only Adriana and Sara                  be placed     with       aunt Diane Cerda.           Report
                 does not give             reason     why        didnt FPS didnt obey courts                       earlier   order and     why
                 FPS only wants two                   girls to      be placed.



39.   1/14/2008      Sonya Chavez goes to HPD and says that over the Christmas break
      child     Adriana Alvarez made an outcry of sexual abuse against foster father


          a.     Sonya      Chavez            says she       told the       local   CPS     prior to        this   and they      failed to   do
                 anything



40.   1/14/2008        SANE        exam         for child         Adriana Alvarez


          a.     No    physical         evidence       of sexual abuse


41.   2/13/2008        Diane        Cerda          requests         that     Sara     and Adriana               be removed           from her
      household.



          a.     CPS    removes            child   on 2/14/2008


42. 2/14/2008          Beto Juarez             first                         session      with Melissa Lucio
                                                       counseling


          a.     Gives her past history                to    the counselor                                      about
                                                                                    really graphic                      drug use
          b.     Defendant         says        that    her       daughter      fell      down    the       stair   from      their   2d    story
                 apartment and died


43.   2/21/2008        FPS       files   a completed              home      study on Sonia Chavez


          a.     Home       study        is   positive        but    Sonia        says    she   has    too         much      going    on   right
                 nowa     nd cannot take care of the boys
          b.     Matergal        Grandmother             Esperanza Trevino                also resides in her household



44.   3/5/2008      Beto Jug.rez              2d   counseling             session    with Melissa Lucio


          a.     Defendant         still    claims     that      childs death         was an     accident

          b.     Counselor sees Melissa Lucio                         express       much    anger



45.   3/5/2008      Beto Juarez               Is counseling           session       with Roberto            Alvarez


          a.     Has   9 children          with Melissa Lucio
          b.     Admits     to    using       rock cocaine           on the days leading                   to    childs death
                                                                                                      up
          c.     Admits     that    wife does have a                bit    of a temper



46.   3/14/2008        Placement              Review        Report        Filed



          a.     Kids have been returned                    to    foster    care
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 47. 3/14/2008         Beto Juarez               3rd counseling                 session      with Melissa Lucio



          a.     Melissa Lucio               got into          a fight        with    another     jailed inmate
          b.     Beto Juarez observed scratches                                 on Lucios         face

          c.     Lucio     now       claims           that     her step         dad sexually abused                her   when      she     was    7 years

                 old

          d.     Lucio refuses             to    talk     about         the bite marks with her therapist



 48. 3/14/2008         Beto Juarez                2d      counseling             session       with Roberto             Alvarez


          a.     Says he was not                      father       of Mariah           but     he loved        her      like    she     was     his       own.
                 SAYS         HIS     WIFE TREATED                            MARIAH DIFFERENTLY

 49. 3/14/2008         Beto Juarez               4th
                                                         counseling             session       with Melissa Lucio


          a.     Observed           that   Lucio         still     hobbling           from her        fight   with inmate
          b.     Blames       drugs        for all       her ills



 50. 3/27/2008         Beto Juarez               3rd counseling                  session       with Roberto           Alvarez


          a.     Talks     about      feeling           trapped          by system-wants                 to              children
                                                                                                              get his



 51. 4/10/2008         Beto Juarez               4th                            session       with Roberto            Alvarez
                                                        counseling


          a.     Stresses that           Lucio        did not have              a history of abusing               her children

          b.     Talked about              delivering             Mariah on the kitchen                  floor



 52. 4/10/2008         Beto Juarez               5th    counseling              session       with Melissa Lucio


          a.     Lucio     is      upset        about her 5 year old daughter                            was                     abused
                                                                                                                   sexually                     by    foster

               parents

          b.     Lucio     goes       into       detail        of the day of childs accident                             she     say that       after      her

                 child   fell       she    was        still       awake        and nothing            really seemed            wrong with her               so
                 instead      of getting her                 to    the hospital          she     wanted       to   not   say anything           because
                 she.was           afraid that            if      she    told    her     husband          he would             attack     her   verbally

               saying she was not a good mother


53.   5/2/2008      Beto Juarez                 6th
                                                      counseling              session        with Melissa Lucio



          a.   Lucio       got in trouble               with some other                  girls   and her       visitation        rights    were       taken

                 away from her
         b.      Says she          had     to    write        her       husband        and     tell   him     the truth        about     her daughter

                 and   that     he was not the father of the child

         c.      She did not want                  to     do      it    but   knew      it   would      be brought         out     in court          so    she

               wanted         to    tell   him        before       finding       it   out from others
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54. 5/2/2008      Beto Juarez           4th                     session       with Roberto         Alvarez
                                                counseling


         a.    Talks    about     letter    he received         from Lucio        telling    him he was       not    the father of

               Mariah    received          it   almost      2 weeks       ago

55. 5/28/2008      Advisement              to the    Court in         twins     cases


         a.   Paternity       results
                                          prove      that    Roberto Alvarez         is    the   father of the       twins Aaron
               and Adrian Alvarez


56. 5/23/08     Permanency              Plan and Progress Report                   Filed     for the   Twins


         a.   Melissa Lucio          gets to        visit    with the twins        at jail   through    glass    window      they
              hear her voice        through         a   phone


57.   6//2008     Attorney         Olga Barron              files   an original      answer       on behalf of her client
      Melissa Lucio


         a.   Asserts     a     general       denial     each       and   every    material      allegation     in    Petitioners

              Original    Petition



58. 9/17/2008      Date       of re-set Termination                 Trial
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CPS Workers


   1   Initial   Removal       Investigator      Ila   Amanda De La Garza         September    2004

           a.     no longer with        CPS
   2   First    Conservatorship         Worker       Elizabeth    Rodriguez     September   2004-May   18
       2005

   3 Second        Conservatorship        Worker        Theresa     Terri      Chavez   June 2006

           a.     Worked      briefly    on   this   case   horrible   witness

   4   Third Conservatorship             Worker        Angie     Romo May     18 2005-October 2007
           a.     Moved      to   McAllen     CPS      officer    as an Investigator

           b.     Horrible     Witness

   5 Re-removal         Investigator        Florence        L. Arreola   February 2007      Still an

       Investigator     with      CPS-great witness
   6   Fourth Conservatorship             Worker       Johanna     Estrada    October 2007-present
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                                  Case   Name             Melissa Lucio

                                    CPS Case Chronology


Principals



Melissa Lucio                        Mother.                     DOB       6/18/69      37 y/o

Guadalupe      Lucio                 Father    to 5 oldest       DOB       7/25/64.     42      y/o

                                     children

Robert Alvarez                       Father    to                DOB       7/23/70      36 y/o

                                     7 youngest       chn.

Daniella    Lucio                    Oldest daughter             DOB       4/23/87       19 y/o

John Lucio                           Son                         DOB       12/19/87       19y/o

Melissa Lucio                        Daughter                    DOB       8/2/88.       18 y/o

Alexandra Lucio                      Daughter                    DOB       6/12/91       15 y/o

Selina    Lucio                      Daughter                    DOB       6/29/92       14 y/o

Rene Alvarez                         Son                         DOB       2/25/97-         9 y/o

Richard Alvarez                      .So                         DOB       1/21/98          9 y/o

Robert Alvarez                       Son                         DOB       10/4/99          7 y/o

Gabriel     Alvarez                  Son                         DOB       11/8/00          6 y/o

Adriana Alvarez                      Daughter                    DOB       6/15/02          4   y/o

Sara Alvarez                         Daughter                    DOB       6/12/03          3 y/o

Mariah Alvarez                       Daughter                    DOB       9/6/04           2 y/o



Case History


The   following     case    history could not be found             under Impact but was

documented        under the Case         ID    24168149


1.   Case   ID    15051867-On December                 21 1995         Child Protective         Services

received     a Neglectful        Supervision        report   on Daniella Alexandra Selina
John and Melissa           I.   Lucio.   The   case    was    ruled out.



2.   Case   ID    17061540-1996            NSUP       of Melissa       Daniela       John   Alexandra

Selena by an      unknown          AP. The case was          R/O   and closed.



3.   Case   ID    23477236-On June             6    1998     Child Protective        Services         received

                                                                 Lucio and Rene Alvarez by                  their
a Neglectful      Supervision        reporton Daniella
biological     mother Melissa Lucio.                The   case   was   ruled out with factors

controlled and the case            was   closed.




                                                                                                                 1
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     4.   Case    ID       24168149/Unit                  24                   Caseworker             Debra Deleon
     Date of Intake                  11/9/00        PI

     Allegation            PHAB
     VC      Gabriel

     AP      Melissa Lucio parent

     Reporter         Cindy           Moody CommunityAgency
     Disposition               RTB         Risk Indicated

     Case Action               Open        case    to    Intensive        Family Preservation                    11/30/00-4/29/01


     Intake       Ms. Lucio and Gabriel                        tested positive              for cocaine.          Gabriels
     APGAR         rating was between                      9 and     7.    His birth weight was 5lbs 10 ounces.
     Ms. Lucio did not get any prenatal                                                     her
                                                                     care       during             pregnancy. She admitted
     to using      cocaine           before        she    gave   birth.         Ms. Lucio stated                  This was the          first


     time    I   used cocaine.               Ms.         Lucio did not care                that    she tested positive            for


     drugs.



     Investigation              It   was     learned       Gabriel         was born          at   35 weeks         gestation.         The
     siblings      Daniella John Alexandra Selina                                            Melissa            denied- drug usage

     by the parents.             An Uncle                Richard was mentioned                      as using       drugs

     drinking.       He        was     to   be living        in the       home        at   one time.        The       younger
     siblings      Rene         Richard                  Robert were not interviewed                            due   to their   young
     age.    Ms. Lucio           admitted           to    using cocaine              for the      first   time out of curiosity
     with    a   friend.       She     also       admitted to not receiving                       prenatal       care.    Ms. Lucio

     could not say             why     she    decided          tot        cocaine          while pregnant.               Mr. Alvarez

     was notified of the drug                      results         expressed being upset.                          e family          was
     having financial                      housing problems.                    They were due              to   be moving out of

     their   home by           the end of the week.                   The        family      had no water but was

     obtaining       it   from a           neighbor.        The home was                   found     to   have     several floor

     heaters that         were accessible                 to the     younger          children.           The    investigation

     concluded        RTB            for   PHAB          of Gabriel            by Ms.      Lucio.         The case was       referred

     to Intensive          Family Preservation                   Services.



     Comments/Concerns.                        I   could not determine by the documentation                                     if


     Gabriel      was      voluntarily placed out.                        It
                                                                               appears      he was        left in the      home.        I


     dont know            if   we     spoke        to the parents              about the Uncles drug usage

     whether       he had access               to the children.                 It   would have been              beneficial         to find




                                                                                                                                                2
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     out the circumstances                    regarding         Ms. Lucios        drug usage                       whether       the
e4
     children had been                 w/her        at the time.        I   dont know      if      we        obtained       the friends

     name           spoke        to   Ms. Lucio about keeping                   the person           away           from the

     children.



     In-home        Services            Caseworker                Maria B._Monreal             -
                                                                                                     -   -
                                                                                                               -




     The     case    was opened               for in-home            services     from     11/30/00                 to   4/29/01.            The
     services        offered           to    the      family        were      substance            abuse            treatment              which
     included        random drug                   testing    by    New      Beginning.             Individual             therapy was
     also offered.          to   the older children                 Melissa and Daniella                      and     family         therapy.

     Parenting         classes              and      homemaker              services    for         Ms.            Lucio        were         also

     provided.        The agency                  also assisted the family             with        concrete           services        to help

     pay the deposit                  on an apartment               and connection of water and pay a                                       light

     bill.     The     agency               also     gave     the    family donated                 items           such        as   diapers

     clothing        supplies          for the children and                 Christmas    toys.



     The     family       did participate                with     services.      Ms. Lucio                   participated            with the

     substance        abuse treatment.                   Home-based            therapy     was           provided.              All of       Ms.
     Lucios         drug. test results               were negative           for drug use.               Ms. Lucio              completed
     the     homemaker services.                       The home was found                 to       be clean              and     well       kept
     The      children       seemed            to     have      their   basic. needs          met.            Ms.        Lucio        did    not

     complete        the parenting                 classes.     Ms. Lucio       attended           two        out of ten parenting

     classes.       Ms. Lucio did                 receive     parenting       in the therapy                 sessions       homemaker
     services       and     during           home        visits    with the      CPS      caseworker.                    The         children
     Melissa and Daniella                     also participated             with individual              therapy.



     The     family       was         able    to    reduce the risk of abuse.                      The family              is    stable and

     able to      function            without the help              of Child Protective                  Services.              The     family
     continued         to    have           financial        problems.         Mr.     Alvarez               had     been        unable        to

     maintain        a stable job.             Mr. Alvarez worked odd job and was waiting                                             to    work
     with     Mayflower               trucking.



     5.    Case     ID      24168149/Unit                                   Caseworker             Cristina Villanueva

     Date of Intake               11/9/01           P2

     Allegation           PHNG
     VCs       Alexandra               Celina         Rene Robert            Gabriel Richard                       Daniela       Melissa

          John

     APs       Melissa Lucio                       Robert Alvarez            parents




                                                                                                                                                   3
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Reporter            Sandra McKinney/Nurse                          Yvonne         Montemayor/School
Personnel

Disposition              RIO    Factors       Controlled

Case Action               Close case



Intake      It is     known      that      the familyis_homeless.                  They have             been-living-in-the

park-next       to    Zavala Elementary where                      SB     10     y/o    f    and    SB     9     y/o    f    go   to

school.        It   is   known      that     the school       has been          giving       the family          food for the

children.      Ms. Lucio and Mr. Alvarez are refusing                                   to   go    to   any type of
shelter.    It is    known      that       the     OV   and SBs have             gone        around       to    relatives


asking     for      meals     but that       the relatives         have        been very reluctant                to help        the

family.



Intake      A       2d.    referral   was        received     on       this family       on    12/11/01.           The      family

has    been homeless for the past month                           to    6 weeks. They are often seen

sleeping       in a      park near Zavala            Elementary School.                  The       children rely            on    the

school     for food and hygiene.                   There     is   a shelter       in the area           that would           accept

the family          however         they     would have           to    leave    daily by 8am. Ms. Lucio has

not sought assistance                from the        shelter      due     to    the provision            that    she    must be
out    by 8am. Ms. Lucio                is   not making .an attempt                     to better the current

situation      despite       numerous            referrals    from concerned                 individuals.



Investigation               The 2     referrals      were merged               in to   one     investigation.               Five of

the children         were interviewed                Selena        Alexandra             Rene           Richard             John.
Two      of the children Selena                      Richard            did reveal       the parents            having marital
issues which involved                   physical        confrontations.             They       relayed          the    arguments
were about          financial       matters         One      of the children Selena                      stated the parents

would      drink beer            smoked marijuana on                      Fridays.           The   other        children

admitted       to    the parents drinking                    smoking.           They described                  the parents

using    physical          disciplining w/their              hands       on. their      buttock area hands

head.     Selena             Alexandra added                that they were             also hit w/a            hanger.       The
children did not describe                    being physically             abused.        The       children           spoke of
how     they    were currently living w/a relative but had been moving from place

to place.       One       of the children           Richard            did admit to staying                at a       park for a
while.     The       family     was     staying         w/a friend Lisa            Camacho              except        for   Daniela

      Melissa       who     were w/their           maternal grandmother.                      Ms. Lucio was
contacted                she admitted         to   having problems locating a                       home         for her family.

She had        already       contacted        a couple of community resources but was                                        told

there    was no          funding.      Ms. Lucio had plans                     to eventually            get her 2 children
back     from her mother Esperanza                          Trevino.       She explained                 that    part    of the




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problem was          that       she     was no           longer    receiving        child support             from Mr.

Guadalupe         Lucio.          Ms. Lucio denied there being domestic violence.                                              She

admitted      to getting into                arguments            but that       Mr. Alvarez would walk                        away
Ms. Lucio denied                 physically             abusing the children               but did use physical

discipline methods.                   Mr. Alvarez denied the family sleeping                                    at the   park        but

did stay w/various                friends at night.               This occurred            for   approximately 2
weeks.      Mr. Alvarez described                         how Ms. Lucio was depressed at times to the
point of wanting to give up.                            He denied domestic violence but admitted to
an altercation           that    occurred           at   an Elementary school.                   Mr. Alvarez             stated       Ms.
Lucio attempted             to scratch             him          he pushed         her back.         This resulted              in   Ms.

Lucio hurting herself on the nose.                               Mr. Alvarez denied physically                           abusing
the children.         He        admitted           to   occasionally            spanking     the children                 initially

had problems w/them because                               he   did not      know how          to    handle children.                 Mr.
Alvarez denied drug usage but admitted                                      to using       marijuana            when     he was

younger.      The        school         counselor             Sandra  McKinney was contacted                                   relayed
that    the family had been                   referred to         End of the Road Ministries but                              the

parents     refused        to    go     there.          The   school had planned on                 assisting        the family

w/housing            the        first   months electric                 bill but they put           it   on hold         since Mr.

Alvarez was making no                        efforts      to get a job.           The     school     principal           Yvonne
Montemayor was                   contacted                she described            an incident           that    occurred on
10/31/01      where Mr. Alvarez was observed                                    hitting    Ms. Lucio on             the

basketball        court.        The home was                  old and      the    home      environment was

observed            found        to     be cluttered               had an        overall    lack of cleanliness.                    The

family was primarily living                         in    one of the bedrooms                that    consisted           of a bunk

bed        one twin bed w/a rug on the                            floor.        Case was     R/O     for        PHNG          of the

children     by    the parents.              Case was           closed.



Comments/Concerns                        The       date       of the    first    intake    was 11/9/01             but    we        did

not see the family               until       12/19/01.          It is unknown why we waited so long                                  to

initiate   the investigation.                  I    could not       locate where we interviewed/observed

all    the children.        There was interviews/observations                                missing on Melissa
Danielle Gabriel                      Robert.           These     children        were     named         as   VCs.        I   did not

find    where we spoke                  to   Ms. Lucio about               possible        drug usage or attempted                        to


drug     test her          Mr. Alvarez.                  We    spoke       to   school     officials       as    collaterals but

I   did not find where                we     inquired         about     how      the parents cared               for their

children.     In order           to clearly rule               out a case         we    needed      to    speak     to

collaterals       that    could verify the parents were appropriately                                      caring        for their

children.     I   did not find               where we           contacted         Mr. Guadalupe                 Lucio     absent

father to notify           him of        the investigation.




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6.   Case    ID       24168149/Unit                                    Caseworker           Julia        Trevino

Date of Intake               5/22/02       P2

Allegation            NSUP
VCs      Gabriel              Robert

APs      Melissa Lucio                    Robert Alvarez                parents

Reporter           Hermelinda Cordero

Disposition            UTD          Risk Indicated

Case Action             Open        to   Contracted Family Preservation                         8/16/02-6/4/03


Intake       Last      weekend           Gabriel       was seen         in the street chasing                  after   cars    He
continues        to   be     in the street during               the day. Ms. Lucio             was told about the
incident     and her response                  was    to get      mad    and state          mind you own
business.          There       is   a convenience               store around         the corner           from       the   home



14-year-old
and Gabriel           walks on the          street         to this store.      The 15         y/o    f SB/UK was
caught      last   week       behind some apartments                      having sex with                 a 13 and

      neighbor hood children. They were not related and not household
members.         Ms. Lucios              response.         to   being told was the            same            Mind
                                                                                                              you own
business.          The familys water                   has      been turned off for a               month. The family
is
     flushing      the toilets with            buckets          of water and the            home         is   not in a state      of
PHNG.       It   does not appear               that    there      is   very   much     food     in the         home        but the

children     do       not appear to         be losing weight.                 The     parents       are using          their   food

stamp    money          to   buy     marijuana.            The    smell of marijuana                is   continually

coming from            the home.          When        the children call at the door to the parents

many     times        the parents         do   not respond.



Investigation              The      children admitted to the younger                         siblings          following       the

older siblings to a convenient store nearby.                                  The younger                siblings were
allowed      to play         outside      in the front yard.             Daniella       revealed              the younger

siblings did not listen to                 Ms. Lucio when she                      called   them         inside.       Daniella

did not..give_.any            information         regarding            her sexual      behavior.               The     children

denied Gabriel             being allowed              to    go w/the      older siblings            anywhere            unless

Ms. Lucio was              present.       Robert was             known        to   follow     the older siblings

including        crossing        the street.          Robert was observed                   during        the   home       visit to

crawl    out a     window           to   go outside.            He     screamed       at his   mother                  used cuss

words.      Some        of the children               Richard Renee                 Melissa              Selina were not
interviewed.           Ms. Lucio denied                    the allegations.          She admitted               to   the older

siblings supervising                 the younger            siblings in the back             yard.            Ms. Lucio
mentioned          Mr. Alvarez was presently incarcerated                               for back              child support.

She expressed                Bing    stressed w/Mr.              Alvarez not being present                       to assist     her

w/the    care      of the children               w/Mr.           Guadalupe          Lucio not paying child



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support           on a consistent               basis.      Ms. Lucio informed                        she had been having

behavior problems wlMelissa                                 because           she   was        staying     out late            had not
returned          home            last night until          the next          morning.           She went on            to    say that         she

caught Danielle                    talking      to 2      men who             are   20    to    30 years       old.    Ms. Lucio               was
also stressed because                      Melissa told her she had gone                               out to eat w/one              of the

men.         She was attempting                      to    get identifying information                         on   the   men        so she

could       call     in     a report       to the police.               Ms. Lucio did not believe                       her daughters

were sexually                 active.          She    also spoke about problems she had had w/John

because           he was caught w/a                    roach.                According          to    Ms. Lucio John had
found        it   on    t    e street           showed        it    to his friends.              John was sent            to    Pathway
as     a   result.      Ms. Lucio notified                   that       Ms. Hermelinda Cordero did an

inspection             on     her   home             that she informed                   her there was a smell of

marijuana.              She denied drug usage but admitted                                       to   smoking         cigarettes.            The
home was               found        to   be    in   need of cleaning                    therefore the family              was given
until      6/14/02           to    do    so A        follow up          home        visit      was conducted                  the    home
was observed                  to   be clean.          The worker observed an                           infant child          Adriana

Alvarez           in the          home.        Ms. Lucio informed she had had                                  a baby     on    6/15/02.

She Had not received                       prenatal         care for the baby.                   Ms. Lucio            did not       want       to

tell   the worker she                    had been pregnant because                             the worker        had spoken            to her

about family planning                          the visit before.               Ms. Cordero w/Harlingen                          Housing

Authority           was       contacted                described             how    the familys            home        did not pass

inspection.                 The home was found                     to    be unsanitary                  unclean..         The       toilet     was
clogged           up        the bathtub             was   filthy             the stovetop             was found        dirty.        Ms.
Cordero relayed                    that    Ms. Lucio          told her that              the children           might go outside
w/out        her knowledge.                    Ms. Cordero mentioned                           the issues       on     the report were

information                 received       from other          tenants.             The Cano Convenience                       Store       was
contacted              but they could not give                      the       names of          the younger           children

observed           in their store              under the supervision                      of older       siblings.        Case was

R/O        for    NSUP            of Robert               Gabriel       by Ms. Lucio.                 Case was         referred to

contracted             in-home servjs.



Comments/Concerns                              It   was    unclear           on whether          we     asked Daniella               about

having sex w/young boys or associating                                          w/older          men.      I   could not locate an

interview          for several of the children                               Richard        Rene        Melissa              Selina.       I


could not determine                       if   Mr. Alvarez              is   incarcerated             for back        child support            of

these       children or if he has                    other    children.             I   did not find attempts                  to   contact

the absent             fathers          to the children        to notify            them of           the investigation.              There

was an        allegation of drug                     usage but           I    did not find documentation                        where          we
gave        a drug test to Ms.                  Lucio.




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In-home       Services             The    family    was provided w/monitoring                          parenting

classes contract              services     Electric         bill   Gas      bill pampers               referred to

charity      home       for furniture        and clothing transportation                        school    visits

emergency food stamps and Medicaid.                                 The     case   was        closed     due    to risk

being reduced            to    an acceptable        level.        Mr. Alvarez was back                   in the    home
had odd jobs           as   a gardener.           Mrs. Lucio had a                      time job       at the     Harlingen
                                                                              part

Sport Complex.                Melissa      14      was      attending       church and was behaving                      very
well.       John   12       went back           to regular school.           The house was               clean

household          routines were           in place.




7.   Case    ID        24168149/Unit                              Caseworker             Martha        Cano
Date of Intake              5/29/03        PI

Allegations            PHAB              SXAB
VC       Melissa

AP      Robert Alvarez                parents paramour

Reporter           Jesus      Banda       law enforcement

Disposition            UTD         Factors      Controlled

Case Action             Close case


Intake        Today 05-29-03 Melissa made                                 a sexual      abuse outcry.             She was
touched       inappropriately             over her clothing by Mr. Alvarez.                            This has been

occurring         for over a year now.               It    last   occurred     last     Wednesday 05-21-03.
Melissa ran away from                    home      and was taken            to the juvenile            detention

facility.     Mr. Alvarez picked up Melissa from the juvenile                                         detention

facility.         He   drove her back             home.      On    the
                                                                       way home he reached over and
began       touching        her.    The     sexual        abuse    only happens when he takes Melissa
somewhere away from                      the home.         Ms. Lucio does               not   know       about the sexual

abuse.       Melissa went out on Saturday night                            05-24-03            and did not         come
back    home       until      early    Sunday 05-25-03 morning.                          Mr. Alvarez

interrogated Melissa                asking        her where        she went.            He punched             Melissa     in

the   arm and          head.    She currently has a big bruise on her                           left    arm. The bruise
is   the size of a 50-cent               piece.    It is
                                                            green and purple             in color.        Melissa ran

away from home                 again     on Sunday 05-25-03.                       She    ran    away     from      home
due    to   Mr. Alvarez physically abusing                         her.    Ms. Lucio and Mr. Alvarez have
not filed a        runaway         report with police.             The     SBs       have already          left    the   home
due    to   Mr. Alvarez physically abusing them. The                                 SBs       also ran    away from
home on Sunday 05-25-03.                           Today 05-29-03                  at   157 p.m.          Melissa was

picked up by police                for shoplifting at             Mervyns.           The      child    did not have

clothes      to   wear and went            shoplifting.           Melissa was arrested for                 stealing       baby
shoes.       The    total shoplifting             value was $73.00            Melissa was not detained.



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She    will    be released        to the       GP. The    police report          is        036677 Class              A
Assault.


          tion
Investigation              Five of the children         Selena          Alex Rene                        Daniela

John     were interviewed.               They denied b           1ng abused/neglected.                      The   children

expressed behavior problems w/Melissa.                            They         believed         Melissa was

making up          the sexual      abuse allegations                  that    a male       friend of Melissas

caused      the bruise.          Daniela informed Melissa would stay w/the                                  male friend

off      on.       At the time of the           home    visits Melissa           was on runaway                status

therefore       was    not interviewed.           The younger            children          Sarah Adriana
Gabriel Robert                   Richard were observed                  but not interviewed                 due   to    their


young       age.    The      children     were observed          to    be dressed          inappropriately

were    dirty.      Ms. Lucio denied             the allegations.             She stated Melissa was never

left   alone    w/Mr.        Alvarez.      Ms. Lucio informed Melissa was having                                  sex

w/boys       in the neighborhood.                She   believed        Melissa had             left   the   home
because        she did not want           to   follow   rules.     Ms. Lucio denied                    using drugs.
Mr. Alvarez denied the                  allegations.      He     remarked         he saw Melissa              like     his

own     daughter.          Mr. Alvarez denied drug usage but refused a drug                                    test.     He
revealed       he was arrested for drugs                in the past.          The     police dept.          was
contacted            it    was   learned Melissa         had been            released to her grandparent.

Ms.    Hope        Trevino was contacted                  she    stated       she had       picked up Melissa
but she had         left   the   home     the following day.                 According         to     Ms. Trevino
Melissa told her her boyfriend                    had caused          the bruise          on   her arm.       Melissa

also revealed         that    she had      made up       the sexual           abuse allegations because                   she

did not     want     to stay in her         home.      Case was         UTD      for      SXAB              PHAB        of

Melissa by Mr. Alvarez.                   Case was closed but was opened                              under a

subsequent          referral.




Comments/Concerns                   I    could not locate where                we     contacted         collaterals      that

could say       how        the parents     cared for      their children.             I   did not find where             we
notified Mr. Guadalupe                   Lucio    absent    father of the investigation.



8.   Case     ID     24873585/Unit                          Caseworker                    Martha       Cano
Date of Intake              6/13/03      Pl

Allegations           NSUP            PHAB
VCs Rene             Richard        Robert Adriana Gabriel                        Sarah

APs      Robert Alvarez/parents                  paramour              Melissa Lucio/parent

Reporter           Samantha Sumega               service    provider

Disposition           RTB        Risk Indicated

Case Action            Open       case    to   Moderate     Family Preservation                       7/3/03-7/16/04
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Intake       Ms. Lucio               was       admitted       into   the Valley Baptist Medical                       Center on

06/12/03.         She gave            birth     to   Sarah     last night    at    912 PM.          Ms. Lucio and

Sarah both          tested positive               for cocaine.        Sarah weighs           5   lbs   and 0.8 oz.            On
06/11/03          Ms. Lucio said she asked her neighbor                               for a cigarette.               The
neighbor gave             her a       hand       rolled cigarette.          Ms. Lucio        felt   that      it   tasted funny.

She     insists that       she does not do drugs                     and does not have time                    for drugs.          She
states   that     she     has    not used drugs               knowingly          since the year.2000.



Investigation             The only              interview       w/the   children      documented                  in the

structured         narrative were from a prior investigation.                                Refer       to it for the

information.             Ms. Lucio denied                 the allegations.          She      insisted         that    she was

given a     cigarette           to    smoke             did not      know   it   had cocaine           in   it.    Ms. Lucio

did not obtain            prenatal          care.     She relayed        that     her daughter Melissa                      was
tested by the probation                     department and tested positive for marijuana.                                     Ms.

Lucio     was notified               to place        out her 6 younger            children.         The       older children

Melissa      Daniella                  John would show up occasionally                           in the       home.         The
children were placed                    w/Ms.        Alejandro.         Mr. Alvarez refused a drug                         test.     A
follow      up    visit   was made                   the children        were found          in the     home.            Ms. Lucio

explained         that    Ms. Alejandro                 got   ill
                                                                      dropped       off the children the night

before.      Ms. Lucio was informed                           she needed         to place     out the children                again.

She agreed          to place          them       out w/her       mother.         Several     attempts             were    made       to

meet w/Ms. Lucio                     to finalize        the voluntary        placement           but she did not

respond      to the calls/visits.                    Ms. Alejandro was             contacted                she relayed            that

Ms. Lucio          told   her she had found                   someone       else to take         care of the children

and had notified CPS.                          According        to   Ms. Alejandro            Ms. Lucio wanted                     her

to    sign a paper saying that                    she    was    giving    the children back.                  Ms. Alejandro

added     that     Mr. Alvarez                 later called     her      instructed her to tell.CPS that she

had been         ill.    She mentioned                that    she heard Mr. Alvarez was going                            to   be

arrested.        Ms. Lucios             mother was contacted                       she     stated      that    she could not

help    Ms. Lucio w/caring                      for the children.           She explained           that       she    worked.

Ms.      ucios mother could not give information                                   on Ms. Lucios                   whereabouts.

Case was         RTB       for       PHAB        of Sarah by Ms. Lucio.                  Case was opened                   for

services.




Comments/Concerns                          I   could not locate a current                interview            w/the      children

regarding         the present           allegations.           An    interview      conducted            on 5/29/03           from a

previous         investigation           was         inserted in the structured              narrative for this case.                     I


did not find an observation                          conducted        on Sarah      to report       how           she was doing.

I    did not find where                we      notified Mr. Guadalupe               Lucio        absent           father about




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    the investigation.           I   dont know how we                  closed      out the investigation               if   we
    did not get a hold of             Ms. Lucio         to discuss        the violation          of the safety plan

    the children remaining in her care.                         I   could not determine            if    we    staffed the

    case    w/legal     to discuss       the familys lack of participation.



    In-home        services                   Caseworker              Mary      Jane Coder

    The     case   was opened          for services        from 7/3/03            to 7/16/04.       Arrangements
    were     made for       Ms. Lucio         to stay     w/the       younger       children      Sarah Adrianna
    Gabriel Robert Richard                        Rene         w/a an     ex-sister     in   law    Ms. Salazar.             Mr.

    Alvarez remained             in the      familys      home w/the            older children.          A      follow      up
    visit   was made to         Ms. Salazar               it   was    learned      Ms. Lucio had              left    the   home
    after   a week.        Ms. Lucio         was      contacted           was confronted about                  violating        the

    safety plan.        She explained           that    Mr. Alvarez was having problems w/the

    older children            therefore she had           to return       home.       A    decision      was made           to

    leave    Ms. Lucio         w/all    the children.           Melissa           Daniella       were     living       w/their

    father in Houston.               Ms. Lucio was never                fully able to        comply       w/services.

    She      a     transportation             financial        problems.          Mr. Alvarez was incarcerated

    for   back     child   support      from      a previous         relationship.           Ms. Lucio continued                  to

    have behavior pro                lems w/the older children.                   The     case   was     referred to

    contracted       in-home services                 but they closed           out their case      when         they were

    not able to locate the family.



    Comments/Concerns                   I   could not determine                 how many         substance           abuse

    sessions Ms. Lucio               participated in                how   she     did w/them.        I   dont know           how
    many     drug     tests    were conducted                  the results of them.              Ms. Lucio was              not

    complying         w/in-home         services        when        the case      was   transferred to contracted

    in-home services            therefore         I   dont know         if   we   attempted        to staff      it   for legal

    intervention.          Ms. Lucio would not                  make herself         available for         home        visits

    unless she       needed      CPS        to assist    her w/food          clothing         items      etc.    This family

    needed       support      systems          monitoring systems                  in place      before       considering

    transferring/closing             the case.



    9.   Case      ID   25044136/Unit                                Caseworker            Rebecca        L. Olivarez

    Date of Intake. 1/16/04                  P2

    Allegations            NSUP         PHNG
    VCs       Gabriel Robert                 Richard

    AP      Melissa Lucio/parent

    Reporter         Sam      Padilla       neighbor

    Disposition            RTB       Factors      Controlled
P   Case Action            Close case




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    Intake        The       children are regularly                      left unattended            outside.      They      are seen

    alone       outside         their                                           for several hours.
                                         apartment complex                                                    They       will    run up

    and    down        the stairs and go in and out of various                                   apartments.        Gabriel       4     y/o

    m     has    been seen             urinating outside                 on    a   number of         occasions.        The      children

    will      also go from neighbor to neighbor asking                                      for    food      stating     there    is   no
    food      in the       home. The               last time         they     asked for food was about three days

    ago.      It is   believed          that       Ms. Lucio           does not work and              that    she   is   getting food

    stamps.       It is     believed              that    on or about 1/13/04                   the family     either had         the

    water turned on                   in the       home         or shut off.       When         Mr. Alvarez lived            in the

    home        he was often seen getting water from the community                                              room of the
    complex           and taking             it   back         to   the apartment.         The     older     SBs usually do not
    go   to    school       and are often seen walking                             to or at the mall.         The      older     SBs do
    not supervise               the younger               siblings during            the   day buthave            supervised           them
    outside       in the late evening.




    Investigation                    Three of the children                    Richard           Robert        Gabriel           were
    observed playing                   outside           their      backyard       w/out                  supervising           them.
                                                                                                anyone
    The worker spoke                    to the children for                   about 20-25 minutes w/out                      anyone
    checking          in   on        them.        They were under                  the care of their older sister

    Daniella.         She was spoken                       to        instructed to leave             the back     door open            so she

    could visually supervise the children                                     at all times.        The   children revealed               they

    were going             to   Loaves                   Fishes for food.            The    children denied being

    abused/neglected.                   Robert relayed                  that   Daniella          was taken      out of school            to

    assist     Ms. Lucio w/the                     care of the children.                The       children denied asking

    neighbors          for food unless                    it   was    something small like a cup of sugar.
    Several       of the children Melissa John                                      Sarah were           not mentioned            in the

    investigation               as being          observed/interviewed.                    Ms. Lucio denied              the

    allegations.            She       admitted            to taking         Daniella       out of school        to assist        w/the

    care of the children.                     Ms. Lucio was planning on                           putting her back            in school.

    She admitted                to    not having gas                 in the    home      but did have          electricity

    running water.                   There was an incident where Ms. Lucio had not picked up

    Rene on time from                    school           because        she was       in court       w/John.       The      case      was
    RTB       for     NSUP           of Robert Richard                         Gabriel      by Ms. Lucio.              The    case     was
    closed       since      in-home was providing                           services.




    Comments/Concerns                              I   could not locate where                   we   spoke     to collaterals           that

    were aware of                how     Ms. Lucio cared                    for her children.            We     could have           spoken
    to neighbors            to inquire about the allegations.                               I   did not find      where we
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notified the absent               fathers       of the investigation.              Documentation               doesnt
reflect      that      we   spoke      to the    in-home worker about the                   allegations.




10.   Case       ID      25251984/Unit                               Caseworker           Illa    A. Delagarza

Date of Intake                 8/24/04      P2

Allegations              NSUP             PHNG
VCs          Daniella            Mariah

APs         Melissa Lucio                 Robert Alvarez/parents

Reporter            Anony.

Disposition              RTB         Risk Indicated

Case Action                 Removal/subcare              9/21/04          to present



Intake           The    family        has been living          in their     duplex for a couple of months.
In that      time there has been almost constant                            fighting in the        home. Yelling

screaming and               hitting      are regularly         heard      at the    home.        REP     does not          know
for certain if           Ms. Lucio        or Mr. Alvarez ever                hits   any of the children but they
are regularly            yelled and        cursed       at.    Ms. Lucio and Mr. Alvarez have                         both

been heard             calling    the children          fucking        little   bitches.          There have          been

times       when       the children will run to a neighbor to use the                             phone        to   call   911

when        Ms. Lucio and Mr. Alvarez have                           been    fighting.       Several          days ago one
of the older           girls     went    to a   neighbors screaming                 crying and banging                    on   the

front door.            Mr. Alvarez had a big gash on the right side of his face                                       above      his


eyebrow.            Other children were outside                      crying and       holding each other and
Mr. Alvarez told them              get the fuck back inside you son of a bitches.
Many         times       especially when the parents are fighting they will kick the

children outside               the    home      telling       them   to   get    the fuck out of the                house.
Most of          the time the older children are off doing their                            own thing away from
the   home        so the younger               children       9 or 10 yrs old and younger are outside

for hours         at a time.      unsupervised.               There are     many      days       when        the    two

youngest          children        still   in   diapers are outside              alone together unsupervised.

When         the children are outside                for hours at a time they                will have             minimal

clothing         on     very     dirty    and sagging diapers hungry and sweating.                                   They      will

often       ask neighbors              for something to eat.               There     is   a pile of          wood    in the


yard with nails in the                   wood    that     the children play          on    that    is   also surrounded

by    tall
             grass.       The     inside of the house            is
                                                                      very      filthy.   There         is   very minimal
furniture in the home.                    There    is   nothing       in the kitchen         and the only-thing                 in

the living         room is        a couch       and TV.         There are bags everywhere                      in the      house
but    it   is   unknown         if   they are full of trash or clothes.                   There        is   trash   all   over

the   home          and the house smells                dirty.   Many        times the children aresent to




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neighbors         to    ask for hygiene items or milk.                         The     children          are usually very

dirty    and unkempt.                The    parents          have     tried to      sell their     food stamps               to    people

saying    they need            money        to    pay the      bills.        Everyday        around 4           PM      the

children are taken              to    a Loaves          and Fishes a kitchen                  for the      homeless               for

dinner.     On        Saturday they also serve breakfast.                             Sunday        is   the only day the

kitchen     is    not open       and        when    the children probably have                         nothing          to    eat.




Intake      A 2d        referral         was     received       on    9/17/04.         On     9/6/04      Mariah was born

vaginally        at    home.     According              to    Ms. Lucio one o                 the older female                 SBs
called    911         but did not give            the complete            address       and therefore                EMS          could

not locate        the   home         in time.      Mariah was taken                   and admitted              to   the     Newborn
ICU at      Valley       Baptist Medical                Center        that    same     day.     Due       to the at          home
birth    there were no drug screens                          performed on Ms. Lucio and/or                            Mariah.

Both     Ms. Lucio and               1
                                         yr old    SB        were positive for cocaine                   at the       time of           that

childs    birth.        Ms. Lucio and 3 yr old                      SB   were also positive for cocaine                                at

birth.    It is   unclear       if    Ms. Lucio or Mr. Alvarez accompanied                                      Mariah            to    the

hospital.        Ms. Lucio visited on 9/8/04                          9/11/04         and called on 9/14/04                       to

check     on Mariah.            Ms. Lucio           related that          the family only has one car                             and Mr.
Alvarez uses            it
                             during      the day.        Ms. Lucio            also does not have                anyone            to

watch     the other children and                   these       are the reasons              she did not          visit       more
often.    Mariah was ready for discharge                               on 9/17/04            but   Ms. Lucio and Mr.
Alvarez could not be located. The phone    provided on 9/6/04                s                                        were
disconnected or there was no answer. The family does not have                                                         a   home
phone       so the numbers               provided were relatives                      phone numbers.                    Ms. Lucio
arrived at the hospital in the late afternoon                                 of 9/17/04         for a visit and              was
informed of the pending discharge.                              She was            required      to watch            a video and

perform some             other tasks to meet requirements                             for    Mariah       to    the released.

Mariah      will       now    be discharged on 9/18/04.                        Ms. Lucio has              not received                  any
pre-natal care           with any of the children.                      At eachbirth Ms. Lucio                        gives        the

same excuses she didnt have Medicaid and                                            states    that plans to have                   a tubal

ligation.         Ms. Lucio           has   indicated          that    she    is
                                                                                    very overwhelmed                  by being              the

sole caregiver           of so       many        children but           states      Mr. Alvarez           is    supportive.



Investigation                The two        referrals         were merged into one investigation.                                      Eight
of the children were interviewed                                denied the           allegations.          During a follow

up contact            7 of the.children were observed                          to    have     injuries         and/or        insect

bites.    They were            also found          to   be     in need of a bath                   a change          of clothing.

Ms. Lucio denied                the allegations               but did admit            to    screaming          at the children.


According          to   Ms. Lucio she would                     yell     at the      children       Dont             do      this.          She
denied using foul language.                        Ms. Lucio spoke of how she would                                   take        the




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    family      to   Loaves          Fishes to eat                  if   she did not       feel      like   cooking.            A     follow

    up     home      visit   was made           to   discuss             the 2d. report.          Ms. Lucio was given an
    instant     drug      test      she     came          out positive for cocaine.                       She could            not explain

    why.  Ms. Lucio was questioned on why she gave birth in her home     she                                                          k
    responded that her daughter had called for an ambulance but gave the wrong
    address          Ms. Lucio admitted                   to    not receiving             prenatal        care      for any of her

    children.         She was notified               that      she would have               to voluntary              place      her 7

    youngest         children       but she did not have
                                                                                anyone      to care         for them.           A    decision

    was made to remove                 the children.                     The   older children             were      to    be placed          w/a

    family      member           or sent to Houston.                      Ms. Lucio was given a few                            hours    to find

    a placement           for Daniela           John           Alexandra                 Selina.      She     later       gave a couple
    of   names        but they had          history         w/CPS                APS. Eventually                   plans were later
    .mad to        place     the children in foster care                         until    their father            Guadalupe            Lucio
    could pick them up.               Mr. Lucio                notified         CPS      he could not pick up the

    children but would arrange                        for his father to transport                         them      to    Houston.           Ms.
    Lucio agreed w/the               arrangement.                    Mr. Lucio informed us                    that        he was       still


    legally married to Ms.                  Lucio              had been             providing        child    support.               He was
    questioned about drug usage                                admitted          to   drinking        alcohol         on       the

    weekends.          Mr. Lucio remarked                       he would quit drinking                       since he    now had               his

    children.        Mr. Alvarez was interviewed                                     admitted        to   using      drugs. He

    informed         he had smoked a                 roach               about a   week ago     had done cocaine a

    couple of days before                 on    9/22/04.                 He   denied the other allegations regarding
    the children          being physically neglected.                            A    check      was conducted                  on Ms.
    Lucios       food stamp case.                She       received            $1260.00         deposited           into her food

    stamp account             on   9/3/04             by 9/8/04                she had only $5.00                 left.    We        spoke     to

    a neighbor               she   admitted          to   hearing a             woman       yelling at the children.                        Ms.

    Samantha Sumega caseworker                                 at    Valley Baptist Medical Center was spoken
    to   regarding        the medical status                   on Mariah.             She   relayed         that     Mariah was not

    initially tested          for drugs because                 she was born               at   home.        It    wasnt        until       later

    that    she was tested          after realizing                 whom         her mother was.                  The     test   came
    back     negative.           Mariah was kept in the hospital for 11 days because                                                  she    was
    on     antibiotics.       The    child       was      released             on   9/18/04.         The home environment
    was found         to smell like urine                   have         a small limited             amount of food                  ants

    were noted on the floor                          mattress            and a fan was placed on the                           window        sill


    w/out      a cover.        Case was          RTB        for      NSUP              PHNG          of   Rene        Richard

    Robert Gabriel Adriana                       Sara               Mariah by Ms. Lucio                           Mr. Alvarez.               The
    case     was     referred to the            CVS       unit.




    Comments/Concerns                       I   could not locate                 interviews          for several           of the
0                                                                                               do          know
    children         Melissa Alexandra                      Selina              John.       I        not                  if   we    met



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w/them         to discuss the allegations.                           Ms. Lucio arranged             for Daniela

Alexandra            Selina            John    to   be placed w/their                father        but   I   could not find

what occurred w/Melissa.                        Ms. Lucio informed us                       that    one of her daughters

had called for an ambulance                         when             she delivered     Mariah            but     I   dont know                if


we   verified this information.                          I   could not locate an interview                       w/that      daughter
to confirm the information.                         It       would have been good casework                            practice          to


request        a courtesy        check     on       the children placed               w/their          father in Houston.

Mr. Alvarez admitted                    to us that            he used drugs recently                   but   I   did not find

where      we     gave    him         a drug    test.          I    could not locate        in the      documentation

where      we     spoke     to    Mr. Alvarez about the allegations regarding                                         him          Ms.

Lucio having a disagreement                              which         lead to physical           confrontation.              I    dont

know      if   we    spoke       to   Mr. Alvarez about Ms. Lucio                            testing      positive          for drugs

while caring          for the children.                  We         could have contacted               law enforcement                      as

a collateral         since there         was    allegations of domestic violence                                     calls    to    the

home.



Conservatorship services                                      Caseworker             Angie        Romo
The family was provided                       services              from 9/21/04       to    present date.            The
documentation            provided on Impact was data entered                                      by   Elizabeth           Rodriguez

up   to   the   month       of   May      2005.              When       the children were              initially      placed           in

foster    care they were described                             as having         survival         attitude.          The     foster

mother explained                that    who     ever          got     it first   if a food item was dropped                             the

children        would     all
                                 go for it                   that    whatever      the children          managed             to    have
they destroyed            such as        toys.       All the children                urinated       on themselves                  at


night.     The younger                three Gabriel Robert                         Adriana          urinated         on
themselves during                the day too.                 The     children     were seen as aggressive                        to    the

point of       becoming          violent.        Mariah was observed                        to   tremble a lot which                     a

physician         was    stating        might have                  been as a     result    of mother using drugs

while     pregnant.         She was           referred to              ECI because          she was also observed                        to

be developmentally                    delayed.           Adriana             Sara were also            referred.           Robert

Gabriel        did not have            any immunizations. Gabriel                                 Robert told          girls in

school     that      they wanted          to kiss            them          have    sex w/them.            Gabriel           made
sexual advances             toward        his    own sister               Adriana.         He was        observed            to    attempt

to kiss    Adriana on her private part                               when    she was kneeling                down      to    watch           the

fish in the foster          familys aquarium.                          The   foster parent          worked w/the                  children

on   redirecting them.                 All the children required                     clothing.           The     parents          were

observed        to   have     no control over the childrens                           behavior during                 visits.          They
would not         initiate       engagement.                  The      parents    would          also give the children

false     hope by       telling        them    they          would be        out of foster         care      fairly    soon.            The

parents initially participated in services                                  during    the    month of October 2004



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by engaging           in a   drug assessment                    parenting       classes        but by the         month of
November           stopped them.             They       did participate          in visitations            during     the 2

months.        The    parents       did not provide              any kind of structure during                      the visits

   would basically allow the children                            to   do   as they please.            Adriana was

observed       fighting not to be held                  by Mr. Alvarez.               Gabriel     would show               strong
attachment         to his     mother        but   would avoid Mr.               Alvarez.         Court ordered

services    did consist of parenting substance                             abuse outpatient                services

individual        therapy.         During the month of December                          2004        both parents were

drug tested            came        out positive         for cocaine.         Ms. Lucio          also       came back

positive    for amphetamines.                  The       parents were          reminded         about participating

in services.       They       replied they were busy working.                            The    parents had           recently

moved      but did not            know     their address          in order      to provide           it   to the worker.

The   family       was given         written       notification         on what        services were required                        of

them. They only participated                       in   one parenting           class.      The      parents       continued

to visit the children              but were informed they could no longer bring food

items. as they did not encourage.                       the children to pick              up    after      themselves.

The   parents      would          not clean       up    after   the visits.      The     intake        assessment for

the children        was scheduled             for 12/13/04.



The   visits   for the        month of January 2005 were                        put   on hold because                the

parents    totally      lost control        of    their childrens           behavior.          The        older children

were leaving          the visiting        room            the younger          children were crying

uncontrollably.          A     decision       was made            to divide      the children between                    2 visits

so the parents         could give the children more quality time.                                 The       parents      were
notified they         had    to    attend parenting             classes in order          to   apply        what they

learned    during       the    visits.     Ms. Lucio            quit her job because              she       was having
problems w/the           manager              Mr. Alvarez             lost his   job due        to    transportation

problems.         A   couple of          relatives      expressed          interest    in   being considered                for

placement         so calls were           made         to both.       Ms. Sonia       Chavez              maternal    aunt
stated she     would only help                out for a couple of              months             did not         want     to


participate in a        home        study.        A    message        was    left for the maternal


grandmother          Hope Trevino to call us. Robert continued to sexually act out
in the foster       home by poking the children in their butt at night. Rene was
moved      into    the foster        familys living             room       because       he was caught              in a

sexual    act w/Richard.              Gabriel         continued        to sexually          act out w/children                  in

school.     He was           observed       chasing girls attempting                   to    touch them on            their


breast go      into     the girls restroom                      look under the         stalls             asks girls to kiss

him. Robert displayed                    similar actions.             Gabriel    was     also sexually acting                    out

w/Adriana.          He was         caught getting on top of her                          humping           her.    The     foster

mother had         to provide         close    supervision            to all    the children.             She had an            appt.




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                            wIDr.          Gutierrez psychiatrist                              because          the children had                  all   been diagnosed

                            w/ADHD.                       The         foster mother reported                         that    despite giving              the children 3

                            meals                  snacks              they       were constantly               hungry.          The       children were taken                    to

                            the Childrens                       Advocacy Center on                         1/25/05.           Rene         did not       make        any outcry.
                            Richard               made outcry                     against      Rene and          stated        he      did something nasty to

                            me.           Richard also stated                        that      he   is   afraid to say anything because                               Rene        hits

                            him but                that      he has also seen Rene touch                                his    younger           brothers           Robert and

                            Gabriel. Richard also reported                                       seeing         Mr. Alvarez and Ms. Lucio                              kiss   and

                            touch each                    other        when        he lived         in the      bad house.                 Robert        made        sexual

                            abuse outcry                     against his brother                    Johnny. Robert stated he                            told    Ms. Lucio

                            who          did nothing                   and Mr. Alvarez                   who     told Johnny               to    stop    it   and Johnny              did.

                            Gabriel             could not be understood during                                       the interview              and could not focus

                            during the interview.                                 The    children         were referred               to    a medical doctor

                            psychologist                     to address             the childrens               bedwetting.             They concluded                     this   was
                            a behavioral                    issue             not a medical               issue.        Mr. Grover               therapist.          addressed

                            the sexually acting                             out w/the          children.         The         parents       were drug tested on

                            1/26/05                      Mr. Lucio admitted                      to    using cocaine             2 weeks              prior.        The    parents

                            were referred                     to Celia            Gonzalez            w/the Recovery                  Center         for outpatient

                            services.                 Ms. Lucio denied being                             told    that       John was touching                   the children

                            sexually.                    Mr. Alvarez admitted he was given the information but did not
                            believe             it.      He     did        tell   John    to    stop.      The        parents denied the children wetting

                            themselves while                               in their care.           The worker               sat in    on       the visit so guidance

                            could be given                       to the parents                on     how to         better control the children.                          The
                            children              acted         out           when       the parents             were advised on what                          to   do     they

                            chose          to refuse                 it.    The    foster parent               had    to assist w/getting                 the children out

                            of the room.                     The           parents      attended          a drug assessment                     on    1/31/05.         They were
                            given appointments for admission                                             to the outpatient                 program.            Ms. Lucio

                            informed the worker she had gone                                              to   Houston          to pick          up   her children            John
                            Daniella                      Alexandra.                She was           advised         that     John was not allowed around

                            the children                   until           further notice.            A   decision           was made             in court          on 2/16/05

                            that         Rene would be moved                              into      a different             foster    home due             to his sexually


                            acting         out.           The         dept.       was    notified         on    4/6/05        that    Ms. Lucio had been

                            hospitalized                   due         to    an accidental            overdosing on                  aspirin.         Ms. Lucio

                            explained she had had a toothache                                                  thought         that    since       she was taking                 a

                            generic             aspirin she could take                           several.            The     parents        were again               unemployed
                                  were          in the process                    of looking for a job.                      They were notified                     that   they

                            needed              to       remain drug free                      that 2 of their older children                            John              Daniella

                            had          tested positive for cocaine                             during the 2/16/05                    investigation.                 They
                            denied knowing                             the children            had been          using drugs.               The       Dept.         addressed         the

                            parents             giving           the children false                   hope by          telling       them        that they          would be



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home by       the 5/18/05      hearing.       As a    result     the children        would    act   out       be
destructive     with    each other         the other foster           children.       At the hearing

paternity testing        was ordered           Mr. Guadalupe              Lucio      was    entered       into the

petition.     The   children expressed great disappointment                          in   having     to    remain    in

care.    On   5/18/05     charges      were    filed      with   the Harlingen        Police       Dept.    against

John Lucio for sexually abusing                 his    younger      brothers.        Charges were also
filed   against the parents for failing              to   report the abuse.          It   was     also learned

Mr. Lucio had a warrant             out for his arrest for failing              to   show     for his


probation.



There were 2        entries    dated   12/28/06             1/29/07       which      basically stated that

the family     was doing       well.




The     children    had   a psychological         assessment on 12/6/04                   w/Dr.    Mary
Elizabeth     De    Ferreire



Adriana was diagnosed               with pervasive developmental                          disorder         NOS
depressive disorder             NOS ADHD                  primarily hyperactive               type and
expressive language            disorder.

Adrianas        treatment recommendations                        were      To   be referred         to


psychiatric     medication evaluation                referral to     speech       and occupational

evaluation      referral to neurologist           for evaluation           on   ADHD.        Adriana was

referred to Dr. Daniel Gutierrez psychiatrist                        but was found           to    be too young

to   be on medication.


Robert was diagnosed               with   ADHD             combined        type.
Roberts treatment recommendations were                                    For a psychiatric           medication

evaluation individual           therapy family             therapy        ARD      and    referral       to pediatric

neurologist       for his   ADHD.       Robert was referred to Dr. Daniel Gutierrez

psychiatrist        who   did not prescribe          any medication for Roberto                    based on an

evaluation      his teacher     made on       him.



Gabriel      was    diagnosed       with pervasive               developmental            disorder         Nos
ADHD        combined                                                      onset mixed
receptive-expressive
                language
                              dysthymic

                                disorder
                                               disorder
                                               and
                                                                  early

                                                          enuresis nocturnal               only.

Gabriels treatment recommendations were                                   Refer      to psychiatric

medication evaluation individual                  therapy         speech     and occupational

evaluation and          referral   to pediatric        urologist     to   assess his enuresis. Gabriel

did see Dr. Dr. Daniel Gutierrez psychiatrist                         monthly        for medical reviews.

Gabriel     was    taking     Concerta    18mg        for his     ADHD       and     2mg DDAVP              for his




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    enuresis     problem.       Dr. Gutierrez       was asked          to reevaluate      Gabriels

    medication        but from reports received               from     his teacher      and foster parents he

    continued on the same dosage.                 Dr. Gutierrez         felt   Gabriels behaviors

    warranted the dosage            he was given and recommended                       the dosage      to

    continue.      Gabriel      continued    to receive       therapy      with    Grover C. Rollins            MS.
    LPC NCC.        In therapy        Mr. Rollins       was   addressing        Gabriels sexual acting

    out   aggressive       behavior       inappropriate        habits hygiene past abuse coping
    skills   and positive ways          to express      himself




    Rene was       diagnosed          with impulsive control disorder                     ADHD         primary
    hyperactive          type   neglect    of child parent-child               relational        problem
    sibling relational          problem and          enuresis nocturnal only.
    Renes      treatment recommendations                      were       Include       psychiatric     medication

    evaluation individual             therapy family therapy              parent training for          Renes
    parents occupational            evaluation/treatment              referral    to   SSI    referral   to   special

    education      classes and In-School            Counseling for          his   anger       referral to


    pediatric urologist         for his enuresis.        Rene was        seeing    Dr. Gutierrez

    psychiatrist      on    a monthly      basis for medication            reviews.      Currently       Rene was

    taking    DDAVP         0.2mg     to help     him   control       his urination      at   night Tartizone

    0.50mg      to help    him     sleep and Concerta          36mg      for his   ADHD.          Rene was

    receiving      monthly therapy         with    Patrick     Muller.     In therapy         Mr. Muller was

    addressing      Renes       sexual    acting    out    aggressive       behavior          inappropriate

    habits hygiene          past   abuse coping         skills   and positive ways              to express

    himself.



    Richard was diagnosed                with intermittent             explosive       disorder        ADHD
    combined type            anxiety disorder           NOS and         dyslexia.

    Richards        treatment recommendations                     were Be          referred for psychiatric

    medication evaluation individual                 therapy          family therapy          ARD      meeting
    and pediatric neurologist for his               ADHD       and      enuresis.       Richard was seeing

    Dr. Gutierrez psychiatrist             on a monthly basis for medication reviews.

    Currently      he was taking         DDAVP       0.2mg       to   help him control          his urination      at


    night and Concerta           36mg     for his   ADHD.         Dr. Gutierrez          was asked       to

    reevaluate     Richards         medication       but   from reports          received       from   his teacher

    and   foster   parents      he continued on the same dosage.                   Dr. Gutierrez         felt

    Richards       behaviors       warranted the dosage               he was given and recommended

    the dosage      to    continue.     Richard was receiving              therapy       with    Grover C.

    Rollins     MS.      In therapy    Mr. Rollins       was                      Richards        sexual
r   out   aggressive        behavior      inappropriate
                                                               addressing

                                                               habits hygiene            and past abuse.
                                                                                                              acting




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      Dr. Xavier      Jay         Martinez competed                  a psychological              evaluation           on Mr.
      Alvarez.

      Mr. Alvarez was             diagnosed           with Axis I V61.21                       Neglect of Child             ren
      304.60 Cocaine            Abuse       300.4 Dysthymic Disorder                            late   onset.      On   12/08/04
      Mr. Alvarez was referred                 to individual            counseling            with     Kelvin      McCoy          but

      he had not attended              any counseling            sessions to date.               He was         provided with
      Mr.   McCoys         cell    number          in order     to   make     arrangements on a convenient
      time date and location of                  when      he was able            to   attend.       Also Mr. Alvarez had
      been referred        to   parenting          classes with         AVANCE and                   FPS.     He   last attended


      parenting     classes       on    12/08/04.         Mr. Alvarez was referred                      to   The Recovery
      Center for a drug assessment on 10/25/04.                              It   was recommended                   that    Mr.
      Alvarez attend an outpatient                   substance          abuse program. Around April 15

      2005    Mr. Alvarez was unsuccessfully                            discharged from outpatient program
      because      he was coming out positive for cocaine                                when        drug    tested.    Mr.

      Alvarez was drug tested on 02/17/2005                              04/11/05             and 04/28/05             he   came    out

      positive     for cocaine.         Mr. Alvarez admitted                 to snorting cocaine.




      Dr. Xavier      Jay         Martinez completed                 a psychological                 evaluation        on Ms.
      Melissa Lucio.

      Ms. Lucio was diagnosed                      with   Neglect of Child                ren          Cocaine     Abuse         and

      Dysthymic       Disorder.         On    12/08/04          Ms. Lucio was                  referred to individual

      counseling      with      Kelvin      McCoy          but she had            not attended           any counseling
      sessions     to date.     Ms. Lucio           was provided with Mr.                      McCoys           cell   number       in

      order   to   make    arrangements on a convenient time date and location of                                                when
      she   was    able to attend.        Also Ms. Lucio had been                             referred to parenting

      classes with     AVANCE              and FPS. She              last attended             parenting        classes     on
      12/08/04.      Ms. Lucio was               referred to         The Recovery               Center for a drug

      assessment on 10/25/04.                 It   was recommended                     that    Ms. Lucio         attend     an

      outpatient     substance          abuse program. Ms. Lucio                         was    put     on   a waiting       list


      previously      as   The Recovery              Center has policy                 that    prohibits        couples     from

      entering     the program          together.         On   04/28/05           Ms. Lucio was               referred to        The

      Recovery       Center for an intake assessment for the outpatient                                       program since
      Mr. Lucio      was no        longer     in the      program. Ms. Lucio was drug tested on
      02/17/05       04/11/05       and 04/28/2005                she    came          out positive          for cocaine.



      The Family Plan of               Service      Evaluation          in   Impact was as of 5/26/05.                       The
      parents      had no shown any or very                    little
                                                                        progress.             The only       task that      was
 P    being   complied with             was    visitations.




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    Comments/Concerns                       The    CVS      documentation               was missing monthly
    narratives from June 2005                      up   to the present.        This        makes         it   difficult       to

    determine where the family was with services                                        what type of progress                       they

    were or were not making                   at the time         of reunification.



    11.   Case ID 25422093/Unit                                      Caseworker                 David Aguilar
    Date of Intake             2/16/05        P1

    Allegations          NSUP               SXAB
    VCs John            Alexandra            Melissa             Gabriel

    APs      Melissa Lucio                  Robert Alvarez/parents                   and John Lucio/brother

    Reporter

    Disposition          RTB         Factors       Controlled

    Case Action           Close Case




    17-year-old
    Intake      Gabriel

                 male SB.

    foster are were
                               is   in foster

                                     Gabriel

                              sexually acting
                                                   care    and

                                                   and several of
                                                                 made an         outcry
                                                                           his other

                                                          out and were taken               to
                                                                                                of

                                                                                             SBs who
                                                                                                      SXAB

                                                                                                 Maggies
                                                                                                                     by   his

                                                                                                                are also in

                                                                                                                     house         to   be
    interviewed.         This       is    where    the child        made the        outcry        of being abused.
    Gabriel     stated that John sucked                    his   wee wee.               There has been no contact

    between      the younger              SBs and        the   AP   since they          were removed from the
    home on       11-21-04.              Gabriel    said he told his         Ms. Lucio and Mr. Alvarez what
    John was doing.             Mr. Alvarez was questioned                         and said          that     he remember                that

    Gabriel     had told him and              that      he told John not           to   do    that     anymore              but he did

    not believe        John was doing              it   in the first      place.     John        lives        with   his parents

    and two     sisters       who        are 13 and        16 years old.         There       is      concern         that    John       may
    be sexually abusing them even                         though     there has been               no   outcry.



    Investigation            John denied the              allegations.       He      had been           living with his

    father in Houston               but didnt       like    being with him.             According               to   John       he was

    getting into       trouble there               did not want to           go     back.        A    drug      test      was
    obtained      from John which                  was     positive      for cocaine.             He was         voluntarily

    placed with        his    grandmother               by Mr. Lucio.         Melissa was interviewed

    denied the        allegations.           She had been           living   with Mr. Lucio but                       came down
    to visit.   According             to   Melissa         Mr. Lucio       told.    them        to   wait      until      he could

    get   enough money               to    send for them. Her drug                  test   was        negative.             Danielle

    denied the        allegations.          She informed            she    was     presently pregnant.                       Danielle

    was drug         tested         was     positive       for cocaine.       She went back                    with Mr. Lucio.

    He was      to    obtain    prenatal        care           monitor her         actions.          Ms. Lucio denied                    the

P   allegation.        She     admitted       she was aware the children were not supposed                                              to




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be    in her care.          According             to   Ms. Lucio         the children had             been    visiting          since

Christmas              were being sent back                    to live     with.   Mr. Lucio.           Ms. Lucio was
tested for drugs                  was      positive       for cocaine.         Mr. Alvarez denied the

allegations.        He      tested        positive      for cocaine.           Mr. Lucio            admitted       to not

having enough               money         to     send for the children.             He      agreed     to    send for them

      was going        to   be under the care of the paternal                         grandfather Guadalupe
Lucio      Sr.   The home was observed                         to   be small           dirty.       Case was        RTB         for

SXAB       of Gabriel         by John Lucio and                     RTB    for     NSUP       of Alexandra Danielle

     John by Ms. Lucio Mr. Alvarez                                   Mr. Lucio.



Comments/Concerns                         I   could not        locate.   where      we      interviewed           the younger

siblings      regarding           the allegations.             This      included      the younger           siblings in

foster    care         the other sisters               Alexandra               Selina        that    were suppose               to   be

with     father.    This      would            have    been a good opportunity                  to question              Melissa

regarding        the   SXAB          allegations             made     in the past involving             Mr. Alvarez.


12.    Case      ID    25428610/Unit                                 Caseworker              Lashonna Oveal
Date of Intake              2/23/05            P2

Allegations            MDNG                   NSUP
VCs John           Daniella                   Melissa

APs       Melissa Lucio Robert Alvarez                                   Guadalupe          Lucio/parents

Reporter

Disposition            UTC         Risk Assessment                  N/A
Case Action             Close case



Intake        Ms. Lucio and Mr. Alvarez                          live    in another         town. They have               had        all


of their children            a    total       of 11    in all       removed from            their    custody by           CPS        due

to their    drug abuse cocaine.                         In   December          2004        Mr. Lucio allowed

Daniella      and the two older                   SBs     to   go          s   Lucio and Mr. Alvarez for a

visit.   Mr. Lucio          knew          that    the children were            not supposed to               be   in the    home
with     Ms. Lucio and Mr.                     Alvarez.      Mr. Lucio did not               make     any arrangements
for the children to return to                       him until       yesterday       2/22/05.           John did not want

to return to       Mr. Lucio.              He     did not insist that          this    boy    return.       This boy        is


currently with a             GMO          in Harlingen.             Mr. Lucio         is   willing for Daniella                 and

her 3 sisters       to stay        with        his father      Guadalupe           Lucio        SR      in   Houston.

Daniella      is   4 months pregnant by a                       boyfriend.         Mr. Lucio          knew        that    she    was

pregnant         when       she    left    his    home       to visit Ms.      Lucio.        Mr. Lucio has not

provided any prenatal                     care.     Daniella        has tested positive for cocaine.                      It is


unknown          where       she got the cocaine.




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Investigation              The    investigator              was    not able to locate the family in Houston.

The     school       district          relatives         were contacted.               A    message        was   left for       Mr.

Lucio        to contact       CPS.


Comments/Concerns                       A few         attempts        to   locate the family              was documented
but    it   did not appear diligent                   efforts      were made.


13.    Case     ID       25476734/Unit                 RCCL         Investigation            Caseworker              Jennifer

Perales

Date of Intake                4/12/05       P2

Allegation           PHAB
VC          Jessica Garcia

AP       Mary       H.    Dunlap        foster        mother

Reporter         Cynthia Leizendo School Personnel

Disposition              R/O
Case Action               Close Case



Intake         Yesterday          4/11/05          Jessica Garcia stated that                     Ms. Dunlap twisted
her    arm and       foot      when     Ms. Dunlap was                     mad    at her.      Jessica said that a

couple weeks              ago Ms. Dunlap twisted                     her foot         so-   hard   that    she thought her

big toe       was    broken.       Jessica also said that                   Ms. Dunlap            twisted      her hand so

hard    that    her fingernail          fell      off.      The    school        nurse examined             Jessica and             no

bruising or any other               physical             evidence of abuse was found.                        Her     nail      does

have an indention but Jessicas                            nail     has been        like     this since last      year       when
she had a nail infection                  that    caused Jessicas                 nail to fall     off.     Jessica       is


emotionally          disturbed            It is   believed          that   Jessica          may   be making          this report

because        she   is
                          upset    that     she       will    be going       to    a residential          facility   in    San
Antonio on 4/16/05.                Jessica said that                she     is   going       to the residential facility

because        she has        gotten    into      a   lot    of trouble      recently.         Jessica has been

running away and the foster parents have                                    to   go   out and find her.              This      is


when        Ms. Dunlap gets             mad       at Jessica         and twists her arm and                  foot.




Investi        ation      Robert Richard                      Rene were            interviewed        during the

investigation            on   another      foster        child     in the    same home.             All the children

including        Jessica denied being abused/neglected                                    by the   foster     parents.
Jessica did admit to being restrained                                  in the      process Ms. Dunlap would

step    on    her foot.        Jessica added              that     Ms. Dunlap had              also twisted          her    nail

back but could             not give details              as   to   how.     Robert Richard                    Rene     spoke of
how     Jessica      would run          out into          the street             Ms. Dunlap had              to guide her

back home.            Ms. Dunlap denied the allegations including restraining                                               Jessica.




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It   was   explained           Jessica had      lost   her    nail last year        when      she    got an infection.
A    couple of CPS workers were contacted                             as collaterals.          The    case     was R/O
     closed.



Comments/Concerns                     There was no mention of observing/interviewing

Adriana             Gabriel.



14.   Case      ID      25526000/Unit                            Caseworker           Lashonna         Oveal
Date of Intake              5/26/05        P2

Allegation            NSUP
VCs        Selina           Alexandra

AP      Guadalupe            Lucio        parent

Reporter            Sylvia Rodriguez               family    member
Disposition            UTC       Risk Assessment              N/A
Case Action                Close Case



Intake         Selina      and Alexandra were placed                   by     CPS    with Mr. Lucio            55     yr..

old   m    along with 3 other               siblings.       However           the 3 other siblings           have

returned       to   Ms. Lucio         35    yr. old f.        Mr. Lucio           has never taken

responsibility for the children.                      They     are living with relatives               or out in the

street.    The       children have          not been        to school        since being placed           with Mr.
Lucio.      The      children are just babysitting                COs 24/7.              It   seems     that    the

children are only with                FM     to baby-sit.        There       is   a concern     that   the children

may be         under the influence.                 Ms. Lucio and Mr. Lucio have                       a long history

of cocaine          use.    Two      of the three siblings            that    returned    to    Ms. Lucio were

positive       for cocaine.



Investigation              A   couple of      home      visits   were        made    but the apartment

manager              maintenance           personnel notified the family had moved.                             The

reporter       would        not accept      incoming         calls.    A certified       letter     was   sent to the

home.       The      letter    was   received        but the worker           did not hear from the family.

The    local    phone            utility    company was           located         but the family       could not be

located.       Case was          UTC         closed.



Comments/Concerns                     I   could not find documentation                   that       Ms. Lucio       was
contacted        to notify       of the investigation                 to discuss      the allegations regarding

her having          some of the           children.



15.   Case      ID      25698848/Unit              RCCL       Investigation          Caseworker              Iris


Sanchez



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     Date of Intake            11/13/05      P2

     Allegation         NSUP
     VCs Unknown                 Gabriel          Steven

     APs Mary           H.      Teddy Dunlap             foster     parents

     Reporter       Joel      Manchaca

     Disposition         R/O
     Case Action             Close Case



     Intake      On     11/13/05     Steven assaulted FSB.                  Steven was angry and pushed

     Gabriel     to the ground.          He had no        visible       injuries.    Gabriel          bumped           his   knee

     and arm.       He   reported        the information          to   Ms. Dunlap.          It   is   believed         that    Ms.

     Dunlap was         in another       room when         the assault occurred.                 Approximately                one
     month ago Steven              assaulted another          FSB unknown                  with       a tennis racquet.

     The foster parents            did not report the assault.              They thought              they could take
     care    of the matter themselves.                 Steven recently was caught                     at school         with a

     knife.    When LA           arrived at the        scene   PO met him outside                     of the home.            PO
     informed      LA     that   Steven has been having a                  difficult   time       lately.     PO        stated

     that   Steven was being taken                to   San Benito        Juvenile      Detention Center.

     Steven would stay there               at least     for tonight.       Steven was also being charged
     for    an Assault       Class   A   Misdemeanor           for Family Violence.



     Investigation           Gabriel Richard Robert                      Adriana were interviewed                        along
     w/Steven.       The      3 boys denied Gabriel            receiving        injuries.         Richard               Steven

     did admit to Steven hitting                 Richard w/a        tennis racket          but that        they    were

     playing.      No    injuries were received.              The       3 boys did state          Ms. Dunlap had

     gotten    upset     w/Steven           called law enforcement.                 Mr.           Mrs. Dunlap

     denied the      allegations.         They      stated that        Steven had been upset                because           his

     visits   had been stopped therefore had been acting                            out.    According             to   Ms.

     Dunlap      she had gotten            w/the therapist        to    come up w/ways                to   handle

     Stevens       anger.     He was       not being allowed             to play    w/the        younger          children.

     Case     was R/O            closed.



     16.    Case   ID     25832142/Unit                           Caseworker           Lisa D.         Mendoza
     Date of Intake           3/29/06       P1

     Allegation         NSUP
     VCs       Selina         Alexandra

     AP       Guadalupe        Lucio       parent

     Reporter

     Disposition         R/O       Factors    Controlled
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    Case Action                 Close Case


    Intake       Selina         and Alexandra were placed by                            CPS        with Mr. Lucio                 55     yr.

    old    m    along with          3 other siblings.              However              the 3 other siblings                     have

    returned        to   Ms. Lucio          35      yr. old f.          Mr. Lucio has never taken

    responsibility for the children.                           They      are living with relatives                        or out in the

    street.     The       children have            not been        to   school         since being placed with Mr.

    Lucio.       The      children are just babysitting                    COs 24/7.                    It   seems         that   the

    children        are only with           FM      to baby-sit.          There         is   a concern         that       the children

    may be          under the influence.                   Ms. Lucio and Mr. Lucio have                                   a long history

    of cocaine           use.     Two      of the three siblings                that    returned         to   Ms. Lucio were

    positive        for cocaine.



    Investigation               Alexandra                Selina    both denied the                 allegations.             They        stated

    they     had    not seen their mother since she                        moved             to   San Antonio. According
    to the girls they             had not seen            their father          for the past          month because                    he was

    in rehab.         in Austin.          Both     girls   informed         they        were       in the     71h.
                                                                                                                      grade       at    Sam
    Rayburn Middle                 School.         Ms. Mary Lopez was                        contacted               she explained

    that   back       in October          2005       the family          came     to     live     with       her in San Antonio

    Texas       the      two     girls    and Mr. Lucio.                They     stayed       with her for about three

    months.           Mr. Lucio got himself together got a job and                                       moved            into    an

    apartment.            About two weeks ago he                        got kicked out of the apartment so                                his

    .siste    Vangie        Lucio came              to   pick   him and          the girls         up   for that          weekend.             Mr.

    Lucio then           got lost          left.     Ms. Lopez remarked                       that   she assumed he was on

    a drinking           binge and Vangie                Lucio     got nervous               and stated            that   she     couldnt

    take     care     of the     girls.     Thats when Ms. Lopez                         stated      that     she would take                   the

    girls since          they    were      living    there previously.                  She       stated that         at that      time they

    were      still   trying to give            Mr. Lucio         some     time         to   come       back        to the.house           so

    something could be                    set up.        She   stated that        Mr. Lucio has often had

    problems with drinking.                        She    stated that the girls went to school                              like       nothing
    had    happened             but then        Selena got         in trouble          and thats             how     it   was     all   found

    out that she          was keeping              the girls.      At    that    time she spoke                to     the principal

    and he told her              that    she    was keeping             them     illegally to call                 CPS      or else she

    wouldnt have                called     CPS. Ms. Lopez                 stated that             the only reason she called

    was because            they     told    her to call and             somehow some way                       the information

    was taken incorrectly                  because         Mr. Lucio            lives    in   San Antonio and                     so do the

    girls not in          Houston          Texas.         She     stated that          currently         Mr. Lucio was on                      his

             to Austin           Texas         to get into a       detox center but                  that     to    her knowledge he
    way
    was coming back                 to    San Antonio.             The    worker notified Ms. Lopez the case

c   would be          transferred to            San Antonio.             She     stated that            she just needed




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someone        to   make   contact       because          she     didnt        want any problems                   that       she

cared      about the    girls    and she cared             about Mr. Lucio and was happy                                 that       he

was     trying to get     some       treatment.           A     safety plan          was      set    up with       Mr.           Mrs.

Lopez      to contact     CPS when             Mr. Lucio          was discharged from                    the rehab.

center.-      They agreed        not to allow unsupervised contact                              between            Mr. Lucio

his daughters.         Case was         R/O             closed.



Comments/Concerns                   I   did not find            where we spoke to the parents                            to    notify
them     of the investigation.            I    did not         locate where we addressed  the

allegations w/three           other siblings returning                    to    Ms. Lucios             care.




17.    Case    ID    25949258/Unit                 24             Caseworker                 Rebecca         Olivarez

Date of Intake           7/19/06        P2

Allegations         NSUP            PHNG
VC      Isaiah

APs      Melissa      E Lucio/MGM                       Melissa Lucio/parent

Reporter        Rosemary Garcia                    aunt

Disposition         R/O     Factors       Controlled

Case Action          Close Case



Intake        Ms. Lucio     is     17 y/o.         She    stated that Mr. Alvarez gives                         them

marijuana and beer.              Ms. Melissa              E.   Lucio grandmother                      allows        Ms. Lucio
to   do drugs and drink with Mr. Alvarez.                           The         grandmother            uses cocaine

marijuana and beer.              Isaiah       is   always crying.               Ms. Lucio            ignores       Isaiah while

she uses drugs.          The baby goes               to the hospital            often.        Ms. Lucio stated                  that

he has     trouble breathing            and has a         rash.     Ms. Lucio               stated    that    it   is   a heat
rash.




Intake        Maternal grandmother                   was       reported        to   CPS     due      to her    drug       use.

MGMs          children    are in foster care.                  MGM does              not suppose to                have any
children living in her home.                   MGMs              17 yr old daughter Melissa                             Lucio        and

5-mo grandson           are living in the               home. There             are holes            spiders       dogs
chickens       goats     and snakes sometimes                     inside the home.                   The chickens               go
into    the   home   through the backdoor                      which      is   left open.            The chickens             jump
on    the stove     and counter.          The       inside of the         home         is   always      dirty.          The     inside

of the     home     smells.      There     are a lot of flies inside the home.                               There        are also

roaches       and big    rats inside the            home. There            are maggots               inside the

refrigerator.       There     is   mold maggots and                    flies inside            of the    refrigerator.

There are tarantulas inside the home. Snakeskins                                       have       been found             inside.

Ms. Lucio does not take                 care       of the baby.        She          drinks beer        and smokes               weed


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which     is
               provided by                 MGM and            her boyfriend.              The baby         is    always crying.
There     is   no food             in the      home      and there are           dirty    clothes      all   over.       The house
has   a bad     odor.              GM gets        into fights        with    the neighbors             when       she    drinks.

The house           is    trashed.



Investigation                 The two           referrals      were merged              into    one   investigation.            Isaiah

was observed               to      be free of       injuries.       Ms. Lucio denied the                   allegations.           She
admitted       to    there being a                few    spiders           occasionally           chickens
                                                                                                                   go    into   the

home. According                      to   Ms. Lucio           they push the chickens                   back       out.    The     back

door did not have                   a screen       to    keep them          out.       Ms. Lucio        also admitted to rats.

being     in the     home            but they        had put        down         poison and had not seen                  them

lately.    Ms. Lucio explained                          she   had    moved         in the      home     because          her father

had problems with drinking.                              She denied being                sexually abused             by anyone.
Ms. Lucio           informed the father                   to her child           was named Frankie Mendoza
he lived       in   Houston.               She    relayed      she    had been           a victim      of domestic violence

by Mr. Mendoza.                      Ms. Lucio           admitted      to    having a charge of public
intoxication..            Ms. Lucio was                 notified she needed                 to find another              home    due     to

her   mothers involvement with                            the agency                   involvement         with     drugs.       She
was   referred to Harrison                       Manor        housing              parenting      classes at Horizon

Youth     center.             The     maternal          grandmothers               paramour. Mr. Gilbert Salinas
was   contacted                    he did not report any concerns                         regarding          how Ms.        Lucio

cared for her            child.           He    admitted he had put out                   rat   poison       in the      home. The
maternal grandmother Melissa E. Lucio denied the                                                  allegations.           She    did

admit her children had been staying                                 with     her       on weekends and was about                       to


get   them     back.            The       caseworker          was    waiting           for her to get an apartment.

Ms. Melissa              E.    Lucio       denied her daughter using drugs.                            A     couple of spiders
were observed                 in the       home.        Case    was RIO                 closed.



Comments/Concerns                           I   could not find where                   we   contacted           objective

collaterals         that      were aware of              how    Ms. Melissa Lucio cared for her                             infant.

The   child     was           to   have had        some       immunizations                     we    could have         contacted

the Dr. to verify the child                       was     getting his medical needs met.                           We     could have

also spoken          to       neighbors              the reporter.           I   did not find where               we     drug tested
the maternal grandmother                                her paramour.              I   dont know who Mr.                  Gilbert

Salinas    was       but Mr. Alvarez                    was    the grandmothers                  paramour          in the pasta

We    needed         to       have    notified the            babys    father of the investigation                       unless    he

was   a danger to the child.                       It   would have been                 best to follow           up with the

community            resources             to   ensure someone was following                           up with Ms. Lucio
   her child.




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     18.    Case    ID       26105799/Unit                    26             Caseworker               Miguel           Rodriguez
     Date of Intake                 12/15/06         PI

     Allegations             NSUP                SXAB
     VCs         Selina Alexandra                   Rene           Richard        Robert Gabriel Adriana Sara
     Mariah           Unkn.



     APs         Melissa        E   Lucio            Roberto         Alvarez/parents                    John Lucio/brother

     Reporter          Irma Garcia

     Disposition             Administrative                Closure           Risk Assessment                  N/A
     Case Action             Close Case



     Intake        Reporter          has     been advised             that    CPS       has    worked          with     this family

     before           that      8 or 9 of         them were          in foster         care    until    the last few weeks.

     The    family        never paid             their rent        deposit never completed                       all    needed

     paperwork         to live         where they are living                       when        they     moved          in Mr. Alvarez
     broke the lock on an                    electric     box       to steal      some     electricity.          That entire box
     had    to   be replaced                 he has       now       tampered       with        another        box.      NEs          are

     reportedly        saying          theres a         lot    of chaos       in this household.                It is    reporters

     .understandin              that    CPS       told the 18 yr old brother                     John     that      he was          to   have

     no access       to    the other children                  at all        he   is    living     over       there.    Reporter            is


     under the impression                    that    he   SXAB          some of         the children.            It    is   also thought

     that   Melissa and Danielle                     arent supposed.               to   be     living     there but this isnt

     known        for sure.          NEs         have     complained           than Mr. Alvarez                 has     been stealing

     furniture from their Apts.                      Mr. Alvarez actually got                      into       a fight       with     one
     tenant      who      said he       was       taking       one of her lamps.               He   allegedly           PHABs              Ms.

     Lucio       as well.       On Tuesday                the Apt.        was     entered             found      to     be    filthy.      There

     were 2 teenage                         with the other younger children. The 3 yr old
                                girls in the Apt.

     was    sitting    on the end of a bed where the infant was laying. No one was
     watching       either          of those        children.       The      3 yr old got
                                                                                                   up         started        going up
     down        the stairs         still
                                             unsupervised.              The    Apt.      had a very strong                   smell of urine

        the bed       was       full   of    urine.       The      children       were     filthy.      Apparently                the

     Landlord       initially felt            bad leaving            them w/out           electricity             told       them        they
     could run an extension                      cord     to   another       Apt.       but after talking               to the Electric


     Company          they discovered                   this   was    too dangerous                    that    there could be an

     explosion so they were told they could not do                                         that.    They        continue            doing    it



     anyway.        The      Apt.       is   a   mess with          tiny things          all   over the        floors        that    the   little


     guys could put             into     their      mouths              get hurt.        Attempts         to get        them        to   leave

     have been unsuccessful.                        The    family       was    issued          a Citation        for an Eviction

     Hearing       that    is   set for Jan. 2nd.              Not    sure where           they will          move          to.




                                                                                                                                                  30
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    Investigation                  The   referral        was    administratively           closed        after     a call was      made
    to the       CVS worker               Angie      Romo. She               reported      she had         seen the family the
    week         before             had given Ms. Lucio $600.                     to assist her         with the       rent.    Ms.
    Romo          further stated              Ms. Lucio         was aware John was               to     be around       the

    children.            She had         not seen        John       in the vicinity.       Ms.    Romo            relayed    Ms.
    Lucio              Mr. Alvarez had been                    testing      negative      on   their       drug    tests.    She did
    describe           the    home       to   be somewhat chaotic                 due     to the size       of the family.



    Comments/Concerns                           We   needed          to   have    done     more    than      a    phone     call to

    handle        this referral          due     to the specific            allegations     made             extensive         history

    with        the Dept.          There were too              many        risk factors with          the   number of children
    in the       home          several        children being very                young     the parents having                extensive

    drug usage                  the Dept.         having       PMC        over the children.to close                  this referral

    as    is.




    19.    Case        ID      26167217/Unit               26               Caseworker           Florence Arreola

    Date of Intake                    2/17/07      P1

    Allegation                PHAB
    VCs          Mariah Alexandra Selina Rene Richard                                       Robert          Gabriel Adriana
          Sara
    APs          Melissa           E Lucio          Robert Alvarez/parents

    Reporter             Javier Villarreal               Law        Enforcement

    Disposition                Pending
    Case Action


    Intake         On        2-17-07      at    about     651       PM EMS             responded        to the     home      because
    of 2 y/o Mariah turning purple                                    not being able to breath.                   When LA
    responded             to the      home        purple    bruises         were observed          on Mariahs chest
    stomach                   face.     Mr. Alvarez            is   reported      to   have been the           last   person     to

    find    Mariah when he                     called 911.          She was       transported         to    Valley Baptist
    Medical Center where she was pronounced                                        deceased.           Mariahs death was
    ruled as due              to   homicidal         injuries             by the doctor        at the hospital.             REP was
    unable        to    provide further information                        concerning the          injuries            cause of
    death.        PAs              the surviving          children are being held                 at    Hidalgo        Police

    Station        for questioning.                PAs report             that   Mariahs        injuries       were caused            from

    the child           falling       down      a flight of stairs           on 2-16-07 when               the family        was

    moving         to     a   new      apartment.         PAs         report that       the childs         fall    occurred      at   220

    E.    Madison from an                     upstairs    apartment.             PAs     were crying                appeared       to   be

    taking         it
                        pretty        hard. The          children          appear dirty as         if   they      havent been
    bathed recently                      were wearing dirty                 clothes.      The    smallest children              were




                                                                                                                                         31
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            seen   outside    in the cool    weather without        shoes.    The   family   was   just   moving
            into   the apartment.     There was one mattress           seen   in the     3-bedroom

            apartment.       There   was    trash      clothes    seen on the   floor.    There was       little


            furniture   in the   home.     LA   is
                                                     requesting    immediate response from CPS.



            Investigation        Pending.




    D


                                                                                                                   32
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                                                                                                                            6



 1   THE    STATE       OF TEXAS

 2   COUNTY       OF    CAMERON

 3


 4           I     RANDALL             E.    SIMPSON             CSR         Official Court Reporter

 5   in    and    for       the    County        Court           at        Law    No.    1    of   Cameron

 6   County        State          of    Texas            do   hereby certify that                         the    above

 7   and    foregoing             contains           a    true        and        correct       transcription

 8   of    all    portions             of    evidence            and        other       proceedings

 9   requested          in    writing           by       counsel            for    the       parties       to    be

10   included          in    this volume                 of   the          Reporters           Record           in    the

11   above-styled             and       numbered              cause          all    of       which       occurred

12   in    open    court          or    in    chambers            and        were       reported         by     me.

13           I    further          certify that                  this Reporters                    Record        of

14   the    proceedings                truly and correctly                         reflects          the

15   exhibits           if    any           admitted by               the        respective          parties.

16           I    further          certify that                  the       total cost              for   the

17   preparation             of    this Reports                   Record           is    $                           and

18   will be       paid by             Appellants.

19           Witness          my       hand    this                              day of

20                                      2009.

21


22
                                                         RAITH        L.    E.     SIMPSON CSR NO.                    568
23                                                       Expiration                date   12/31/09
                                                         County Court at Law No. 1
24                                                       947 E.  Harrison Street
                                                         Brownsville Texas    78550
25                                                       956 544-0855
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   1   THE   STATE        OF    TEXAS

  2    COUNTY      OF     CAMERON
   3                           CERTIFICATE OF COURT REPORTER

   4           I     SUE       CHANEY SAENZ          Official Court Reporter                      in

   5   and for the Judicial District Courts of                                 Cameron

   6   County        State of Texas             do   hereby certify that                    the

   7   above       and    foregoing contains            a    true      and correct

   8   transcription of all portions of                           evidence          and    other

   9   proceedings             requested      in writing by            counsel        for       the

 10    parties       to be       included      in Volumes          3     7    and    40    of    the

.1     Reporters           Record        in   the    above-entitled                and numbered

 12    cause        all    of    which    occurred      in open          court or in

 13    chambers and were reported by me.

 14            I    further certify that               this       Reporters           Record          of

 15    the   proceedings           truly and correctly                 reflects           the

 16    exhibits           if    any admitted by             the    respective             parties.

 17            WITNESS          MY OFFICIAL HAND            on    this       the    13th day of

 18    July        2009.

 19
                                  SUE CHANEY SAENZ  C
 20                               Official Court RepoiCer Depu
                                  974 East Harrison Street
 21                               Brownsville  Texas 78520
                                  956 544-0874
 22                               Certificate No. 2136
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 23

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 25




                                 SUE    CHANEY SAENZ             C.S.R.
